Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 1 of 140




               EXHIBIT 1
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 2 of 140




                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF NEW YORK

 MICHELE BAKER; CHARLES CARR;
 ANGELA CORBETT; PAMELA FORREST;
 MICHAEL HICKEY, individually and as parent         Case No. 1:16-CV-00917-LEK-DJS
 and natural guardian of O.H., infant;
 KATHLEEN MAIN-LINGENER; KRISTIN
 MILLER, as parent and natural guardian of
 K.M., infant; JENNIFER PLOUFFE; SILVIA
 POTTER, individually and as parent and natural
 guardian of C.P, infant; and DANIEL
 SCHUTTIG, individually and on behalf of all
 others similarly situated,
                       Plaintiffs,

 v.

 SAINT-GOBAIN PERFORMANCE PLASTICS
 CORP., and HONEYWELL INTERNATIONAL
 INC. f/k/a ALLIED-SIGNAL INC. and/or
 ALLIEDSIGNAL LAMINATE SYSTEMS,
 INC., E.I. DUPONT DE NEMOURS AND
 COMPANY, INC., and 3M CO.,


                        Defendants.

                           CLASS SETTLEMENT AGREEMENT

        This Class Settlement Agreement is entered into as of the 16th day of July, 2021, by,
between and among Plaintiffs, on behalf of themselves and the Settlement Class Members, by and
through Class Counsel, and the Settling Defendants, by and through their counsel of record in this
Action.

                                          RECITALS

        WHEREAS, Plaintiffs have asserted claims against the Defendants in this Action on behalf
of four putative classes, including owners and renters of properties supplied with drinking water
either by the Village Municipal Water System or by private wells in the Village or the Town of
Hoosick in which PFOA has been detected, and current and former residents of the Village and
Town with PFOA detected in their blood;


                                                1
     Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 3 of 140




       WHEREAS, Plaintiffs allege that the Defendants are liable under several tort theories for
various damages and other relief based on the presence of PFOA in the Village Municipal Water
System, in private wells, on or at their properties, and/or in their blood;

        WHEREAS, Plaintiffs allege that PFOA detected in the Village Municipal Water System
and private wells was released from facilities in the Village of Hoosick Falls, which Plaintiffs allege
that Saint-Gobain and/or Honeywell’s predecessors or their affiliates currently or formerly owned
or operated;

        WHEREAS, Plaintiffs allege that 3M manufactured certain APFO- or PFOA-containing
products supplied to (or that others used in the manufacture of products supplied to), used at, and/or
disposed or discharged at facilities in the Village of Hoosick Falls and Town of Hoosick, including
those which Plaintiffs allege that Saint-Gobain and/or Honeywell’s predecessors or their affiliates
currently or formerly owned or operated;

        WHEREAS, the Settling Defendants have denied and continue to deny Plaintiffs’
allegations, any alleged wrongdoing in connection with any PFOA or other PFAS present in the
Village Municipal Water System, in private wells in the Village of Hoosick Falls and Town of
Hoosick, on or at Plaintiffs’ properties, or in Plaintiffs’ blood, and any liability in connection with
Plaintiffs’ claims; dispute the factual, legal, scientific, and other bases for Plaintiffs’ claims and
the appropriateness of certifying any putative class for litigation; and maintain that they have
meritorious defenses to class certification and to the claims of liability and damages asserted by
Plaintiffs; and

        WHEREAS, after carefully considering the facts and applicable law and the risks, costs,
delay, inconvenience, and uncertainty of continued and protracted litigation, and after engaging in
extensive, arm’s-length negotiations, with the assistance of a mediator, the Parties desire to settle
the Action as to the Settling Defendants and the related claims of Plaintiffs and the Settlement
Classes on the terms and conditions stated herein, which Plaintiffs and Co-Lead Interim Class
Counsel believe are fair, reasonable, adequate, and beneficial to and in the best interests of the
Settlement Class Members;

        NOW THEREFORE, subject to approval by the Court pursuant to Federal Rule of Civil
Procedure 23, the Parties hereby agree that, in consideration of the promises and mutual covenants
set forth in this Agreement and upon occurrence of the Effective Date, the Action and the related
claims of Plaintiffs and the Settlement Classes shall be settled, compromised, dismissed on the
merits and with prejudice, and released as to the Settling Defendants on the following terms and
conditions:

1.     Definitions

       In addition to the terms defined at various points within this Agreement, the following
defined terms shall apply throughout this Agreement:

       a.    “3M” means the 3M Company.

       b.    “Action” means the putative consolidated class action lawsuit captioned Baker v.
             Saint-Gobain Performance Plastics Corporation et al., No. 1:16-cv-917, currently
                                             2
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 4 of 140




       pending in the Court, including without limitation Nos. 1:16-cv-220, 1:16-cv-292,
       1:16-cv-394, and 1:16-cv-476.

  c.   “Agreement” means the Class Settlement Agreement between and among Plaintiffs,
       on behalf of themselves and the Settlement Class Members, and the Settling
       Defendants, including all exhibits and addenda thereto, and the supplemental
       agreements set forth in Section 19 herein.

  d.   “APFO” means, for purposes of this Agreement only, ammonium
       perfluorooctanoate and all its chemical precursors and degradants. For purposes of
       this Agreement, the definition of “APFO” is intended to be as broad and inclusive as
       possible and includes, without limitation, all APFO-containing substances and all
       products manufactured with APFO, or which used APFO as a processing aid in
       connection with such manufacturing, their precursors, and their degradants.

  e.   “CAFA Notice” means the notice to be disseminated to appropriate federal and state
       officials pursuant to the requirements of 28 U.S.C. § 1715(b) and in accordance with
       Section 10 of this Agreement.

  f.   “Claim Form” means the form in substantially the same form as Exhibit A to this
       Agreement that must be completed by any Person seeking to receive payment and/or
       participate in the Medical Monitoring Program as a Settlement Class Member.

  g.   “Claimant” means any Person who submits a Claim Form to the General
       Administrator.

  h.   “Class Counsel” or “Co-Lead Interim Class Counsel” means:

       Stephen G. Schwarz
       Hadley L. Matarazzo
       FARACI LANGE, LLP
       28 E. Main St., Suite 1100
       Rochester, New York 14614

       James J. Bilsborrow
       SEEGER WEISS LLP
       55 Challenger Road
       Ridgefield Park, New Jersey 07660

       Robin L. Greenwald
       WEITZ & LUXENBERG, P.C.
       700 Broadway
       New York, New York 10003

       as counsel for Plaintiffs and in their capacity as Co-Lead Interim Class Counsel
       appointed by the Court pursuant to its July 27, 2016 Order, and any other attorney or


                                          3
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 5 of 140




       law firm that represents any of the Plaintiffs and seeks to receive any portion of the
       attorneys’ fees that may be awarded by the Court in connection with this Settlement.

  i.   “Class Notice” means the notice of the Settlement that will be provided to
       prospective Settlement Class Members in accordance with Section 11 of this
       Agreement.

  j.   “Court” means the United States District Court for the Northern District of New
       York, the Honorable Lawrence E. Kahn presiding.

  k.   “Defendants” means Saint-Gobain, Honeywell, 3M, and E.I. DuPont de Nemours
       and Company.

  l.   “Effective Date” means the date on which the last of the following has occurred: (1)
       twenty-one (21) days following the expiration of the deadline for appealing the Final
       Approval Order, if no timely appeal is filed; (2) if an appeal of the Final Approval
       Order is taken, the date upon which all appeals (including any requests for rehearing
       or other appellate review), as well as all further appeals therefrom (including all
       petitions for certiorari), have been finally resolved without the Final Approval Order
       having been materially changed, reversed, vacated, or otherwise overturned in whole
       or in part, such that no future appeal is possible; or (3) such date as the Parties
       otherwise agree in writing.

  m.   “Eligible Property” means any Residential Property that either (1) one or more
       Municipal Water Property Settlement Class Members demonstrates that he or she
       owned as of December 16, 2015, and that the property obtained its drinking water
       from the Village Municipal Water System, in accordance with Section 3(b)(i); or (2)
       one or more Private Well Property Settlement Class Members demonstrates that he
       or she owned at the time PFOA in the property’s private well was discovered through
       a water test on or after December 16, 2015, and that is in the Village of Hoosick Falls
       or Town of Hoosick and obtained its drinking water from a private well in which
       detectable levels of PFOA were discovered through a water test on or after December
       16, 2015, in accordance with Section 3(b)(ii).

  n.   “Enrollment Period” means the period within which potential Settlement Class
       Members must submit a Claim Form and any supporting documentation so that the
       General Administrator may determine whether they are eligible to receive payment
       or participate in the Medical Monitoring Program as Settlement Class Members. The
       Enrollment Period shall commence thirty (30) calendar days after Preliminary
       Approval and shall conclude one hundred and fifty (150) days from the Notice Date.
       Claim Forms postmarked on the date the Enrollment Period closes shall be deemed
       timely submitted so long as received by the General Administrator within fourteen
       (14) days thereof.

  o.   “Escrow Account” means the account established and administered by the General
       Administrator, into which the Total Settlement Payment, including the Preliminary
       Settlement Fund Payment, will be deposited as set forth in Section 2(b).

                                           4
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 6 of 140




  p.   “Escrow Agent” means the General Administrator.

  q.   “Excluded Persons” means (i) any Person who has timely and validly excluded
       himself, herself or itself from the Settlement Classes, in accordance with Section 12
       of this Agreement, (ii) any Person who has previously filed a claim against any
       Settling Defendant alleging a PFOA-related injury or illness, including without
       limitation a spousal derivative claim, or seeking medical monitoring or property
       damages, related to the presence of PFOA in the Village Municipal Water System, in
       private wells in the Village or Town, on or at their property, and/or in their blood,
       except for the Action, that has not been dismissed and/or in which a request to dismiss
       pursuant to Fed. R. Civ. P. 41(a)(2) is not pending as of thirty (30) days prior to the
       Final Approval Hearing, (iii) the Defendants, any entity or division in which the
       Defendants have a controlling interest, their legal representatives in this Action, and
       their officers, directors, assigns and successors, (iv) the judge to whom this Action is
       assigned, any member of the judge’s immediate family and the judge’s staff, or any
       other judicial officer or judicial staff member assigned to this case, (v) any Class
       Counsel, including their partners, members, and shareholders, and any immediate
       family members of Class Counsel, (vi) any State, including without limitation the
       United States, or any of its agencies, and (vii) the Village of Hoosick Falls and the
       Town of Hoosick.

  r.   “Execution Date” means the date on which the last of Plaintiffs, Class Counsel,
       Saint-Gobain, Honeywell, and 3M executes this Agreement.

  s.   “Facility” shall have the same meaning as set forth in 42 U.S.C. § 9601(9) and shall
       include but not be limited to the sites (and any improvements or modifications
       thereon) located at 14 McCaffrey Street (DEC Site No. 442046), 1 Liberty Street
       (DEC Site No. 442048), John Street/3Lyman Street (DEC Site No. 442049), and
       River Road (DEC Site No. 442008).

  t.   “Final Approval” means the date that the Court enters the Final Approval Order.

  u.   “Final Approval Hearing” means the hearing at which the Court will consider
       whether to give final approval to the Settlement and make such other rulings as are
       contemplated in the Final Approval Order, including determining the amount of
       attorneys’ fees and costs awarded to Class Counsel, any General Settlement
       Administration Costs, and the amount of any Service Awards to the Plaintiffs.

  v.   “Final Approval Order” means the Court’s order (a) granting final approval to the
       Settlement; (b) directing that the Agreement be implemented in accordance with its
       terms; (c) dismissing the Action as against each of the Settling Defendants with
       prejudice, and without costs; (d) determining pursuant to Rule 54(b) of the Federal
       Rules of Civil Procedure that there is no just reason for delay and directing entry of
       a final judgment as to the Settling Defendants; (e) ruling that each of the Releasing
       Parties has expressly, intentionally, fully, finally, and forever released, waived,
       compromised, settled, and discharged all Released Claims; (f) barring each of the
       Releasing Parties from asserting any of the Released Claims against any of the

                                           5
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 7 of 140




        Released Parties; (g) barring claims by any Person against the Released Parties for
        contribution or similar claims (however denominated) for all or a portion of any
        amounts paid or awarded in the Action by way of settlement, judgment, or otherwise;
        (h) finding that each of the Settling Defendants has complied with and otherwise
        discharged its obligations under the Class Action Fairness Act, 28 U.S.C. § 1715(b);
        (i) awarding any attorneys’ fees, costs, and expenses payable in connection with the
        Settlement or the Action; (j) finding that the Class Notice complied with Federal Rule
        of Civil Procedure 23 and the U.S. Constitution; (k) establishing and approving the
        Settlement Fund; and (l) reserving exclusive and continuing jurisdiction over the
        Settlement Fund and the interpretation, performance, implementation, administration,
        and enforcement of this Agreement and the Court’s orders in the Action.

  w.    “General Administrator” means KCC, the claims administrator for the Municipal
        Water Property Settlement Class, Private Well Water Property Settlement Class, and
        Nuisance Settlement Class, and who shall determine the eligibility of Medical
        Monitoring Settlement Class Members for the Medical Monitoring Program. The
        General Administrator will also be responsible for performing duties related to
        dissemination of Class Notice, administration of the Escrow Account, and
        administration of the Settlement Fund in accordance with this Agreement. Class
        Counsel and Settling Defendants may, by agreement, substitute a different
        organization as General Administrator, subject to approval by the Court if the Court
        has previously entered the Preliminary Approval Order or Final Approval Order. In
        the absence of agreement, either Class Counsel or any Settling Defendant may move
        the Court to substitute a different organization as General Administrator, upon a
        showing that the responsibilities of the General Administrator have not been
        adequately executed by the incumbent.

  x.    “General Settlement Administration Costs” means the costs and fees of the
        General Administrator to effectuate the Notice Program and to administer the
        Municipal Water Property Settlement Class, Private Well Water Property Settlement
        Class, and Nuisance Settlement Class, and to determine the eligibility of Medical
        Monitoring Settlement Class Members for the Medical Monitoring Program. The
        General Settlement Administration Costs includes the Preliminary Administrative
        Expenses.

  y.    “Honeywell” means Honeywell International Inc.

  z.    “Medical Monitoring Administration Costs” means the costs and fees of the
        Medical Monitoring Administrator to administer the Medical Monitoring Program.

  aa.   “Medical Monitoring Administrator” means the administrator for the Medical
        Monitoring Program, Edgar C. Gentle III, Esq., whose responsibilities shall include
        those defined herein and in Appendix A to this Agreement.

  bb.   “Medical Monitoring Disbursement” means the total sum disbursed from the
        Medical Monitoring Allocation, as defined below, prior to the Program’s termination
        pursuant to Section 4(c)(ii).

                                           6
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 8 of 140




  cc.   “Medical Monitoring Participant” or “Participant” means a Medical Monitoring
        Settlement Class Member who has demonstrated his or her eligibility, as determined
        by the General Administrator in accordance with Section 3(b)(iv), and participated in
        screening offered under the Medical Monitoring Program, including submission of
        an Informational Survey or receipt of a Consultation or Program Services as set forth
        in Appendix A.

  dd.   “Medical Monitoring Program” or “Program” means the program described in
        Appendix A.

  ee.   “Medical Monitoring Remainder” means the total amount of funds remaining in
        the Medical Monitoring Allocation when the Program terminates pursuant to Section
        4(c)(ii).

  ff.   “Medical Monitoring Settlement Class” means the putative class consisting of all
        individuals who, for a period of at least six months between 1996 and 2016, have (a)
        ingested water at their residence(s), which was supplied by the Village Municipal
        Water System or from a private well in the Village of Hoosick Falls or Town of
        Hoosick in which PFOA has been detected, and (b) underwent blood serum tests that
        detected a PFOA level in their blood above 1.86 µg/L; or any natural child (i) who
        was born to a female who meets and/or met the above criteria at the time of the child’s
        birth and (ii) whose blood serum was tested after birth and detected a PFOA level
        above 1.86 µg/L; provided, however, that the “Medical Monitoring Settlement Class”
        shall not include Excluded Persons.

  gg.   “Medical Monitoring Settlement Class Member” means any member of the
        Medical Monitoring Settlement Class who has not timely and validly excluded
        himself, herself, or itself, in an individual or representative capacity, from the
        Medical Monitoring Settlement Class, in accordance with Section 12 of this
        Agreement.

  hh.   “Minor” means a natural Person who is less than eighteen (18) years old.

  ii.   “Municipal Water Property Settlement Class” means the putative class consisting
        of all Persons who are or were owners of Residential Property that was supplied with
        drinking water from the Village Municipal Water System, and who purchased that
        property on or before December 16, 2015 and owned that property as of December
        16, 2015; provided, however, that the “Municipal Water Property Settlement Class”
        shall not include Excluded Persons.

  jj.   “Net Settlement Fund” means the portion of the Settlement Fund available for
        payment to the Settlement Class Members (in accordance with this Agreement) after
        the payment of any General Settlement Administration Costs, attorneys’ fees, any
        tax-related expenses, any Court-approved Service Awards to the Plaintiffs, and other
        costs and expenses payable from the Settlement Fund.

  kk.   “Notice Date” means the deadline set by the Court by which the General
        Administrator must send the Class Notice or, if the Court sets no such deadline, thirty
                                          7
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 9 of 140




               (30) calendar days after Preliminary Approval.

         ll.   “Notice Form” means the form of notice that shall be posted on the Settlement
               Website created by the General Administrator and shall be provided by mail to
               Municipal Water Property Settlement Class Members, Private Well Water Property
               Settlement Class Members, Nuisance Settlement Class Members, and certain
               Medical Monitoring Settlement Class Members, as set forth in Section 11 of this
               Agreement. The Notice Form is attached hereto as Exhibit B.1

         mm. “Notice Program” means the methods provided for in Section 11 of this Agreement
             for giving notice to potential Settlement Class Members.

         nn.   “Nuisance Settlement Class” means the putative class consisting of all Persons who
               are or were owners or renters of Residential Property located in the Village of
               Hoosick Falls or the Town of Hoosick that was supplied with drinking water from a
               privately owned well in which PFOA was detected, had a point-of-entry treatment
               (POET) system installed to filter water from that well, and who either (i) owned and
               occupied that property at the time PFOA in the property’s private well was discovered
               through a water test on or after December 16, 2015; or (ii) rented and occupied the
               property at the time PFOA in the property’s private well was discovered through a
               water test on or after December 16, 2015; provided, however, that the “Nuisance
               Settlement Class” shall not include Excluded Persons.

         oo.   “Nuisance Settlement Class Member” means any member of the Nuisance
               Settlement Class who has not timely and validly excluded himself, herself, or itself,
               in an individual or representative capacity, from the Nuisance Settlement Class, in
               accordance with Section 12 of this Agreement.

         pp.   “Nuisance Settlement Class Member Payment” means the cash distribution that
               will be made from the Net Settlement Fund to each Nuisance Settlement Class
               Member pursuant to the allocation terms of the Settlement.

         qq.   “NYSDEC” means the New York State Department of Environmental Conservation.

         rr.   “Objection” means a challenge to the Settlement asserted by a Settlement Class
               Member pursuant to Section 13 of this Agreement.

         ss.    “Objection Deadline” means the deadline to submit an Objection set by the Court
               or, if the Court sets no such deadline, one hundred and five (105) days after the Notice
               Date.

         tt.   “Opt Out” means the choice of a Settlement Class Member to exclude himself,
               herself, or itself (in an individual or representative capacity, as appropriate) from the
               Settlement in accordance with Section 12 of this Agreement.


1
    All Exhibits to this Agreement are appended hereto in Appendix B.
                                                   8
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 10 of 140




   uu.   “Opt Out Deadline” means the deadline to Opt Out set by the Court or, if the Court
         sets no such deadline, one hundred and five (105) days after the Notice Date.

   vv.   “Party” means any one of the Plaintiffs or any one of Honeywell, Saint-Gobain, and
         3M.

   ww. “Parties” means all of the Plaintiffs, on behalf of themselves and the Settlement Class
       Members, and all of Honeywell, Saint-Gobain and 3M.

   xx.   “Person” means a natural person, guardian, corporation, professional corporation,
         association, limited liability company, limited company, partnership, limited
         partnership, joint venture, affiliate, joint-stock company, estate, legal representative,
         trust, proprietorship, any other type of private entity, states, counties, municipalities,
         any other public or quasi-public entity, or their respective spouses, heirs, predecessors,
         successors, executors, administrators, representatives, or assigns.

   yy.   “PFAS” means, for purposes of this Agreement only, any fluorinated organic
         substance that contains one or more carbon atoms on which at least one of the
         hydrogen substituents has been replaced by a fluorine atom. For purposes of this
         Agreement, the definition of “PFAS” is intended to be as broad and inclusive as
         possible and includes, without limitation, all per- and poly-fluoroalkyl substances and
         their chemical precursors and degradants, including PFOA and APFO, as well as all
         products manufactured with or containing such substances, their precursors, or their
         degradants.

   zz.   “PFOA” means, for purposes of this Agreement only, perfluorooctanoic acid and all
         its chemical precursors and degradants, including without limitation APFO. For
         purposes of this Agreement, the definition of “PFOA” is intended to be as broad and
         inclusive as possible and includes, without limitation, all PFOA-containing
         substances and all products manufactured with or containing such substances, their
         precursors, and their degradants.

   aaa. “Plaintiffs” means any of Michele Baker, Charles Carr, Angela Corbett, Pamela
        Forrest, Michael Hickey (individually and as parent and natural guardian of O.H.,
        infant), Kathleen Main-Lingener, Kristin Miller (also known as Kristin Harrington)
        (as parent and natural guardian of K.M., infant), Jennifer Plouffe, Silvia Potter
        (individually and as parent and natural guardian of C.P., infant), and Daniel Schuttig.

   bbb. “POET” means a point-of-entry treatment system.

   ccc. “Preliminary Administrative Expenses” shall mean any expenses necessary to
        obtaining Final Approval of the Settlement after Preliminary Approval is granted,
        including, but not limited to, expenses associated with providing Class Notice,
        determining class member eligibility, processing Opt Out requests and Objections,
        and establishing a qualified settlement fund within the meaning of 26 C.F.R.
        § 1.468B-1(a) and (c).


                                              9
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 11 of 140




   ddd. “Preliminary Approval” means the date that the Court enters the Preliminary
        Approval Order.

   eee. “Preliminary Approval Order” means the Court’s order (i) granting preliminary
        approval to the Settlement; (ii) approving the Class Notice; (iii) finding that it will be
        likely to certify the Settlement Classes under Federal Rule of Civil Procedure 23; (iv)
        appointing Plaintiffs as class representatives; (v) appointing Class Counsel to
        represent the Settlement Classes; and (vi) setting the Opt Out Deadline, the Objection
        Deadline, the date and time for the Final Approval Hearing, and other appropriate
        deadlines; which order will be proposed in substantially the same form as Exhibit C
        and as agreed upon by the Parties.

   fff.   “Preliminary Settlement Fund” means the common fund or account established to
          receive the Preliminary Settlement Fund Payment, and to make payments authorized
          by this Agreement. The fund shall become part of the Settlement Fund upon Final
          Approval of the Settlement, or, in the case of termination in accordance with Section
          18, any unused portion, including interest accrued thereon, shall be returned to the
          Settling Defendants.

   ggg. “Preliminary Settlement Fund Payment” means the payment by the Settling
        Defendants after Preliminary Approval is granted. The amount of the Preliminary
        Settlement Fund Payment shall be deducted from the Settling Defendants’ Total
        Settlement Payment.

   hhh. “Private Well Water Property Settlement Class” means the putative class
        consisting of all Persons who are or were owners of Residential Property located in
        the Village of Hoosick Falls or the Town of Hoosick that was supplied with drinking
        water from a private well in which PFOA was detected, and who owned that property
        at the time PFOA in the property’s private well was discovered through a water test
        on or after December 16, 2015; provided, however, that the “Private Well Water
        Property Settlement Class” shall not include Excluded Persons.

   iii.   “Property Settlement Class” means, collectively, the Municipal Water Property
          Settlement Class and the Private Well Water Property Settlement Class.

   jjj.   “Property Settlement Class Member” means any member of either the Municipal
          Water Property Settlement Class or the Private Well Water Property Settlement Class
          who has not timely and validly excluded himself, herself, or itself, in an individual
          or representative capacity, from the Municipal Water Property Settlement Class or
          the Private Well Water Property Settlement Class, respectively, in accordance with
          Section 12 of this Agreement.

   kkk. “Property Settlement Class Member Payment” means the cash distribution that
        will be made from the Net Settlement Fund to each Property Settlement Class
        Member pursuant to the allocation terms of the Settlement.

   lll.   “Released Claims” shall have the meaning set forth in Section 6 of this Agreement.

                                             10
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 12 of 140




   mmm. “Released Parties” means Settling Defendants and their current, former, and future
      direct and indirect parents, subsidiaries, divisions, affiliates, affiliated business
      entities, joint ventures, successors, predecessors, including without limitation,
      Dyneon, LLC, Allied-Signal Inc., AlliedSignal Laminate Systems, Inc., Furon
      Company, and any entity identified as a predecessor to any Settling Defendant in the
      Second Amended Complaint and/or for which the Second Amended Complaint
      alleges that any Settling Defendant has succeeded to liability on the basis of any legal
      theory; and all of their current, former, and future agents, employees, officers,
      directors, partners, shareholders, owners, members, promoters, representatives,
      distributors, trustees, attorneys, insurers, subrogees, and assigns, individually or in
      their corporate or personal capacity, and anyone acting on their behalf, including in a
      representative or derivative capacity.

   nnn. “Releasing Parties” means the Plaintiffs and all other Settlement Class Members
        and any Person or entity with the right, capacity, or obligation to assert any claim by,
        on behalf of, for the benefit of, or derived from any alleged damage or injury to the
        Settlement Class Members, including without limitation any guardians, next friends,
        trusts, corporate parents, subsidiaries, divisions, affiliates, affiliated business entities,
        predecessors, successors, and all of their current or former agents, employees,
        officers, directors, partners, shareholders, owners, members, promoters,
        representatives, trustees, executors, heirs, attorneys, insurers, subrogees, and assigns,
        individually or in their corporate or personal capacity, and anyone acting on their
        behalf, including in a representative or derivative capacity. Notwithstanding that the
        United States government is excluded from the Settlement Classes, with respect to
        any Settlement Class Member that is a government entity, Releasing Parties includes
        any Settlement Class Member as to which the government entity has the legal right
        to release such claims.

   ooo. “Residential Property” means private structures and real property used for
        residential purposes and shall exclude properties utilized solely for commercial,
        industrial and agricultural purposes.

   ppp. “Saint-Gobain” means Saint-Gobain Performance Plastics Corporation.

   qqq. “Second Amended Complaint” or “Complaint” means the Second Amended
        Master Consolidated Class Action Complaint filed in the Action (ECF Dkt. 171) on
        April 9, 2020.

   rrr.   “Service Award” means any Court-approved payment to Plaintiffs for serving as
          class representatives, which is in addition to any Property Settlement Class Member
          Payment, Nuisance Settlement Class Member Payment, or payment due to them
          under this Agreement as members of the Medical Monitoring Settlement Class.

   sss. “Settlement” means the settlement and compromise reflected in this Agreement.

   ttt.   “Settlement Administration Costs” means all General Settlement Administration
          Costs and Medical Monitoring Administration Costs.

                                              11
     Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 13 of 140




        uuu. “Settlement Classes” means all Persons who are members of the Municipal Water
             Property Settlement Class, Private Well Water Property Settlement Class, Nuisance
             Settlement Class, and/or Medical Monitoring Settlement Class.

        vvv. “Settlement Class Member” means a member of one or more of the Settlement
             Classes who has not timely and validly excluded himself, herself, or itself (in an
             individual or representative capacity, as appropriate) from the Settlement Classes, in
             accordance with Section 12 of this Agreement.

        www. “Settlement Fund” means the common fund or account established pursuant to
           and approved by an order of the Court to resolve and satisfy the Released Claims as
           a qualified settlement fund within the meaning of 26 C.F.R. § 1.468B-1(a) and (c), to
           receive the Total Settlement Payment, including any unused portion of the
           Preliminary Settlement Fund Payment, and to make payments authorized by this
           Agreement.

        xxx. “Settlement Website” means the website that the General Administrator will
             establish as a means for Settlement Class Members to obtain notice of and
             information about the Settlement, through and including hyperlinked access to this
             Agreement, the Notice Form, the Second Amended Complaint, Plaintiffs’ motion
             seeking Preliminary Approval, Preliminary Approval Order, Plaintiffs’ motion
             seeking Final Approval, the Final Approval Order, and the Claim Form and such
             other documents as the Parties agree to post or that the Court orders posted on the
             website. These documents shall remain on the Settlement Website for at least six
             months after Final Approval.         The Settlement Website’s URL will be
             www.hoosickfallspfoasettlement.com.

        yyy. “Settling Defendant” means any one of Saint-Gobain, Honeywell, and 3M.

        zzz. “Settling Defendants” means Saint-Gobain, Honeywell, and 3M.

        aaaa. “Total Settlement Payment” means the SIXTY-FIVE MILLION TWO HUNDRED
              FIFTY THOUSAND DOLLARS ($65,250,000) total cash payment that the Settling
              Defendants collectively are obligated to make under the terms of this Settlement in
              accordance with Section 2 of this Agreement.

        bbbb.“Village Municipal Water System” means the municipal water system for the
             Village of Hoosick Falls, New York, including the sources of water for the system.

2.      Settlement Payment and Settlement Funds

        a.   Settlement Administration.

              i.   In connection with the motion for Preliminary Approval of the Settlement,
                   Class Counsel has selected and shall propose KCC (whose qualifications are set
                   forth in Exhibit D) to serve as an independent, third-party General
                   Administrator, to administer the Settlement Fund. Settling Defendants do not
                   object to Class Counsel’s proposal for the General Administrator.
                                                12
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 14 of 140




        ii.    In connection with the motion for Preliminary Approval of the Settlement,
               Class Counsel has selected and shall propose Edgar C. Gentile, III, Esq. (whose
               qualifications are set forth in Exhibit E) to serve as an independent, third-party
               Medical Monitoring Administrator, to administer the Medical Monitoring
               Program. Settling Defendants take no position with regard to Class Counsel’s
               proposal for the Medical Monitoring Administrator.

   b.    Settlement Consideration.

          i.   Within twenty (20) days of Preliminary Approval, Settling Defendants shall pay
               TEN MILLION DOLLARS ($10,000,000) in cash (the Preliminary Settlement
               Fund Payment) into the Escrow Account to create the Preliminary Settlement
               Fund for the benefit of the Settlement Class Members to pay Preliminary
               Administrative Expenses. Interest accrued will follow the principal amount and
               shall be added to the Nuisance Settlement Class Allocation, as set forth below.

        ii.    Within twenty-one (21) days of the Effective Date, Settling Defendants shall
               pay the remaining FIFTY-FIVE MILLION TWO HUNDRED FIFTY
               THOUSAND ($55,250,000) in cash (which combined with the Preliminary
               Settlement Fund Payment shall constitute the Total Settlement Payment) into
               the Escrow Account to create the Settlement Fund for the benefit of the
               Settlement Class Members. The Settlement Fund shall be used to pay Property
               Settlement Class Member Payments and Nuisance Settlement Class Member
               Payments; to fund the Medical Monitoring Program, including to pay incentive
               payments and distributions to Participants in the Medical Monitoring Program
               as provided in Sections 4(c)(iv) and (v) herein, as well as all Medical
               Monitoring Administration Costs; to pay any and all attorneys’ fees and costs
               awarded to Class Counsel; to pay any Service Award to Plaintiffs; and to pay
               all General Settlement Administration Costs. All funds held by the General
               Administrator shall remain subject to the jurisdiction of the Court until
               distributed pursuant to this Agreement.

        iii.   All costs of the Notice Program and of other General Settlement Administration
               Costs shall be paid from the Settlement Fund. Prior to the Effective Date, any
               General Settlement Administration Costs must be approved by Class Counsel
               before incurred.

   c.    No Liability for Distribution of Settlement Funds. Once the Total Settlement
         Payment is paid to the Escrow Account, Settling Defendants shall have no liability
         arising from the allocation or distribution of the Settlement Funds to Settlement Class
         Members, the Medical Monitoring Program, or anyone else. In no event shall
         Settling Defendants or their counsel have any liability for the administration of the
         Settlement Fund or for acts or omissions of the General Administrator or the Medical
         Monitoring Administrator. Payment of the Total Settlement Payment shall constitute
         Settling Defendants’ sole monetary obligation under the Settlement. In no
         circumstances shall the Settling Defendants be required to pay anything more than
         the Total Settlement Payment in relation to this Agreement.
                                              13
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 15 of 140




   d.    Nature of the Settlement Payment and Settlement Funds.

          i.   The Settlement Fund and Preliminary Settlement Fund at all times is intended to
               be a “qualified settlement fund” within the meaning of United States Treasury
               Regulation § 1.468B-1, 26 C.F.R. § 1.468B-1 and shall be established pursuant
               to an order of the Court and will be subject to the continuing jurisdiction of Court
               for the life of the Settlement Fund. Neither the Parties nor the General
               Administrator shall take a position in any filing or before any tax authority that
               is inconsistent with such treatment. Each Settling Defendant is a “transferor”
               within the meaning of United States Treasury Regulation § 1.468B-1(d)(1) to
               the Settlement Fund. The General Administrator shall be the “administrator” of
               the Settlement Fund within the meaning of United States Treasury Regulation
               § 1.468B-2(k)(3) and, as the administrator, the General Administrator shall: (a)
               timely make or join in any and all filings or elections necessary to make the
               Settlement Fund a qualified settlement fund at the earliest possible date
               (including, if requested by any Settling Defendant, a relation-back election
               within the meaning of United States Treasury Regulation § 1.468B-1(j)); (b)
               timely file all necessary or advisable tax returns, reports, or other documentation
               required to be filed by or with respect to the Settlement Fund; (c) timely pay any
               taxes (including any estimated taxes, and any interest or penalties) required to
               be paid by or with respect to the Settlement Fund; and (d) comply with any
               applicable information reporting or tax withholding requirements imposed by
               applicable law, in accordance with United States Treasury Regulation § 1.468B-
               2(l). Any such taxes, as well as all other costs incurred by the General
               Administrator in performing the obligations created by this subsection, shall be
               paid out of the Settlement Fund. Settling Defendants shall have no responsibility
               or liability for paying such taxes and no responsibility to file tax returns with
               respect to the Settlement Fund or to comply with information-reporting or tax-
               withholding requirements with respect thereto. Settling Defendants shall
               provide the General Administrator with the combined statement described in
               United States Treasury Regulation § 1.468B-3(e)(2)(ii).

         ii.   Settling Defendants make no representations to Settlement Class Members
               concerning any tax consequences or treatment of any allocation or distribution
               of funds to Settlement Class Members pursuant to this Agreement.

        iii.   The Total Settlement Payment, including the Preliminary Settlement Fund
               Payment, constitutes remediation (as defined in 26 U.S.C. § 162(f)) for the
               claims alleged by Plaintiffs on behalf of themselves and the Settlement Class
               Members. No portion of the Total Settlement Payment, including the
               Preliminary Settlement Fund Payment, constitutes a fine, penalty, punitive
               damages, disgorgement of profits, or reimbursement for investigation or
               litigation costs within the meaning of 26 U.S.C. § 162(f), or an amount paid in
               settlement of any claim for any of the foregoing; and if a determination were
               made to the contrary, the amounts paid would qualify under the exceptions in
               Subsections 162(f)(2) and (3).

                                             14
     Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 16 of 140




3.      Class Enrollment and Eligibility

        a.    Submission of Claim Form and Review.

               i.   To become eligible to receive Property Settlement Class Member Payments or
                    Nuisance Settlement Class Member Payments and/or to participate in the
                    Medical Monitoring Program pursuant to this Agreement, Claimants must
                    submit a Claim Form and, if necessary, supporting documents, to the General
                    Administrator during the Enrollment Period. The Claimant shall identify on the
                    Claim Form the Settlement Classes to which he, she, or it, or in their capacity
                    as a representative, purports to belong. The General Administrator shall review
                    the Claim Form and any supporting documentation and determine whether the
                    Claimant is an eligible Settlement Class Member of the Settlement Classes in
                    which he, she, or it, or in their capacity as a representative, purports to belong.
                    A Claim Form postmarked after the Enrollment Period concludes will be
                    rejected by the General Administrator as untimely, and the Claimant submitting
                    such Claim Form cannot qualify to receive payment, participate in the Medical
                    Monitoring Program and/or otherwise qualify for Settlement benefits pursuant
                    to this Agreement.

             ii.    The Claim Form shall be in substantially the same form as Exhibit A attached
                    hereto. The Claim Form shall be available on the Settlement Website. To
                    become eligible to receive Property Settlement Class Member Payments or
                    Nuisance Settlement Class Member Payments and/or to participate in the
                    Medical Monitoring Program pursuant to this Agreement, Claimants may be
                    required to submit certain qualifying documentary support, as set forth below.
                    The General Administrator shall be entitled to verify the identity of any
                    Claimant and any information required by the Claim Form.

             iii.   If the General Administrator determines that a Claimant has submitted
                    insufficient proof of eligibility, the General Administrator will provide an
                    opportunity for the Claimant to cure the submission to the extent practicable.

             iv.    Payments to Settlement Class Members who demonstrate eligibility as
                    determined by the General Administrator and this Agreement shall be paid from
                    the Settlement Fund as set forth in Section 4. The General Administrator shall
                    use reasonable efforts to complete payment then due in accordance with Section
                    4 within 90 days of the Effective Date.

        b.    Eligibility Determination.

               i.   Municipal Water Property Settlement Class. To demonstrate eligibility to
                    receive payment as a Municipal Water Property Settlement Class Member,
                    Claimants must complete the Claim Form and provide proof of ownership as of
                    December 16, 2015 of Residential Property that obtained its drinking water
                    from the Village Municipal Water System. Proof of ownership may include a
                    combination of the following: 1) a copy of the deed to the property; 2) a copy

                                                  15
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 17 of 140




              of a tax bill demonstrating ownership of the property as of December 16, 2015;
              and/or 3) any other form of proof deemed appropriate by the General
              Administrator. If the Claimant does not submit documentary proof of
              ownership, or does not submit documentary proof sufficient to show ownership
              as of December 16, 2015, the Claimant’s eligibility may also be determined by
              the General Administrator’s reference to public property records. Proof of
              water source may be provided by a copy of a Village Municipal Water System
              water bill (of any date) or any other form of proof deemed appropriate by the
              General Administrator. If the General Administrator is able to obtain public
              records that establish property ownership as of December 16, 2015, and/or
              water source of the property, the obligation of the Claimant to provide such
              proof may be waived by the General Administrator.

       ii.    Private Well Water Property Settlement Class. To demonstrate eligibility to
              receive payment as a Private Well Water Property Settlement Class Member,
              Claimants must complete the Claim Form and provide proof that they owned
              Residential Property in the Village of Hoosick Falls or Town of Hoosick that
              obtained its drinking water from a private well and that they owned that
              property at the time at which detectable levels of PFOA were discovered in the
              property’s private well through a water test on or after December 16, 2015.
              Proof of ownership may include a combination of the following: 1) a copy of
              the deed to the property; 2) a copy of a tax bill demonstrating ownership of the
              property as of the date when PFOA was discovered in the private well through
              a water test; and/or 3) any other form of proof deemed appropriate by the
              General Administrator. If the Claimant does not submit documentary proof of
              ownership, the Claimant’s eligibility may also be determined by the General
              Administrator’s reference to public property records. Proof of detectable levels
              of PFOA in the property’s private well water may be demonstrated by a copy
              of test results reporting a detectable level of PFOA in the property’s private well
              water on or after December 16, 2015 from a qualified laboratory or from the
              State of New York, or any other form of proof deemed appropriate by the
              General Administrator. If the General Administrator is able to obtain public
              records and/or confidential records and data provided by the NYSDEC that
              establish property ownership as of December 16, 2015 and/or detectable levels
              of PFOA in the property’s private well on or after December 16, 2015, the
              obligation of the Claimant to provide such proof may be waived by the General
              Administrator.

       iii.   Nuisance Settlement Class. To demonstrate eligibility to receive payment as a
              Nuisance Settlement Class Member, Claimants must complete the Claim Form
              and provide proof of ownership of, or leasehold interest in, Residential Property
              in the Village of Hoosick Falls or Town of Hoosick 1) that obtained its drinking
              water from a private well in which detectable levels of PFOA were discovered
              through a water test on or after December 16, 2015; 2) that had a POET installed
              to filter water from that private well; and 3) on which the Claimant resided at
              the time PFOA in the property’s private well was discovered through a water
              test on or after December 16, 2015. Proof of ownership or leasehold interest
                                             16
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 18 of 140




             may include a combination of the following: 1) a copy of the deed to the
             property; 2) a copy of a tax bill demonstrating ownership at the time that
             detectable levels of PFOA were discovered through a water test on or after
             December 16, 2015; 3) a copy of the lease for such property; 4) a sworn
             declaration confirming a leasehold interest at the time that detectable levels of
             PFOA were discovered through a water test on or after December 16, 2015;
             and/or 5) any other form of proof deemed appropriate by the General
             Administrator. Proof of detectable levels of PFOA in the property’s private
             well water may be demonstrated by a copy of test results reporting a detectable
             level of PFOA in the property’s private well water on or after December 16,
             2015 from a qualified laboratory or from the State of New York, or any other
             form of proof deemed appropriate by the General Administrator. Proof of the
             installment of a POET may be demonstrated through documentation from the
             State of New York showing the installation or testing of such POET or through
             any form of proof deemed appropriate by the General Administrator. Proof of
             residency at the time on or after December 16, 2015 that test results showed a
             detectable level of PFOA in the property’s private well may be provided by a
             declaration of residency sworn to by the Claimant. If the General Administrator
             is able to obtain public records and/or confidential records and data provided
             by the New York State Department of Health and/or NYSDEC that establish
             property ownership, residency, detectable levels of PFOA in the property’s
             private well water on or after December 16, 2015, and/or installation of a POET
             at the property, the obligation(s) of the Claimant to provide such proof may be
             waived by the General Administrator.

       iv.   Medical Monitoring Settlement Class. To demonstrate eligibility to participate
             in the Medical Monitoring Program as a Medical Monitoring Settlement Class
             Member, a Claimant must complete the Claim Form and provide proof that (a)
             for a period of at least six months between 1996 and 2016, he or she ingested
             water at his or her Residential Property that was supplied with drinking water
             by the Village Municipal Water System or a private well in the Village of
             Hoosick Falls or Town of Hoosick in which PFOA was detected; and (b) had a
             serum PFOA concentration of more than 1.86 µg/L. A Claimant may also
             establish eligibility by demonstrating that he or she is a natural child (i) born to
             a female who meets and/or met these criteria at the time of his or her birth and
             (ii) whose blood serum was tested after birth, disclosing a serum PFOA
             concentration of more than 1.86 µg/L. Proof of residence at a Residential
             Property for at least six months between 1996 and 2006 may be provided by a
             sworn declaration. Proof of drinking water supplied by the Village Municipal
             Water System can be demonstrated through a copy of a water bill (of any date)
             for such residence or such other proof as the General Administrator deems
             appropriate. Proof of drinking water supplied by a private well in which PFOA
             was detected may be demonstrated by a copy of test results reporting a
             detectable level of PFOA in the property’s private well water on or after
             December 16, 2015 from a qualified laboratory or from the State of New York,
             or any other form of proof deemed appropriate by the General Administrator.
             The General Administrator may also obtain such information by reference to
                                           17
     Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 19 of 140




                   public records and/or confidential records and data provided by the New York
                   State Department of Health and/or NYSDEC. Proof of a serum PFOA
                   concentration above 1.86 µg/L may be demonstrated by a copy of a serum
                   PFOA test result from a qualified laboratory or from the State of New York.

4.      Calculation of Class Member Payments

        a.   Property Settlement Classes

              i.   Property Payment Allocation. The sum of TWENTY MILLION SEVEN
                   HUNDRED THOUSAND DOLLARS ($20,700,000) shall be allocated from
                   the Settlement Fund for distribution to Property Settlement Class Members who
                   demonstrate eligibility in accordance with Section 3(b)(i) or (ii). This shall be
                   referred to as the “Property Payment Allocation.”

             ii.   Calculation of Settlement Payment for Each Property. The General
                   Administrator shall total the full market values of all Eligible Properties as
                   determined by the 2015 County Assessment Roll for the Town of Hoosick,
                   which will comprise the denominator of a fraction. For calculating the
                   distribution for each Eligible Property, the full market value of that Eligible
                   Property as determined by the 2015 County Assessment Roll for the Town of
                   Hoosick shall comprise the numerator of this fraction, which will then be
                   multiplied by the Property Payment Allocation to yield the individual amount
                   due to the Property Settlement Class Member(s) who owned the Eligible
                   Property as of December 15, 2016. The amount payable for each Eligible
                   Property shall be based upon this fraction regardless of the number of owners
                   of such property. If there are multiple Property Settlement Class Members who
                   owned an individual Eligible Property as of December 15, 2016 and
                   demonstrate eligibility in accordance with Section 3(b)(i) or (ii), the General
                   Administrator shall pay this amount in equal shares to each such Property
                   Settlement Class Member.

        b.   Nuisance Settlement Class

              i.   Nuisance Payment Allocation. The sum of SEVEN MILLION SEVEN
                   HUNDRED AND SIXTY-ONE THOUSAND SIX HUNDRED AND
                   EIGHTY-THREE DOLLARS ($7,761,683) shall be allocated from the
                   Settlement Fund for distribution to Nuisance Settlement Class Members who
                   demonstrate eligibility in accordance with Section 3(b)(iii). This shall be
                   referred to as the “Nuisance Payment Allocation.” All interest earned on the
                   Preliminary Settlement Fund Payment deposited in the Escrow Account shall
                   after Final Approval also be allocated to the Nuisance Settlement Class and be
                   added to this allocation.

             ii.   Calculation of Nuisance Damage Settlement Class Member Payment. The
                   Nuisance Payment Allocation shall be divided evenly by the General
                   Administrator among all Nuisance Damage Settlement Class Members who

                                                18
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 20 of 140




             demonstrate eligibility in accordance with Section 3(b)(iii), and an equal share
             shall be paid to each Nuisance Settlement Class Member who demonstrates
             eligibility in accordance with Section 3(b)(iii).

   c.   Medical Monitoring Settlement Class

        i.   Medical Monitoring Allocation. The sum of TWENTY-TWO MILLION
             EIGHT HUNDRED THOUSAND DOLLARS ($22,800,000) shall be allocated
             to the Medical Monitoring Program from the Settlement Fund. This shall be
             referred to as the “Medical Monitoring Allocation.” The Medical Monitoring
             Administrator shall establish an account into which the Medical Monitoring
             Allocation shall be deposited by the General Administrator, and the Medical
             Monitoring Allocation shall thereafter be used to pay all expenses related to the
             Medical Monitoring Program as further delineated in Appendix A, including
             payments to Participating and Non-Participating Physicians, laboratories, and
             all Medical Monitoring Administration Costs.

         ii. Term. The Medical Monitoring Program shall begin on the Effective Date and
             shall terminate at the earlier of (a) when the Medical Monitoring Allocation has
             been expended; or (b) when all bills submitted to the Medical Monitoring
             Administrator for services under the Medical Monitoring Program rendered on
             or before the ten (10) year anniversary of the Effective Date are paid.

        iii. Medical Monitoring Program Provisions. The testing and services protocols
             under the Medical Monitoring Program, their frequency, and other details
             concerning the operation of the Medical Monitoring Program are set forth in
             Appendix A, attached hereto and incorporated herein.

         iv. Incentive Payments. A maximum incentive payment of ONE HUNDRED
             DOLLARS ($100) shall be paid to any Medical Monitoring Settlement Class
             Member who completes both the Initial Informational Survey and the Initial
             Screening Consultation as described in Appendix A within twelve (12) months
             of the Effective Date. No other incentive payments shall be made at any time
             for participation in the Medical Monitoring Program.

         v. Distribution of Remainder of Funds at Termination of the Medical Monitoring
            Program. The amount, if any, remaining of the Medical Monitoring Allocation
            when the Program terminates pursuant to Section 4(c)(ii) shall be distributed as
            follows:

             1. An amount equal to the Medical Monitoring Disbursement or to the Medical
                Monitoring Remainder, whichever is less, shall be distributed on a pro-rata
                basis to all Participants in the Medical Monitoring Program based on their
                level of participation during its term, as determined by the Medical
                Monitoring Administrator. For example, Participants who have participated
                in all services available to them under the Medical Monitoring Program as
                determined by the Medical Monitoring Administrator shall receive one pro-

                                          19
     Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 21 of 140




                      rata share, while Participants who have participated in 50% of services
                      available to them under the Medical Monitoring Program shall receive one-
                      half of a pro-rata share.

                  2. In the event the Medical Monitoring Remainder is greater than the Medical
                     Monitoring Disbursement, an amount equal to the difference between the
                     Medical Monitoring Remainder and the Medical Monitoring Disbursement
                     will be paid as a contribution to a not-for-profit organization that focuses on
                     health and well-being of residents in or around the Town of Hoosick that
                     serves the Town of Hoosick and/or Village of Hoosick Falls community.
                     The Parties will work together to identify the appropriate recipient
                     organization within 120 days of the Effective Date and thereafter seek Court
                     approval of their selection. If the recipient organization identified by the
                     Parties ceases to exist at any time after the Effective Date but before
                     termination of the Medical Monitoring Program pursuant to Section 4(c)(ii),
                     the Parties shall meet and confer in good faith to propose a reasonable
                     substitute recipient organization and shall seek Court approval of their
                     proposal.

                  3. Nothing in this Agreement or in Appendix A shall be construed as Settling
                     Defendants’ agreement with or endorsement of any oral or written
                     statements made by or the selection of the General Administrator, the
                     Medical Monitoring Administrator, an Overseeing Program Physician or a
                     Program Physician (as those terms are defined in Appendix A), or the
                     Medical Monitoring Program itself, including as to any purported health or
                     environmental risks associated with PFOA (or PFAS).

        d.   Excess Settlement Funds. To the extent that any amounts remain in the Settlement
             Fund after all payments have been made pursuant to Section 4(a)-(c) herein, and
             following disbursement of Court-approved attorneys’ fees and costs, General
             Settlement Administration Costs, any tax-related expenses, and any Court-approved
             Service Awards, those remaining amounts shall be added to the Medical Monitoring
             Allocation.

5.      Attorneys’ Fees, Costs, and Expenses

        a.   Class Counsels’ Fees and Costs. Class Counsels’ reasonable attorneys’ fees and costs,
             as determined and approved by the Court, shall be paid from the Settlement Fund no
             later than twenty-eight (28) days after the Effective Date. Class Counsel shall apply
             for an award of attorneys’ fees up to 19% of the Total Settlement Payment, or
             TWELVE MILLION THREE HUNDRED NINETY-SEVEN THOUSAND FIVE
             HUNDRED DOLLARS ($12,397,500), and reimbursement of reasonable litigation
             costs of ONE MILLION FORTY THOUSAND EIGHT HUNDRED AND
             SEVENTEEN DOLLARS ($1,040,817), to be approved by the Court. Settling
             Defendants agree not to oppose an application for attorneys’ fees and costs in those
             amounts. Settling Defendants shall not be responsible for any attorneys’ fees,


                                               20
     Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 22 of 140




             expenses, or costs in this Action beyond the amounts allocated for these purposes in
             this paragraph.

        b.   Service Awards. Subject to Court approval, each Plaintiff shall be entitled to receive
             a Service Award of up to $25,000 each for his or her role as a class representative.
             The Service Awards shall not exceed $250,000 in the aggregate and shall be paid
             from the Settlement Fund no later than twenty-eight (28) days from the Effective
             Date.

        c.   Administrative Fees and Costs. The General Settlement Administration Costs shall
             be paid from the Preliminary Settlement Fund and, after Final Approval, the
             Settlement Fund within ten (10) days after invoicing to and written approval by Class
             Counsel. Total General Settlement Administration Costs, including Preliminary
             Administrative Expenses, shall not exceed $300,000, except that, in the event of
             exceptional circumstances, an additional amount not to exceed $200,000 may be paid
             from the Preliminary Settlement Fund for General Settlement Administration Costs,
             including Preliminary Administrative Expenses.

        d.   Total Settlement Payment. When combined with the amounts set forth in Sections
             4(a)(i), (b)(i), and (c)(i), the sum of amounts set forth in Sections 5(a)-(c) shall not
             exceed the Total Settlement Payment amount set forth in Section 1(aaaa).

6.      Dismissal, Release of Claims, and Related Provisions

        a.   Dismissal. In the motion for final approval of the Settlement, Plaintiffs, on behalf of
             themselves and the Settlement Classes, shall request that the Final Approval Order
             dismiss the Action with prejudice as to the Settling Defendants and enter a final
             judgment as to them.

        b.   Release. Upon the Effective Date, the Releasing Parties shall have expressly,
             intentionally, voluntarily, fully, finally, irrevocably, and forever released,
             relinquished, waived, compromised, settled, and discharged the Released Parties
             from each and every past, present, and future claim and cause of action, including
             without limitation causes of action and/or relief created or enacted in the future—
             whether known or unknown, whether direct or indirect, individual or class, in
             constitutional, federal, state, local, statutory, civil, or common law or in equity, or
             based on any other law, rule, regulation, ordinance, directive, contract, or the law of
             any foreign jurisdiction, whether fixed or contingent, known or unknown, liquidated
             or unliquidated, suspected or unsuspected, asserted or unasserted, matured or
             unmatured, or for compensatory damages, consequential damages, incidental
             damages, statutory damages, punitive, special, multiple, treble, or exemplary
             damages, nominal damages, disgorgement, restitution, indemnity, contribution,
             penalties, injunctive relief, declaratory relief, attorneys’ fees, court costs, or
             expenses—that were or could have been asserted in the Action or any other forum,
             arising out of or related to, either directly or indirectly or in whole or in part: (i) the
             subject matter of any allegations contained in the Second Amended Complaint, any
             allegations otherwise asserted in the Action, or the subject matter of any discovery

                                                  21
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 23 of 140




        obtained in the Action; (ii) the alleged presence of PFAS (including PFOA) in
        drinking water or the environment (including but not limited to in air, groundwater,
        surface water, municipal water, private well water, or soil) within the Village of
        Hoosick Falls or the Town of Hoosick; (iii) the sale, purchase, use, handling,
        transportation, release, discharge, migration, emission, spillage, or disposal of PFAS
        (including PFOA) to, at, or from a Facility in or near the Village of Hoosick Falls or
        the Town of Hoosick, including any such PFAS (including PFOA) present as a result
        of disposal at or discharge to, directly or indirectly, any landfill, sewage system, water
        treatment facility, or any other location in and around the Village of Hoosick Falls or
        Town of Hoosick, and/or resulting in any alleged exposure of any Settlement Class
        Member to PFAS (including PFOA) through drinking water, inhalation, dermal
        contact, or otherwise; (iv) for any type of relief with respect to the acquisition,
        installation, maintenance, operation, or presence of, including the cost or purported
        inconvenience or loss of enjoyment of, property associated with whole-house filters,
        point-of-entry (POET) filters, point-of-use filters, municipal water, private well water,
        bottled water, alternative water supplies, or remediation; (v) for property damage or
        property-value diminution, including without limitation stigma, purportedly
        attributable to the alleged presence of PFAS (including PFOA) in the Village
        Municipal Water System or any private well, or in the air, groundwater, surface water,
        municipal water, private well water, or soil in or around the Village of Hoosick Falls
        or the Town of Hoosick; and/or (vi) based on PFAS (including PFOA) in the blood
        or tissue of any Settlement Class Member (the “Released Claims”); provided,
        however, that the “Released Claims” do not include any individual claims of the
        Releasing Parties (a) for any damages (including for screenings, tests, examinations,
        and/or diagnostic procedures) related to past, present, or future manifested bodily
        injuries that have resulted in a medically diagnosed condition, or (b) to enforce the
        terms of this Agreement or the Final Approval Order. For purposes of this Agreement,
        “manifested bodily injuries that have resulted in a medically diagnosed condition” do
        not include the detection or accumulation of PFAS (including PFOA) in blood or
        other bodily tissue.

   c.   N.Y. Gen. Oblig. § 15-108: The releases set forth herein are given pursuant to New
        York law and shall be construed under New York law, including N.Y. General
        Obligations Law § 15-108, which bars claims for contribution by joint tortfeasors as
        provided for in article fourteen of the New York Civil Practice Law and Rules,
        without regard to New York’s conflict or choice of law principles. This Agreement
        is expressly intended to absolve the Released Parties from any claims for contribution
        (however denominated) by any other Defendant(s), any other Person that might be
        subsequently added or joined as a party in the Action, or any other Person sued or
        deemed responsible for any claim or damages arising out of or related to the Released
        Claims, in the manner and to the fullest extent permitted under the law of New York,
        including N.Y. General Obligations Law § 15-108, or of any other jurisdiction that
        might be construed or deemed to apply for claims of contribution (however
        denominated) against any Released Party. Notwithstanding the foregoing, should
        any court determine that any Defendant or any other Person subsequently added or
        joined as a party in the Action is or was legally entitled to any kind of contribution
        from the Settling Defendants arising out of or related to Released Claims, the
                                            22
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 24 of 140




        Releasing Parties agree that any money judgment subsequently obtained by the
        Releasing Parties against any Defendant or any other Person subsequently added or
        joined as a party in the Action shall be reduced to an amount such that, upon paying
        the entire amount, the Defendant or any other Person subsequently added or joined
        as a party in the Action would have no claim for contribution (however denominated)
        against the Released Parties.

   d.   Minor Plaintiffs: Each of the Plaintiffs who filed this Action as parent and natural
        guardian of a Minor will apply to the Court individually or jointly for approval of the
        settlement on behalf of the Minor class representatives and all absent Minor
        Settlement Class Members. It is contemplated by the Parties that the Preliminary
        Approval Order will provide authority under Local Rules of Civil Practice, Rule 17.1
        and N.Y. C.P.L.R. § 1201 for parents and guardians of all named Minor Plaintiffs
        and absent Settlement Class Members to sign Claim Forms and releases on behalf of
        their Minor children and wards. It is further contemplated by the Parties that an Order
        from the Court finally approving the Settlement shall effectuate a settlement under
        Local Rule 17.1 and N.Y. C.P.L.R. § 1207 for all named Minor Plaintiffs and absent
        Minor Settlement Class Members.

   e.   Incompetent Absent Class Members: It is contemplated by the Parties that legal
        representatives of incompetent absent Settlement Class Members shall have authority
        to sign Claim Forms and releases on behalf of the absent Settlement Class Members
        they represent. Where a legal representative of an incompetent absent Settlement
        Class Member submits a Claim Form on that Settlement Class Member’s behalf, that
        legal representative shall attest to their authority to act for the incompetent absent
        Settlement Class Member. It is contemplated by the Parties that the Preliminary
        Approval Order will provide authority under Local Rule 17.1 and N.Y. C.P.L.R.
        § 1201 for such legal representatives to sign the Claim Forms and releases on behalf
        of the incompetent Settlement Class Members they represent. It is contemplated by
        the Parties that an Order from the Court finally approving the Settlement shall
        effectuate a settlement under Local Rule 17.1 and N.Y. C.P.L.R. § 1207 for all absent
        incompetent Settlement Class Members.

   f.   Deceased Absent Class Members: It is contemplated by the Parties that legal
        representatives of deceased absent Settlement Class Members shall have authority to
        sign Claim Forms and releases on behalf of the absent Settlement Class Members
        they represent. Where a legal representative of a deceased absent Settlement Class
        Member submits a Claim Form on that Settlement Class Member’s behalf, that legal
        representative shall attest to their authority to act for the deceased absent Settlement
        Class Member.

   g.   No Waiver of Defenses: The Settling Defendants do not waive or forfeit any claims,
        defenses or arguments that they could assert, including as to any claims or causes of
        action that are outside the definition of “Released Claims.”

   h.   Exclusive Remedy: The relief provided for in this Agreement shall be the sole and
        exclusive remedy for all Releasing Parties with respect to any Released Claims, and
                                           23
     Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 25 of 140




             the Released Parties shall not be subject to liability or expense of any kind with
             respect to any Released Claims other than as set forth in this Agreement.

        i.   Covenant Not To Sue: Each of the Releasing Parties shall forever refrain from
             instituting, maintaining, prosecuting, or continuing any suit, action, arbitration, or
             proceeding against any of the Released Parties with respect to the Released Claims.

        j.   Waiver of Statutory Rights: To the extent the provisions apply, the Releasing Parties
             expressly, knowingly, and voluntarily waive the provisions of Section 1542 of the
             California Civil Code, which provides as follows:

                A general release does not extend to claims that the creditor or releasing
                party does not know or suspect to exist in his or her favor at the time of
                executing the release and that, if known by him or her, would have materially
                affected his or her settlement with the debtor or released party.

             To the extent the provisions apply, the Releasing Parties likewise expressly,
             knowingly, and voluntarily waive the provisions of Section 20-7-11 of the South
             Dakota Codified Laws, which provides:

                A general release does not extend to claims which the creditor does not know
                or suspect to exist in his favor at the time of executing the release, which if
                known by him must have materially affected his settlement with the debtor.

             To the extent the laws apply, the Releasing Parties expressly waive and relinquish all
             rights and benefits that they may have under, or that may be conferred upon them by,
             Section 1542 of the California Civil Code, Section 20-7-11 of the South Dakota
             Codified Laws, and all similar laws of other States, to the fullest extent that they may
             lawfully waive such rights or benefits pertaining to the Released Claims. In
             connection with such waiver and relinquishment, the Releasing Parties acknowledge
             that they are aware that they or their attorneys may hereafter discover claims or facts
             in addition to or different from those that they now know or believe to exist with
             respect to the Released Claims, but that it is their intention to accept and assume that
             risk and fully, finally, and forever release, waive, compromise, settle, and discharge
             all of the Released Claims against Released Persons. The release thus shall remain
             in effect notwithstanding the discovery or existence of any additional or different
             claims or facts.

        k.   Full and Complete Defense: To the extent permitted by law, this Agreement may be
             pleaded as a full and complete defense to, and may be used as the basis for an
             injunction against, any action, suit, arbitration, or other proceeding that may be
             instituted, prosecuted, or attempted in breach of or contrary to this Settlement
             Agreement, or that asserts any Released Claims against any of the Released Parties.

7.      No Admission of Wrongdoing or Liability

        a.   The Settling Defendants do not admit or concede any liability, fault, omission, or
             wrongdoing, acknowledge any validity to the allegations or claims asserted in the
                                              24
     Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 26 of 140




             Action, acknowledge that certification of any litigation class is appropriate as to any
             claim, admit, concede or acknowledge that the Medical Monitoring Program is
             medically necessary, or acknowledge any weakness in the defenses asserted in the
             Action, and nothing in this Agreement, the Preliminary Approval Order, or the Final
             Approval Order shall be interpreted to suggest anything to contrary.

        b.   Nothing in this Agreement, any negotiations, statements, communications,
             proceedings, filings, or orders relating thereto, or the fact that the Parties entered the
             Agreement and settled the Action shall be construed, deemed, or offered as an
             admission or concession by any of the Parties, Settlement Class Members, or Settling
             Defendants or as evidentiary, impeachment, or other material available for use or
             subject to discovery in any suit, action, or proceeding (including this Action) before
             any civil or criminal court, administrative agency, arbitral body, or other tribunal,
             except (i) as required or permitted to comply with or enforce the terms of this
             Agreement, the Preliminary Approval Order, or the Final Approval Order, or (ii) in
             connection with a defense based on res judicata, claim preclusion, collateral estoppel,
             issue preclusion, release, or other similar theory asserted by any of the Released
             Parties. The limitations described in this paragraph shall apply whether or not the
             Court enters the Preliminary Approval Order or the Final Approval Order, or any
             such order is affirmed, reversed, vacated, or overturned by an appellate court.

8.      Preliminary Approval

        a.   Upon execution of this Agreement by all Parties, Class Counsel shall promptly move
             the Court for a Preliminary Approval Order. The proposed Preliminary Approval
             Order shall be attached to the motion, or otherwise filed with the Court, and shall be
             in a form attached hereto as Exhibit C.

        b.   The motion for Preliminary Approval shall, among other things, request that the
             Court: (1) preliminarily approve the terms of the Settlement as being within the range
             of fair, adequate, and reasonable; (2) find that it will be likely to certify the Municipal
             Water Property Settlement Class, the Private Well Water Property Settlement Class,
             the Nuisance Settlement Class, and the Medical Monitoring Settlement Class
             pursuant to Federal Rule of Civil Procedure 23, for settlement purposes only, appoint
             the Plaintiffs as representatives of the appropriate Settlement Classes, and appoint
             Co-Lead Interim Settlement Class Counsel as counsel for the Settlement Classes; (3)
             appoint the General Administrator; (4) approve the Notice Program set forth herein
             and approve the form and content of the Class Notice; (5) approve the procedures set
             forth herein in Sections 12 and 13 for Settlement Class Members to Opt Out or object
             to the Settlement; (6) provide the requisite authority for parents and guardians of all
             named Minor Plaintiffs and absent Minor Settlement Class Members, and for legal
             representatives of absent incompetent Settlement Class Members, to sign Claim
             Forms and releases on behalf of the Settlement Class Members they represent; (7)
             stay further proceedings against Settling Defendants pending Final Approval of the
             Settlement; and (8) schedule a Final Approval Hearing for a time and date mutually
             convenient for the Court, Class Counsel, and counsel for Settling Defendants, at
             which the Court will conduct an inquiry into the fairness of the Settlement, determine
                                                  25
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 27 of 140




              whether it was made in good faith, and determine whether to approve the Settlement
              and Class Counsels’ application for attorneys’ fees and costs and for a Service Award
              to Plaintiffs.

         c.   In Plaintiffs’ motion seeking Preliminary Approval, Plaintiffs shall request that the
              Court approve the Notice Form attached at Exhibit B and approve the Notice Program.
              The Court will ultimately determine and approve the content and form of the Notice
              Form to be distributed to the Settlement Class Members.

         d.   The Parties further agree that in Plaintiffs’ motion seeking Preliminary Approval,
              Plaintiffs will request that the Court enter the following schedule governing the
              Settlement: (1) deadline for commencing Class Notice (the Notice Date): thirty (30)
              days from Preliminary Approval; (2) Opt Out Deadline: one hundred and five (105)
              days from the Notice Date; (3) Objection Deadline: one hundred and five (105) days
              from the Notice Date; (4) deadline for filing motions for approval of Plaintiffs’
              Service Awards and attorneys’ fees and costs awards: one-hundred fifty (150) days
              from Preliminary Approval; (5) deadline for filing motion for final approval: one-
              hundred fifty (150) days from Preliminary Approval; (6) Final Approval Hearing:
              one-hundred eighty (180) days from Preliminary Approval, or as soon thereafter as
              is mutually convenient.

9.       Class Certification for Settlement Purposes

         a.   In the motion for preliminary approval of the Settlement, Plaintiffs shall propose
              certification of the Settlement Classes, solely for purposes of the Settlement, pursuant
              to Federal Rules of Civil Procedure 23(b)(3) and 23(e), with Plaintiffs as the proposed
              class representatives, which the Settling Defendants will not oppose.

         b.   If this Agreement is terminated or the Court (or an appellate court) declines to
              approve the Settlement as proposed by the Plaintiffs, the Settling Defendants shall
              retain all of the rights to oppose class certification (and assert all other arguments and
              defenses) that they had prior to execution of this Agreement.

         c.   Nothing in this Agreement, the Settlement, or the orders, filings, proceedings, or
              negotiations related to this Agreement or the Settlement shall prejudice the Settling
              Defendants’ rights to oppose class certification, for purposes of litigation, in the
              Action or any other lawsuit. This section does not prevent this Agreement and the
              related orders, filings and proceedings from being used as evidence or argument
              concerning whether the Action or any other lawsuit may be certified for solely
              settlement purposes.

10.      CAFA Notice

         a. Within ten (10) days after Plaintiffs file the motion for preliminary approval of the
            Settlement, each Settling Defendant shall provide CAFA Notice to the appropriate
            officials of the United States, the State of New York, the other forty-nine states, and
            the territories. Settling Defendants shall bear the costs of such notice.

                                                  26
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 28 of 140




         b. When each Settling Defendant provides CAFA Notice in accordance with Section 10(a)
            of this Agreement, it shall provide copies of the CAFA Notice to Plaintiffs.

11.      Class Notice

         a.     Provision of Information to the General Administrator. The proposed General
                Administrator shall execute a Written Assurance of compliance with the Amended
                Stipulated Protective Order of Confidentiality in this Action (ECF Dkt. 131) on or
                before the filing of Plaintiffs’ motion seeking Preliminary Approval. Within twenty
                (20) days of the filing of Plaintiffs’ motion seeking Preliminary Approval, the
                Settling Defendants will provide the General Administrator with (i) confidential
                private well testing data provided by the NYSDEC and/or New York State
                Department of Health, including property addresses, from testing performed on
                properties within the Town of Hoosick and Village of Hoosick Falls since
                December 2015, and (ii) confidential records provided by the NYSDEC and/or
                New York State Department of Health of all properties within the Town of Hoosick
                and Village of Hoosick Falls at which POETs have been installed since December
                2015. The General Administrator shall use this information solely for the purposes
                of providing Class Notice and administering the Settlement, including making
                eligibility determinations, as described in Section 3.

         b.     Within thirty (30) days of Preliminary Approval, or by the time specified by the
                Court, the General Administrator shall commence the Notice Program, including
                by mailing the Notice Form in such form as is approved by the Court. The General
                Administrator shall transmit the Notice Form via direct mail to all owners of
                Residential Properties that obtain drinking water from the Village Municipal Water
                System and owners and renters of Residential Properties in the Town of Hoosick
                or Village of Hoosick Falls that obtain drinking water from private wells in which
                PFOA was detected on or after December 2015.

         c.     Commencing on the Notice Date, the General Administrator shall implement the
                Notice Program. As set forth in more detail in Exhibit F, the Notice Program shall
                consist of direct mail; internet, national and social media impressions; a national
                press release; and a community outreach effort. As set forth in more detail in
                Exhibit F, the Notice Program will feature a media campaign with the following
                features:

                    i. A digital media plan will achieve approximately 54.2 million impressions,
                       targeting adults eighteen and over by geo-targeting New York State,
                       Albany-Troy-Schenectady, and Hoosick Falls on desktop and mobile
                       devices via various websites and Facebook. A supplemental digital media
                       plan will target adults eighteen and over nationwide via various websites
                       and adults eighteen and over on Facebook and Instagram who have
                       Bennington College listed as part of their education, and will use IP
                       targeting to reach devices mapped to approximately 1700 postal addresses
                       in Hoosick Falls.


                                                27
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 29 of 140




                    ii. A newspaper campaign will feature one quarter-page ad to be published in
                        the Main News section of the Bennington Banner (on any one Tuesday
                        through Saturday) and Eastwick Press (on any one Friday).

                    iii. A nationwide press release.

                    iv. A community outreach plan will work with prominent news organizations,
                        agencies, and community organizations to disseminate notice of the
                        Settlement to their audiences and networks.

         d.    The General Administrator shall maintain a Settlement Website containing the
               Second Amended Complaint, this Agreement, the Notice Form, Plaintiffs’ motion
               seeking Preliminary Approval, the Preliminary Approval Order, Plaintiffs’ motion
               seeking Final Approval, the Final Approval Order, the Claim Form, and such other
               documents as the Parties agree to post or that the Court orders posted. These
               documents shall remain on the Settlement Website for at least six months after Final
               Approval.           The      Settlement     Website’s        URL       will       be
               www.hoosickfallspfoasettlement.com.

         e.    The General Administrator shall send the Notice Form and Claim Form by mail to
               any potential Settlement Class Member who requests a copy. It will be
               conclusively presumed that the intended recipients received the Notice Form and
               Claim Form if the Notice Form and/or Claim Forms have not been returned to the
               General Administrator as undeliverable within fifteen (15) calendar days of mailing.

         f.    The Parties may by mutual written consent make non-substantive changes to the
               Notice Form without Court approval after the Court’s approval of the Notice Form.

         g.    A Spanish-language translation of the Notice Form agreed upon by the Parties shall
               be available on the Settlement Website and will be provided to Settlement Class
               Members who request it from the General Administrator.

12.      Opt Outs

         a.   A Settlement Class Member may Opt Out by submitting to the General Administrator
              a timely and valid request that complies with the Opt Out procedure described in the
              Class Notice. To be timely and valid, an Opt Out request must have a verified
              submission date on or before the Opt Out Deadline and must include (i) the full name,
              current address, and telephone number of the requestor; (ii) a statement of the facts
              that make the requestor a Settlement Class Member; (iii) a statement requesting
              exclusion from the Settlement Classes; and (iv) the signature of the requestor.

         b.   Any Settlement Class Member that submits a timely and valid Opt Out request shall
              not (i) be bound by any orders or judgments entered in the Action to implement and
              effectuate the Settlement and this Agreement; (ii) be entitled to any of the relief or
              other benefits provided under this Agreement; (iii) gain any rights by virtue of this
              Agreement; or (iv) be entitled to submit an Objection.

                                                 28
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 30 of 140




         c.   Any Settlement Class Member that does not submit a timely and valid Opt Out
              request submits to the jurisdiction of the Court and shall be bound by the terms of
              this Agreement and by all orders and judgments in the Action to implement and
              effectuate the Settlement and this Agreement.

         d.   If a Property Settlement Class Member submits a timely and valid Opt Out request,
              and that Settlement Class Member owns a Residential Property jointly with one or
              more other Property Settlement Class Members, all Settlement Class Members
              owning such property shall be deemed to have submitted a timely and valid Opt Out
              request.

         e.   No “mass” or “class” Opt Out requests shall be valid, and no Settlement Class
              Member may submit an Opt Out request on behalf of any other Settlement Class
              Member; provided, however, that a Settlement Class Member who is the legal
              guardian of a Minor Settlement Class Member or the legal representative of an
              incompetent or deceased Settlement Class Member may submit an Opt Out request
              on behalf of that Settlement Class Member.

         f.   Any Settlement Class Member that submits an Opt Out request may revoke the
              request by submitting to the General Administrator a statement of revocation with a
              verified submission date no later than forty (40) days before the Final Approval
              Hearing; provided, however, that Class Counsel shall have discretion to extend this
              deadline on a case-by-case basis.

         g.   As soon as practicable and no later than thirty (35) days before the Final Approval
              Hearing, the General Administrator shall furnish the Parties with a final list of all
              timely and valid Opt Out requests that have been submitted and not revoked.

13.      Objections

          a. A Settlement Class Member may make an Objection by serving on the Parties a timely
             and valid statement of Objection that complies with the Objection procedure described
             in the Class Notice. Class Counsel shall file all such Objections with the Court at least
             twenty (20) days prior to the Final Approval Hearing.

          b. To be timely and valid, a statement of Objection must be postmarked or received on
             or before the Objection Deadline and must include (i) the full name, current address,
             and telephone number of the objector; (ii) a statement of the facts that make the
             objector a Settlement Class Member; (iii) a statement describing all of the objector’s
             challenges to this Agreement or the Settlement and the reasons for those challenges;
             (iv) all of the papers and evidence the objector intends to submit in support of those
             challenges; (v) a statement of whether the objector intends to appear at the Final
             Approval Hearing; (vi) the signature of the objector; (vii) a statement that the objector
             is willing to be deposed, upon request, on a mutually acceptable date at least ten (10)
             days before the Final Approval Hearing; (viii) the caption of each case in which the
             objector or counsel representing the objector have objected to a class action settlement
             within the preceding five years and a copy of all orders related to or ruling upon those

                                                  29
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 31 of 140




              objections; and (ix) all agreements that relate to the Objection, whether written or
              verbal, between or among the objector, counsel for the objector, and/or any other
              Person.

          c. No “mass” or “class” Objections shall be valid, and no Settlement Class Member may
             submit a statement of Objection on behalf of any other Settlement Class Member;
             provided, however, that a Settlement Class Member who is the legal guardian of a
             Minor Settlement Class Member or the legal representative of an incompetent or
             deceased Settlement Class Member may submit a statement of Objection on behalf of
             that Settlement Class Member.

          d. Unless the Court orders otherwise, only those Settlement Class Members whose
             statements of Objection express an intention to appear at the Final Approval Hearing
             shall have the right to present their Objections orally at the Final Approval Hearing.

          e. Plaintiffs and the Settling Defendants shall have the right, but not the obligation, to
             respond to any timely-filed objection no later than seven (7) days prior to the Final
             Approval Hearing. Any Party who wishes to respond shall file a copy of the written
             response with the Court, and shall serve a copy, by hand or overnight delivery, to the
             objecting Settlement Class Member (or his or her counsel) and by email to counsel for
             Plaintiffs and/or the Settling Defendants.

          f. A Settlement Class Member that does not submit a timely and valid Objection shall
             have waived, and shall be foreclosed from making, any challenge to this Agreement
             or the Settlement in the Action or any other proceeding.

14.      Final Approval and Entry of Final Judgment

         a.    The Parties shall jointly seek a Final Approval Order and entry of final judgment
               from the Court that:

                i.   Approves the Settlement Agreement in its entirety pursuant to Federal Rule of
                     Civil Procedure 23(e) as fair, reasonable, and adequate;

              ii.    Certifies the Settlement Classes, for settlement purposes only;

              iii.   Confirms appointment of the General Administrator and Medical Monitoring
                     Administrator;

              iv.    Confirms the appointment of Class Counsel;

               v.    Finds that the Class Notice has satisfied the requirements set forth in Federal
                     Rule of Civil Procedure 23(c)(2)(B);

              vi.    Settles the claims of all named Minor Plaintiffs, absent Minor Settlement Class
                     Members, and absent incompetent Settlement Class Members;



                                                  30
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 32 of 140




              vii.    Bars and enjoins each Settlement Class Member from commencing, asserting,
                      and/or prosecuting any and all Released Claims against any Released Party;

              viii.   Dismisses with prejudice all claims in the Second Amended Complaint asserted
                      against Settling Defendants, without further costs, including claims for interest,
                      penalties, costs, and attorneys’ fees;

               ix.    Enters final judgment as to the Settling Defendants and the claims against them
                      in the Action pursuant to Federal Rule of Civil Procedure 54(b);

                x.    Confirms that each of the Settling Defendants has complied with and otherwise
                      discharged its obligations under the Class Action Fairness Act, 28 U.S.C.
                      § 1715(b);

               xi.    Confirms that it retains continuing jurisdiction over the Medical Monitoring
                      Program and the Settlement Fund; and

              xii.    Expressly incorporates the terms of this Agreement and provides that the Court
                      retains continuing and exclusive jurisdiction over the Parties, the Settlement
                      Class Members, and this Agreement, to interpret, implement, administer and
                      enforce the Agreement in accordance with its terms.

         b.     The motion for Final Approval of this Settlement shall include a request that the Court
                enter the Final Approval Order and, if the Court grants Final Approval of the
                Settlement and incorporates the Agreement into the final judgment, that the Court
                shall dismiss Settling Defendants from this Action with prejudice, and enter final
                judgment as to them, subject to the Court’s continuing jurisdiction to enforce the
                Agreement.

         c.     In the event the Court certifies one or more Settlement Classes in connection with
                this Agreement and grants Final Approval of the Settlement, Settling Defendants will
                not oppose a motion brought by Class Counsel in this Action seeking to certify a
                litigation or settlement class against E.I. du Pont de Nemours & Co., where consistent
                with Section 20.

15.      Representations and Warranties

          a. Plaintiffs represent and warrant to the Settling Defendants as follows:

                 i.   Each of the Plaintiffs is a Settlement Class Member.

                ii.   Each of the Plaintiffs has received legal advice from Class Counsel regarding
                      the advisability of entering into this Agreement and the legal consequences of
                      this Agreement.

               iii.   No portion of any of the Released Claims possessed by any of the Plaintiffs and
                      no portion of any relief under this Agreement to which any of the Plaintiffs may
                      be entitled has been assigned, transferred, or conveyed by or for any of the
                                                   31
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 33 of 140




                 Plaintiffs to any other Person, except pursuant to any contingency fee
                 agreement with Class Counsel.

         iv.     None of the Plaintiffs is relying on any statement, representation, omission,
                 inducement, or promise by any of the Settling Defendants, their agents, or their
                 representatives, except those expressly stated in this Agreement.

          v.     Each of the Plaintiffs, through Class Counsel, has investigated the law and facts
                 pertaining to the Released Claims and the Settlement.

         vi.     Each of the Plaintiffs, or for named Minor Plaintiffs their legal guardians, has
                 carefully read, and knows and understands, the full contents of this Agreement
                 and is voluntarily entering into this Agreement after having consulted with
                 Class Counsel or other attorneys.

        vii.     Each of the Plaintiffs, or for named Minor Plaintiffs their legal guardians, has
                 all necessary competence and authority to enter into this Agreement on his or
                 her own behalf or on behalf of any named Minor Plaintiffs, and on behalf of the
                 respective Settlement Classes they represent. Each of the Plaintiffs who filed
                 this Action as parent and natural guardian of a Minor has complied, and for
                 purposes of this Settlement will comply, with all applicable state and federal
                 laws pertaining to Minors and legal representative and guardianship laws, and
                 has the authority and capacity to bind the named Minor Plaintiff to this
                 Agreement.

        viii.    None of the Plaintiffs will Opt Out or file an Objection.

   b.    Class Counsel represents and warrants to the Settling Defendants as follows:

            i.   Class Counsel believes the Settlement is fair, reasonable, adequate, and
                 beneficial to each Settlement Class Member and that participation in the
                 Settlement would be in the best interests of each Settlement Class Member.

           ii.   Class Counsel does not currently represent any client or clients that plan to, or
                 are considering whether to, Opt Out, file an Objection, or otherwise challenge
                 the Settlement or this Agreement.

          iii.   Class Counsel recognizes the risk that they could have a conflict of interest if
                 they represented (directly or indirectly) any client in connection with an effort
                 to Opt Out, file an Objection, or otherwise challenge the Settlement or this
                 Agreement.

          iv.    Because Class Counsel believes that the Settlement is in the best interests of
                 each Settlement Class Member, Class Counsel will not solicit, or assist others
                 in soliciting, Settlement Class Members to Opt Out, file an Objection, or
                 otherwise challenge the Settlement or this Agreement.


                                              32
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 34 of 140




               v.    Class Counsel has all necessary authority to enter into and execute this
                     Agreement on behalf of Plaintiffs and the Settlement Classes.

               vi.   Each of the Plaintiffs, or for Minor Plaintiffs their legal guardians, has
                     approved and agreed to be bound by this Agreement.

              vii.   The representations in Section 15(a) of this Agreement are true and correct to
                     the best of Class Counsel’s knowledge.

          c. The Settling Defendants represent and warrant to Plaintiffs as follows:

                i.   Each of the Settling Defendants has received legal advice from its attorneys
                     regarding the advisability of entering into this Agreement and the legal
                     consequences of this Agreement.

               ii.   None of the Settling Defendants is relying on any statement, representation,
                     omission, inducement, or promise by Plaintiffs, Settlement Class Members, or
                     Class Counsel, except those expressly stated in this Agreement.

              iii.   Each of the Settling Defendants, with the assistance of its attorneys, has
                     investigated the law and facts pertaining to the Released Claims and the
                     Settlement.

               iv.   Each of the Settling Defendants has carefully read, and knows and understands,
                     the full contents of this Agreement and is voluntarily entering into this
                     Agreement after having consulted with its attorneys.

               v.    Each of the Settling Defendants has all necessary authority to enter into this
                     Agreement, has authorized the execution and performance of this Agreement,
                     and has authorized the Person signing this Agreement on its behalf to do so.

16.      Liens and Medicare Obligations

          a. Any liens or subrogation interests as to any damage to real property or other property
             of a Settlement Class Member shall be the responsibility of that Settlement Class
             Member.

          b. Any liens or subrogation interests as to any costs, expenses, or fees incurred by a
             Settlement Class Member in connection with any alleged exposure to PFAS (including
             PFOA) shall be the responsibility of that Settlement Class Member.

          c. Nothing in this Agreement is intended to create or give rise to any liens or subrogation
             claims not otherwise provided by law or contract.

          d. Due to the nature of the claims at issue in the Action and the Released Claims, the
             Parties agree that the Settlement does not give rise to any reporting requirements under
             Section 111 of the Medicare, Medicaid, and SCHIP Extension Act of 2007, and
             therefore that no Party will make any such report.
                                                 33
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 35 of 140




          e. The Parties have sought to draft this Settlement to avoid any impacts to the rights of
             any public or private program (e.g. Medicare) or to Settlement Class Members’ rights
             thereunder. However, by choosing not to Opt Out, Settlement Class Members
             acknowledge that (i) the Settlement could impact, limit, or preclude their rights to
             receive certain future Medicare benefits arising out of the allegations in this lawsuit;
             and (ii) they want to proceed with the Settlement and voluntarily waive any and all
             claims against the Settling Defendants for denial of Medicare benefits related to the
             Settlement. It is understood that the intent of this Agreement is that the Releasing
             Parties will protect, defend, and hold the Released Parties harmless from any future or
             further payments or exposure with regard to claims for reimbursement of public or
             private medical insurance benefits paid on behalf of the Releasing Parties. The
             Releasing Parties voluntarily waive any and all claims of any nature against the
             Settling Defendants related to any effort by Medicare or a Medicare Advantage
             Organization to demand payment of covered medical expenses that are asserted to be
             related to this Settlement, including but not limited to a private cause of action under
             42 U.S.C. § 1395y(b)(3)(A).

          f. The Parties have considered Medicare’s interest in any potential Medicare-covered
             medical expenses occurring before or after the Effective Date. The Parties are satisfied
             that no allocation for expenses to protect Medicare’s interest now or in the future is
             necessary and will not allocate any amount of the proceeds of this Settlement for past
             or future medical expenses, but reserve the right to do so in the future if necessary and
             appropriate in the sole discretion of the Medical Monitoring Administrator.

17.      Amendment of Agreement

          a. The Parties may agree to amend this Agreement for any reason at any time.

          b. Prior to entry of the Final Approval Order, this Agreement may be amended only by
             a writing executed by all Parties.

          c. After entry of the Final Approval Order, this Agreement may be amended only by a
             writing executed by all Parties and approved by the Court.

18.      Termination Rights and Effect of Termination

          a. Any of the Parties may terminate this Agreement if any of the following events happen:
             (i) the Court declines to approve any part of the Settlement; (ii) the Court declines to
             approve or changes a material term of the requested Preliminary Approval Order or
             the requested Final Approval Order; (iii) an appellate court reverses, vacates, or
             otherwise overturns the Final Approval Order in whole or in part; (iv) another of the
             Parties materially breaches this Agreement before the Effective Date and fails to
             promptly cure the breach after receiving written notice of the breach; or (v) the
             Effective Date otherwise does not come to pass; provided, however, that none of the
             Parties may terminate this Agreement because the Court or any appellate court awards
             less than the requested amount of attorneys’ fees, costs, and expenses. To terminate


                                                  34
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 36 of 140




       the Agreement under this section, Settling Defendants must unanimously agree to
       terminate the Agreement in writing.

    b. After receipt of the final Opt Out list provided by the General Administrator pursuant
       to Section 12 of this Agreement, Settling Defendants may terminate this Agreement
       based on the number of Settlement Class Members who Opt Out, pursuant to the
       Supplemental Agreement Regarding Settlement Termination Rights discussed in
       Section 19.

    c. In order to exercise a right to terminate this Agreement, a Party must deliver written
       notice of termination to counsel for all other Parties within ten (10) days after the later
       of the event creating the right to terminate or the Party learning of the event creating
       the right to terminate, unless that deadline is extended by written consent of counsel
       for all Parties.

    d. If a Party exercises a right to terminate this Agreement, (i) the Parties shall have thirty
       (30) days to resume settlement negotiations and determine if the Parties can reach an
       amended agreement, including without limitation with the assistance of a mediator;
       (ii) all deadlines under this Agreement shall be stayed for the duration of the
       negotiations; (iii) the Parties shall jointly request a stay of all Court deadlines for the
       duration of the negotiations; and (iv) the Parties shall jointly advise the Court of the
       status of this Agreement or any amendment to this Agreement within seven (7) days
       after the conclusion of the thirty-day negotiation period.

    e. Unless the Parties agree otherwise in writing, thirty-one (31) days after a Party
       exercises a right to terminate this Agreement:

           i.   The Agreement (except for Sections 7(a), 7(b), 9(b), 9(c), 18(a)-(f), 21(a),
                21(c), 22(a), and 22(b)) shall become null and void and of no further force and
                effect.

          ii.   Any unused portion of the Preliminary Settlement Fund Payment, including
                interest accrued thereon, shall be returned to the Settling Defendants.

         iii.   The Action shall resume as if the Parties never entered into the Agreement.

         iv.    The Parties shall be restored to their respective positions in the Action as of
                the Execution Date, with all of their respective legal claims and defenses
                preserved as they existed on that date.

          v.    The Parties shall jointly move to vacate any orders entered in connection with
                the Settlement.

         vi.    The Parties shall jointly move for the entry of a scheduling order establishing
                procedures and deadlines for, among other things, a class certification hearing.

        vii.    No Party shall be deemed to have waived any claims, objections, rights or
                defenses, or legal arguments or positions, including but not limited to, claims
                                             35
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 37 of 140




                     or objections to class certification, or claims or defenses on the merits. Each
                     Party reserves the right to prosecute or defend this Action in the event that this
                     Agreement does not become final and binding.

          f. If a Party breaches the Agreement after the Effective Date, none of the Parties may
             terminate the Agreement and any aggrieved Parties may seek relief only from the
             breaching Party. In no event shall any non-breaching Party have any liability arising
             out of or related to a breach of the Agreement by any other Party.

19.      Supplemental Agreements

          a. In addition to the provisions contained in Section 18, the Settling Defendants shall
             have the right, but not the obligation, in their sole discretion, to terminate this
             Agreement pursuant to the Supplemental Agreement Regarding Settlement
             Termination Rights to be executed by the Parties contemporaneously with the
             execution of this Agreement. This Supplemental Agreement shall not be submitted to
             the Court except in the event of a dispute thereunder, in which case the Parties shall
             seek to file it only under seal. The Supplemental Agreement Regarding Settlement
             Termination Rights is expressly incorporated into this Agreement. The Settling
             Defendants have also entered into a confidential Settlement Allocation Agreement
             among themselves regarding the amount of the Total Settlement Payment for which
             each Settling Defendant shall be responsible in accordance with Section 2. The
             Settlement Allocation Agreement also shall not be submitted to the Court unless there
             is a separate Court order, in which case the Settling Defendants shall seek to file it
             only under seal.

20.      Impact of Any Other Settlement

          a. If Plaintiffs reach any other settlement of this Action with another Defendant or Person
             prior to the Final Approval Hearing, the Release, Covenant Not to Sue, and
             Termination provisions herein (Sections 6(b), 6(i), and 18) shall be no less favorable
             to Settling Defendants than the corresponding term or provision applicable to any
             other settlement. If Settling Defendants believe one or more terms or provisions
             referenced above are less favorable than a corresponding term or provision in any
             other settlement reached by Plaintiffs, then Settling Defendants will provide written
             notice of such belief to Class Counsel within ten (10) days of the filing of such other
             settlement with the Court. Following receipt of the written notice, Settling Defendants
             and Class Counsel will confer as to whether the relevant term or provision in this
             Agreement is less favorable as compared to the other settlement. If there is agreement
             between Settling Defendants and Class Counsel that the provision at issue is less
             favorable, then Settling Defendants and Class Counsel will execute an amendment to
             this Agreement, adopting and incorporating the more favorable provision as drafted in
             the other settlement into the Agreement, and will submit the amendment to the Court
             for its approval. If Settling Defendants and Class Counsel are unable to reach an
             agreement on the relevant provision, Settling Defendants or Class Counsel may move
             the Court to resolve the dispute.

                                                  36
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 38 of 140




21.      Publicity and Confidentiality

          a. The Parties, Class Counsel, counsel for the Settling Defendants, the General
             Administrator, and the Medical Monitoring Administrator shall keep strictly
             confidential and not disclose to any third party any non-public information received
             during litigation of the Action or negotiation or implementation of the Settlement. All
             agreements made and orders entered during the course of the Action relating to the
             confidentiality of information will survive this Settlement Agreement.

          b. Within one hundred eighty (180) days after the latest of (i) the Effective Date, (ii) any
             final judgment in the Action, (iii) expiration or exhaustion of opportunities for
             appellate review of any final judgment without the final judgment having been reversed,
             vacated, or otherwise overturned in whole or in part, or (iv) entry of final judgment or
             an order of dismissal in the last-related action in In re Hoosick Falls PFOA Cases, No.
             1:19-cv-215-LEK-DJS, Class Counsel, on behalf of Plaintiffs and the Settlement
             Classes, the General Administrator, and the Medical Monitoring Administrator shall
             return or destroy (and certify in writing that they have destroyed upon a request to so
             certify) the Settling Defendants’ confidential documents produced in connection with
             the Action, settlement discussions, or the negotiation or performance of this
             Agreement.

          c. Recognizing that all Parties negotiated in good faith to reach an arms-length settlement,
             the Parties and their counsel agree that their public statements will not disparage the
             Settlement Agreement, or any Party’s motivations, reasons, or decision to enter into
             the Settlement Agreement.

22.      Miscellaneous

         a. Jurisdiction and Venue. The United States District Court for the Northern District of
            New York shall retain jurisdiction over the Parties and Settlement Class Members to
            interpret, implement, administer, and enforce the terms of this Agreement and resolve
            any dispute regarding this Agreement, the Settlement, the Preliminary Approval Order,
            or the Final Approval Order. All proceedings related to this Agreement, the Settlement,
            the Preliminary Approval Order, or the Final Approval Order shall be initiated and
            maintained in the United States District Court for the Northern District of New York.

         b. Governing Law. The Agreement shall be governed by and construed in accordance
            with the law of the State of New York without regard for choice-of-law or conflict-of-
            laws principles.

         c. All Reasonable Efforts. The Parties agree to cooperate with one another and use all
            reasonable efforts to support, promote, and obtain court approval and finality, and to
            exercise reasonable efforts to accomplish the terms and conditions of this Agreement.

         d. Voluntary Settlement: The Parties and their counsel agree that, in consideration of all
            the circumstances, and after significant, adversarial arm’s-length settlement
            negotiations among counsel and with the assistance of a mediator, the proposed
            Settlement embodied in this Agreement is fair, reasonable, adequate, and in the best
                                               37
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 39 of 140




      interests of the Settlement Classes, and was reached voluntarily after consultation with
      competent legal counsel.

   e. Binding Nature. This Agreement shall be binding upon and inure to the benefit of the
      Parties, the Settlement Class Members, and their respective agents, employees,
      representatives, heirs, executors, administrators, successors, and assigns.

   f. Failure of Plaintiff to be Appointed Class Representative. In the event that one or more
      Plaintiffs fails to secure Court approval to act as a class representative, the validity of
      this Agreement as to the remaining class representatives and the Settlement Classes
      shall be unaffected.

   g. Mistake. Each of the Parties to the Agreement has investigated the facts pertaining to
      it to the extent each Party deems necessary. In entering into this Agreement, each Party
      assumes the risk of mistake with respect to such facts. This Agreement is intended to
      be final and binding upon the Parties regardless of any claim of mistake.

   h. Finality. This Agreement is intended to be final and binding among the Parties, and is
      further intended to be a full and final accord and satisfaction between and among each
      of them. Each Settling Defendant and Plaintiff rely on the finality of this Agreement
      as a material factor inducing that Party’s execution of this Agreement.

   i. Authorization to Settle. Each of the Parties (or, for Minor Plaintiffs, their legal
      guardians) has all necessary authority to enter into this Agreement, has authorized the
      execution and performance of this Agreement, and has authorized the Person signing
      this Agreement on its behalf to do so.

   j. Construction. This Agreement was drafted jointly by the Parties and, in construing and
      interpreting this Agreement, no provision of this Agreement shall be construed or
      interpreted against any of the Parties based upon the contention that this Agreement or
      a portion of it was purportedly drafted or prepared by one of the Parties. The Parties
      agree that the language in all parts of this Agreement shall be construed as a whole,
      according to its fair meaning. Any captions, titles, headings, or subheadings in this
      Agreement have been inserted for convenience of reference only and shall have no
      effect upon the construction or interpretation of any part of this Agreement.

   k. Execution. This Agreement may be executed in counterparts, including via electronic
      signature, and shall be binding once all Parties have executed the Agreement. The
      Parties further agree that signatures provided by portable document format (PDF) or
      other electronic transmission shall have the same force and effect as original signatures.

   l. Dispute Resolution. The Parties will attempt to resolve any disputes regarding this
      Agreement in good faith. If unable to so resolve a dispute, the Parties will refer the
      matter to the United States District Court for the Northern District of New York for
      resolution.

   m. No Liability. No Person shall have any claim against any Plaintiffs, Settlement Class
      Members, Class Counsel, Released Parties, counsel for the Settling Defendants, the
                                         38
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 40 of 140




      General Administrator, or the Medical Monitoring Administrator based on actions that
      any Plaintiffs, Settlement Class Members, Class Counsel, Released Parties, counsel for
      Settling Defendants, the General Administrator, or the Medical Monitoring
      Administrator were required or permitted to take under this Agreement, the Preliminary
      Approval Order, or the Final Approval Order. No Person shall have any claim against
      any Released Parties or counsel for Settling Defendants related to administration of the
      Settlement, including the Medical Monitoring Program or the allocation or distribution
      of the Settlement Funds. No Person shall have any claim against Plaintiffs, Class
      Counsel, the General Administrator, or the Medical Monitoring Administrator related
      to the administration of the Settlement (including making payments to Settlement Class
      Members), except for in the presence of proven willful misconduct. No Person shall
      have any claim against Class Counsel, the General Administrator, the Medical
      Monitoring Administrator, the Released Parties, or counsel for Settling Defendants
      related to representations made by a parent or guardian pursuant to Section 15(a) or by
      a parent, guardian, or legal representative on the Claim Form regarding a Minor,
      incompetent, or deceased Settlement Class Member, including without limitation
      purported inaccuracies or misstatements regarding the parent’s, guardian’s, or legal
      representative’s legal relationship to and authority relative to that Settlement Class
      Member.

   n. Entire Agreement. This Agreement constitutes the entire agreement of the Parties with
      respect to the subject matter thereof, and it supersedes all prior and contemporaneous
      oral and written agreements and discussions among them on that subject matter. The
      Settlement is not subject to any condition, representation, warranty, or inducement not
      expressly provided for herein, and, except as identified in Section 19, there exist no
      collateral or oral agreements, promises, conditions, representations, warranties, or
      inducements among any of the Parties, Class Counsel, Settling Defendants, or counsel
      for the Settling Defendants relating to the subject matter of the Agreement that
      supersede or supplement the Agreement.

   o. Deadlines. If the last date for the performance of any action required or permitted by
      this Agreement falls on a Saturday, Sunday, or Court or public holiday, that action may
      be performed on the next business day as if it had been performed within the time
      period provided for performance of the action.

   p. Reasonable Extensions. Unless the Court orders otherwise, the Parties may agree in
      writing to any reasonable extensions of time to carry out any of the provisions of this
      Agreement.

   q. Notices. Any notice, demand, or other communication under this Agreement (other
      than the Class Notice) shall be in writing and shall be deemed duly given if it is
      addressed to the intended recipient as set forth below and personally delivered, sent by
      registered or certified mail (postage prepaid), sent by confirmed email, or delivered by
      reputable express overnight courier:




                                           39
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 41 of 140




      To Plaintiffs or Settlement Class Members:

      Stephen G. Schwarz
      Faraci Lange, LLP
      28 E. Main Street, Suite 1100
      Rochester, NY 14614
      sschwarz@faraci.com

      James J. Bilsborrow
      Seeger Weiss LLP
      55 Challenger Road
      Ridgefield Park, NJ 07660
      jbilsborrow@seegerweiss.com


      To Honeywell:

      Charles Anthony
      General Counsel - Health, Safety, Environment, Product Stewardship, and
      Sustainability
      Honeywell International Inc.
      300 S. Tryon St, Suite 500/600
      Charlotte, NC 28202
      Charles.Anthony@Honeywell.com

      Elissa J. Preheim
      Michael D. Daneker
      Arnold & Porter Kaye Scholer LLP
      601 Massachusetts Ave. NW
      Washington, DC 20001
      elissa.preheim@arnoldporter.com
      michael.daneker@arnoldporter.com


      To Saint-Gobain:

      La-Toya Hackney
      Thomas Field
      Saint-Gobain Corporation
      20 Moores Road
      Malvern, PA 19355
      latoya.hackney@saint-gobain.com
      thomas.g.field@saint-gobain.com




                                         40
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 42 of 140




      Douglas Fleming
      Dechert LLP
      Three Bryant Park
      1095 Avenue of the Americas
      New York, NY 10036
      douglas.fleming@dechert.com


      To 3M:

      Laura Hammargren
      3M Legal Affairs
      3M Center, 220-9E-02
      St. Paul, MN 55144-1000
      lhammargren@mmm.com

      Andrew Calica
      Mayer Brown LLP
      1221 Avenue of the Americas
      New York, NY 10020
      acalica@mayerbrown.com


      Any notice required to be sent to the General Administrator shall be delivered to his,
      her, or its official business address.

   r. Waiver. The provisions of this Agreement may be waived only by written agreement
      signed by the waiving party. The waiver by any Party of any breach of this Agreement
      shall not be deemed to be or construed as a waiver of any other breach of this
      Agreement.

   s. Materiality of Appendices and Exhibits. All of the Appendices and Exhibits to the
      Settlement Agreement are material and integral parts hereof.

   t. Severability. The provisions of this Agreement are not severable, except as provided
      in the Agreement.

   u. Third-Party Beneficiaries. This Agreement does not create any third-party beneficiaries,
      except Settlement Class Members and the Released Parties other than the Settling
      Defendants, who are intended third-party beneficiaries.

   v. Force Majeure. The failure of any Party to perform any of its obligations hereunder
      shall not subject any Party to any liability or remedy for damages, or otherwise, where
      such failure is occasioned in whole or in part by Acts of God, fires, accidents,
      pandemics, other natural disasters, interruptions or delays in communications or
      transportation, labor disputes or shortages, shortages of material or supplies,
      governmental laws, rules or regulations of other governmental bodies or tribunals, acts
                                           41
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 43 of 140




      or failures to act of any third parties, or any other similar or different circumstances or
      causes beyond the reasonable control of such Party.

                              [SIGNATURES ON NEXT PAGE]




                                            42
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 44 of 140
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 45 of 140




APPROVED AND AGREED TO:

Plaintiff Michele Baker                           Plaintiff Kathleen Main-Lingener


____________________________                      ____________________________
Date:                                             Date:


Plaintiff Charles Carr                            Plaintiff Jennifer Plouffe


____________________________                      ____________________________
Date:                                             Date:


Plaintiff Angela Corbett                          Plaintiff Daniel Schuttig


____________________________                      ____________________________
Date:                                             Date:


Plaintiff Pamela Forrest                          Plaintiff Silvia Potter, individually and as
                                                  parent and natural guardian of C.P.,
                                                  infant
____________________________
Date:
                                                  ____________________________
                                                  Date:
Plaintiff Michael Hickey, individually and
as parent and natural guardian of O.H.,
infant                                            Plaintiff Kristin Miller, as parent and
                                                  natural guardian of K.M., infant

____________________________
Date:                                             ____________________________
                                                  Date:




                                             43
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 46 of 140
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 47 of 140
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 48 of 140
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 49 of 140
-./01234564789.:85Case
                  ;-<5=>666>?=@A=-B@CA6A@=D-B@E>CD?C>=>FDocument
                         1:16-cv-00917-LEK-DJS          GC       286-3   Filed 07/21/21 Page 50 of 140




           23455627895360                                        6
           0                                                      94964974967496
           0                                                     3455627!6
                                             0                   0
             0                                                  0
           0                                                                           0
           0                                                       0XYZ[\]\^Z_`
           0                                                     "#$%%#&HIJKILMLJ
                                                                          0NOPQRSQTOUQVW
                                             0                   0
             0                                                  0
           0                                                 9496'79() 336*99479436*9!66
           0                                                     6
           0                                                     6
                                             0                                              0
             0                                                    0
           0                                                "#$%%#&0
           0                                                     0
           0                                                     0
                                             0                   0
             0                                                   9496+,627 49(6
           0                                                0
           0                                                     0
           0                                                                                0
           0                                                       0
           6                                                     "#$%%#&0
           6                                                     0
           6
           0




           00                                              110
            0
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 51 of 140




Class Counsel
                                         Defendant Saint-Gobain Performance
                                         Plastics Corp.
____________________________
By:
Date:                                    ____________________________
                                         By:
                                         Position:
____________________________             Date:
By:
Date:                                    Defendant Honeywell International Inc.


____________________________             ____________________________
By:                                      By: Lynn A. Dummett
Date:                                    Position:Vice President & General Counsel - Litigation
                                         Date: July 19, 2021

____________________________
By:                                      Defendant 3M Company
Date:

                                         ____________________________
                                         By:
                                         Position:
                                         Date:




                                    44
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 52 of 140
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 53 of 140




                                     APPENDIX A

  HOOSICK FALLS CLASS ACTION MEDICAL MONITORING PROGRAM

a) Definitions

   All capitalized terms not otherwise defined herein shall have the same meaning as defined

   in the Class Settlement Agreement (“Agreement”) between and among the Plaintiffs, on

   behalf of themselves and the Settlement Class Members, and the Settling Defendants in the

   putative consolidated class action lawsuit captioned Baker v. Saint-Gobain Performance

   Plastics Corporation et al., No. 1:16-cv-917, including without limitation Nos. 1:16-cv-

   220, 1:16-cv-292, 1:16-cv-394, and 1:16-cv-476. In addition to the terms defined at

   various points within the Agreement, the following defined terms shall apply throughout

   this Appendix A:

      1. The “Annual Informational Survey” means the annual survey designed by the

          Overseeing Program Physician during the first year of the Program as described

          below in section (e)(2)(ii).

      2. “Annual Financial Disbursement Report” means the annual report prepared by the

          Medical Monitoring Administrator, consisting of (1) an aggregated summary of the

          disbursements made for the Medical Monitoring Program, including identification

          of the Consultations and/or Program Services rendered by the Program Physicians,

          Non-Program Physicians, and/or laboratories for which disbursements were made,

          (2) participation rates and/or the number of Participants in the Medical Monitoring

          Program, and (3) the median, mean, and average serum PFOA level of Participants

          as a whole in a given reporting year and the percentage change in such level since

          the prior reporting year, as well as the range of PFOA serum levels (lowest data


                                           1
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 54 of 140




         point and highest data point) for each quartile of Participants. Any and all

         Participant data, including Protected Health Information, related to participation or

         use of the Medical Monitoring Program contained in the Annual Disbursement

         Report shall be presented in an aggregated, de-identified form and shall not include

         the results of any Consultation or Program Services, except that the summary

         statistics of serum PFOA levels described in this paragraph will be included.

      3. “Annual Participant Report” means the annual report prepared by the Medical

         Monitoring Administrator for dissemination only to Participants, consisting of (1)

         participation rates and/or the number of Participants in the Medical Monitoring

         Program, and (2) the median, mean, and average serum PFOA level of Participants

         as a whole in a given reporting year and the percentage change in such level since

         the prior reporting year, as well as the range of PFOA serum levels (lowest data

         point and highest data point) for each quartile of Participants. Any and all

         Participant data, including Protected Health Information, contained in the Annual

         Participant Report shall be presented in an aggregated, de-identified form.

      4. The “Annual Surveillance Consultation” means the activities described in section

         (e)(4), including the provision of Program Services performed by, or under the

         supervision of, a Program Physician or Non-Program Physician.

      5. “Consultation” means the Initial Screening Consultation or Annual Surveillance

         Consultation for a Participant.

      6. “Health Condition” means any of thyroid disease, ulcerative colitis, kidney cancer,

         testicular cancer, elevated uric acid level, abnormal liver function, hyperlipidemia,

         and hypertensive disorder related to pregnancy.


                                           2
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 55 of 140




      7. The “Initial Screening Consultation” means the activities described in section

         (e)(3), including the provision of Program Services performed by, or under the

         supervision of, a Program Physician or Non-Program Physician.

      8. “Informational Survey” means the Initial Informational Survey or Annual

         Informational Survey.

      9. The “Initial Informational Survey” means the informational survey designed by the

         Overseeing Program Physician as described below and will be substantially similar

         to the form attached as Exhibit A.

      10. “Non-Program Physician” means a third-party licensed primary care physician

         approved by the Medical Monitoring Administrator and Overseeing Program

         Physician to provide Consultations and to provide or prescribe Program Services to

         Medical Monitoring Settlement Class Members who reside more than 50 miles

         from a Program Physician, and who agrees to do so at the request of the Medical

         Monitoring Administrator.       No Non-Program Physician shall be a Medical

         Monitoring Settlement Class Member or have a pending claim for medical

         monitoring or personal injury against any Settling Defendant.

      11. “Overseeing Program Physician” shall be the physician to fulfill the responsibilities

         set forth in section (a)(11)(ii). Class Counsel has selected Alan Ducatman, M.D.,

         to serve as Overseeing Program Physician until such time as he becomes unwilling

         or unable to continue to serve in that role. Class Counsel, in consultation with

         Settling Defendants, may substitute a different physician with medical monitoring

         experience as Overseeing Program Physician, subject to approval by the Court if

         the Court has previously approved the Settlement preliminarily or finally. In the


                                           3
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 56 of 140




         absence of agreement, either Class Counsel or any Settling Defendant may move

         the Court to substitute a different physician as Overseeing Program Physician upon

         a showing that the responsibilities of the Overseeing Program Physician have not

         been adequately executed by the incumbent.

             i. Compensation:       The Overseeing Program Physician shall invoice the

                Medical Monitoring Administrator monthly with descriptions of the

                services provided and the time incurred.         The Overseeing Program

                Physician shall be compensated on an hourly basis at a rate of $280 per hour

                for the first year of the Program and that rate shall be increased by an

                amount not to exceed five (5) percent per year in each subsequent year of

                the program. In the first year of the Medical Monitoring Program, the

                Overseeing Program Physician shall not be paid for in excess of 150 hours

                unless approved by Class Counsel and counsel for the Settling Defendants.

                If no agreement can be reached between counsel, Class Counsel may make

                application to the Court for approval of this excess amount to be paid out of

                the Medical Monitoring Fund. In each subsequent year of the Program, the

                Overseeing Program Physician shall not be paid in excess of 35 hours unless

                approved by Class Counsel and counsel for the Settling Defendants. If no

                agreement can be reached between counsel, Class Counsel may make

                application to the Court for approval of this excess amount to be paid out of

                the Medical Monitoring Fund.

            ii. Responsibilities:    The Overseeing Program Physician shall have the

                following responsibilities:


                                          4
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 57 of 140




                   1. Assist in selecting and approving Program Physicians;

                   2. Training Program Physicians and Non-Program Physicians on the

                      Medical Monitoring Program design and implementation by (A)

                      developing Physician Training Materials and (B) meeting virtually

                      with Program Physicians and Non-Program Physicians by web

                      conference or telephone conference to provide a one-time training

                      at the inception of the Medical Monitoring Program or, in the case

                      of any Program Physician or Non-Program Physician who is

                      selected and approved after inception of the Program, prior to their

                      participation in the Program;

                   3. Develop Participant Program Materials; and

                   4. Designing the Initial Informational Survey to be completed by

                      Participants at the initiation of the Program and the Annual

                      Informational Survey to be completed annually by Participants who

                      have received an Initial Screening Consultation.

           iii. The Overseeing Program Physician shall not receive or have access to data

               regarding the identity, laboratory testing results, or other medical

               information of Medical Monitoring Settlement Class Members, except that

               the Medical Monitoring Administrator may (but need not) consult with the

               Overseeing    Program    Physician     when   the   Medical    Monitoring

               Administrator compiles Participant serum PFOA level data to prepare the

               Annual Participant Report or Annual Financial Disbursement Report and

               only to the extent that the data has been anonymized.


                                        5
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 58 of 140




      12. “Participant” means a Medical Monitoring Settlement Class Member who has

         enrolled in the Medical Monitoring Program by scheduling and receiving a

         Consultation.

      13. “Participant Program Materials” means written materials to be provided to

         Participants, which shall consist of a list of the Health Conditions, a list of what the

         Overseeing Program Physician contends are clinical signs and symptoms of the

         Health Conditions, and reference to the availability of Consultations and Program

         Services for the Health Conditions and any other general health information related

         to reducing risks of developing the Health Conditions. Neither the preparation nor

         dissemination of Participant Program Materials shall be construed as the Settling

         Defendants’ agreement with or endorsement of the content thereof, including the

         scientific basis for offering any Consultations or Program Services, and the

         Participant Program Materials shall contain an express disclaimer to such effect.

      14. “Physician Training Materials” means written materials to be provided to Program

         Physicians and Non-Program Physicians, which shall consist of a list of the Health

         Conditions, a list of what the Overseeing Program Physician conten ds are clinical

         signs and symptoms of the Health Conditions, the Consultations and Program

         Services available for the Health Conditions, and the laboratory reference range, if

         any, associated with each Program Service.             Neither the preparation nor

         dissemination of Physician Training Materials shall be construed as the Settling

         Defendants’ agreement with or endorsement of the content thereof, including but

         not limited to the scientific basis for offering any Consultations or Program




                                            6
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 59 of 140




          Services, and the Physician Training Materials shall contain an express disclaimer

          to such effect.

      15. “Program Physician” shall be a third-party licensed medical doctor within 50 miles

          of the Village of Hoosick Falls or Town of Hoosick, New York who has been

          approved by the Overseeing Program Physician and Medical Monitoring

          Administrator to provide Consultations and to provide or prescribe Program

          Services to Medical Monitoring Settlement Class Members, and who agrees to do

          so at the request of the Medical Monitoring Administrator. No Program Physician

          shall be a Medical Monitoring Settlement Class Member or have a pending claim

          for medical monitoring or personal injury against any Settling Defendant.

      16. “Program Services” means the services listed in section (e)(6)(i)-(ix) below.

      17. “Protected Health Information” shall be defined consistent with 45 C.F.R § 160.103

          as individually identifiable health information that is transmitted by electronic

          media; maintained in electronic media; or transmitted or maintained in any other

          form or medium.

b) Scope of the Program

      1. The Medical Monitoring Program shall consist solely of the approved

          Consultations for the Health Conditions with Medical Monitoring Settlement Class

          Members, and related administrative activities, as described herein. The Medical

          Monitoring Program shall not include the treatment of any Health Condition or any

          other medical condition.




                                           7
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 60 of 140




      2. Only Medical Monitoring Settlement Class Members who have demonstrated their

         eligibility as determined by the General Administrator in accordance with Section

         3(b)(v) of the Agreement may participate in the Medical Monitoring Program.

      3. The Consultations described herein shall be administered by or under the

         supervision of a Program Physician or Non-Program Physician. Where Program

         Services are deemed appropriate for a Participant by a Program Physician or Non-

         Program Physician and are agreed to by a Participant, that Program Physician or

         Non-Program Physician shall cause such Program Services to be performed. Such

         Consultations are intended to establish a physician/patient relationship and may

         include a physical examination of the patient at the discretion of the physician.

c) Program Administration

      1. Class Counsel has selected Edgar C. Gentle, III, Esq. as the Medical Monitoring

         Administrator until such time as he becomes unwilling or unable to continue to

         serve in that role. Class Counsel, in consultation with Settling Defendants, may

         substitute a different administrator as Medical Monitoring Administrator, subject

         to approval by the Court if the Court has previously approved the Settlement

         preliminarily or finally. In the absence of agreement, either Class Counsel or any

         Settling Defendant may move the Court to substitute a different administrator as

         Medical Monitoring Administrator upon a showing that the responsibilities of the

         Administrator have not been adequately executed by the incumbent.

      2. The Medical Monitoring Administrator shall oversee enrollment in the Medical

         Monitoring Program for Medical Monitoring Settlement Class Members who the




                                          8
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 61 of 140




         General Administrator determines to be eligible in accordance with Section (b)(2)

         above and Section 3(b)(v) of the Agreement.

      3. Before being approved to participate in the Program, all Program Physicians, Non-

         Program Physicians, and laboratories shall be required to sign an agreement

         warranting that all services rendered as part of the Medical Monitoring Program

         shall be billed to the Medical Monitoring Administrator only and will not be billed

         to Medicare, Medicaid or any private health insurer. In the event the Medical

         Monitoring Administrator becomes aware of an inadvertent or erroneously

         submitted billing to Medicare, Medicaid, or other private health insurer, the

         Medical Monitoring Administrator shall take all necessary and reasonable steps to

         insure that said bill is withdrawn from submission to Medicare, Medicaid or other

         private insurer. All Program Participants shall waive any and all claims against

         Released Parties for any Private Cause of Action, as that term is defined under 42

         U.S.C §1395y(b)(3)(A) of the Medicare Secondary Payer Act, 42 U.S.C §1395y(b).

      4. The Medical Monitoring Administrator shall prepare a Medical Monitoring

         Program budget and financially administer the Medical Monitoring Program.

      5. The Medical Monitoring Administrator shall review, approve, and pay Program

         expenses using sound accounting internal controls.

      6. The Medical Monitoring Administrator shall produce an Annual Financial

         Disbursement Report once each calendar year, which shall be available, upon

         request, to Class Counsel, counsel for the Settling Defendants, and the Court. The

         Annual Financial Disbursement Report shall be treated as confidential and not for

         public disclosure.


                                          9
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 62 of 140




      7. The Medical Monitoring Administrator, pursuant to Section (f), shall facilitate the

          compilation of information or data required by Section (f)\, while safeguarding

          Participant confidentiality, for limited use as described in Section (f).

d) Medical Service Providers

      1. The Medical Monitoring Administrator shall contract with the Overseeing Program

          Physician to provide the services set forth above und er the limitations set forth

          above.

      2. For any Medical Monitoring Settlement Class Member who resides within 50 miles

          of a Program Physician, as determined by the Medical Monitoring Administrator,

          Consultations shall be performed by a Program Physician. For any Medical

          Monitoring Settlement Class Member who resides more than 50 miles from a

          Program Physician, as determined by the Medical Monitoring Administrator,

          Consultations may be performed by an approved Non-Program Physician. Such

          approval must occur before Consultations are provided.

      3. The Medical Monitoring Administrator with the assistance of the Overseeing

          Physician shall identify and approve up to five (5) Program Physicians. The

          Medical Monitoring Administrator shall negotiate and execute contracts or

          memoranda of understanding with the Program Physicians to provide Consultations

          to Participants and to seek disbursements for Consultations from the Medical

          Monitoring Program.

      4. The Medical Monitoring Administrator will negotiate and execute contracts or

          memoranda of understanding with Non-Program Physicians, as necessary, to

          provide Consultations to Participants who reside more than 50 miles from a


                                           10
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 63 of 140




          Program Physician and to seek disbursements for Consultations from the Medical

          Monitoring Program.

      5. The Medical Monitoring Administrator, at his discretion, may negotiate contracts

          with medical laboratories for approved Program Services requiring laboratory

          testing conducted under this Medical Monitoring Program for purposes of reducing

          costs to the Program.

e) Consultations under the Medical Monitoring Program

      1. Consultations under the Medical Monitoring Program shall consist solely of the

          Initial Informational Survey, Annual Informational Surveys, the Initial Screening

          Consultation, and Annual Surveillance Consultations as described herein.

      2. Informational Surveys.

              i. At the time a Medical Monitoring Settlement Class Member makes an

                 appointment with a Program Physician or Non-Program Physician for an

                 Initial Screening Consultation as set forth in Section (e)(3) below, the

                 Medical Monitoring Settlement Class Member shall be directed by the

                 Program Physician or Non-Program Physician to complete the Initial

                 Informational Survey prior to the Initial Screening Consultation.

             ii. At the time a Medical Monitoring Settlement Class Member who has

                 received an Initial Screening Consultation makes an appointment for an

                 Annual Surveillance Consultation after year one of the Program, the

                 Medical Monitoring Settlement Class Member shall be directed to complete

                 the Annual Informational Survey prior to the Annual Surveillance

                 Consultation.


                                         11
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 64 of 140




      3. Initial Screening Consultation.

             i. At commencement of the Medical Monitoring Program as defined in

                Section 4(c)(ii) of the Agreement, each Medical Monitoring Settlement

                Class Member determined to be eligible under Section 3(b)(v) of the

                Agreement will have the opportunity to schedule an appointment for an

                Initial Screening Consultation with a Program Physician or Non-Program

                Physician.

             ii. The Initial Screening Consultation of a Participant shall be performed by a

                Program Physician or Non-Program Physician and shall consist of a

                discussion of the Initial Informational Survey and where appropriate, as

                determined by the Program Physician or Non-Program Physician based on

                the Participant’s responses to the Initial Informational Survey and/or

                physical examination, the provision of Program Services as set forth in

                Section (f) below or referral to see another physician of the Participant’s

                choosing outside the Medical Monitoring Program.

      4. Annual Surveillance Consultation:

             i. In each calendar year after the first year of the Medical Monitoring Program,

                each Participant who has received an Initial Screening Consultation will

                have the opportunity to schedule an appointment for an Annual Surveillance

                Consultation, with a Program Physician or Non-Program Physician.

             ii. The Annual Surveillance Consultation of a Participant shall be performed

                by a Program Physician or Non-Program Physician and shall consist of a

                discussion of the Annual Informational Survey and where appropriate, as


                                           12
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 65 of 140




                determined by the Program Physician or Non-Program Physician based on

                the Participant’s responses to the Annual Informational Survey and/or

                physical examination, the provision of Program Services as set forth in

                Section (f) below or referral to see another physician of the Participant’s

                choosing outside the Medical Monitoring Program.

      5. Follow-Up Notification/Consultation:

             i. Following a Participant’s Initial Screening Consultation and any Annual

                Surveillance Consultations, the Program Physician or Non -Program

                Physician shall notify the respective Participant of the results of the

                Consultation.

            ii. Based on the results of the Consultation, pursuant to Sections (e)(3)(ii) and

                (e)(4)(ii), the Program Physician or Non-Program Physician shall determine

                whether Program Services shall be provided or a referral provided to see

                another physician of the Participant’s choosing for additional testing or

                treatment outside the Medical Monitoring Program.

      6. Program Services. At the time of an Initial Screening Consultation or Annual

         Surveillance Consultation, or as follow up to such Consultations in accordance with

         Section (e)(5) above, Participants may receive Program Services, which shall

         consist solely of the following:

             i. For PFOA blood level, blood serum test for PFOA level once every other

                calendar year;

            ii. For thyroid disease, thyroid stimulating hormone blood test once annually;




                                            13
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 66 of 140




            iii. For ulcerative colitis, consultation with Program Physician or Non -Program

                Physician once annually;

            iv. For kidney cancer, urinalysis once annually;

             v. For testicular cancer, scrotal examination once annually for male

                Participants;

            vi. For elevated uric acid levels, uric acid and creatinine blood test once

                annually;

           vii. For hyperlipidemia, fasting total and LDL cholesterol blood test once

                annually;

           viii. For abnormal liver function, ALT, AST, GGT and bilirubin blood test once

                annually; and

            ix. For pregnant Participants, consultation with Program Physician or Non -

                Program Physician regarding hypertensive disorders during pregnancy and

                breastfeeding, once per pregnancy.

      7. Limitations.

             i. Medical Monitoring Settlement Class Members may receive no services

                under the Medical Monitoring Program after the earlier of (a) the Medical

                Monitoring Allocation being expended or (b) the ten (10) year anniversary

                of the Effective Date.

            ii. Where a Medical Monitoring Settlement Class Member has received a

                diagnosis or treatment for any Health Condition prior to a Consultation, that

                Medical Monitoring Settlement Class Member shall not be prescribed or

                receive Program Services for that Health Condition under the Medical


                                         14
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 67 of 140




                  Monitoring Program, nor shall such Program Services be approved for

                  disbursement under the Medical Monitoring Program, except that if it is

                  determined by a treating physician that such Health Condition has resolved

                  and requires no further follow up, the Medical Monitoring Settlement Class

                  Member will once again be permitted to receive Program Services for such

                  Health Condition under the Program if the Program Physician or Non -

                  Program Physician determines such testing and/or services are warranted.

             iii. Disbursements from the Medical Monitoring Program shall not be made to

                  pay costs arising from (A) examinations and laboratory testing other than

                  those enumerated in Section (e)(2)-(6); (B) imaging; (C) treatment; or (D)

                  any services performed by, or under the supervision of, a physician other

                  than a Program Physician or Non-Program Physician.

f) Confidentiality, Collection, Retention, and Use of Participant Information

       1. The selection, role, and experience of, and/or any oral or written statements made

           by the Medical Monitoring Administrator, an Overseeing Program Physician, a

           Program Physician, or a Non-Program Physician in this Program or in any other

           connection or capacity therewith shall not be offered as evidence or otherwise

           utilized to support any contention, including but not limited to, as to his or her

           qualifications to fulfill this role or the alleged appropriateness of medical screening

           or surveillance due to PFOA exposure in any litigation or other proceeding, other

           than to enforce the Agreement. Nor shall any data or information received by any

           of the foregoing be used in any testimony before courts or administrative agencies

           or otherwise made public, subject to the terms of section (f)(4)(a)-(c) and (f)(5)


                                             15
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 68 of 140




         below. As a condition of accepting his or her appointments, each of the foregoing

         individuals shall agree to be bound by this term and all other terms herein that are

         applicable to him or her. Such obligations shall survive the duration of their work

         under and responsibilities to the Program.

      2. All information relating to a Medical Monitoring Settlement Class Member that is

         disclosed or obtained by the Overseeing Program Physician, the Program

         Physicians, any Non-Program Physicians, the Medical Monitoring Administrator,

         or any other authorized entity as part of the Medical Monitoring Program shall be

         deemed confidential and shall be treated as Protected Health Information subject to

         the Health Insurance Portability and Accountability Act of 1996 (“HIPAA”) and

         other applicable privacy laws.

      3. Program Physicians and Non-Program Physicians shall retain all medical records

         of any Participants received or prepared in connection with an Initial Screening

         Consultation, an Initial Informational Survey, an Annual Surveillance

         Consultation, an Annual Informational Survey, or Program Services in compliance

         with the recordkeeping practices and state and federal laws applicable to each

         Program Physician or Non-Program Physician.

      4. No reports, health information, or health data related to the Medical Monitoring

         Program shall be distributed or disclosed to anyone by the Medical Monitoring

         Program, the Medical Monitoring Administrator, the Overseeing Program

         Physician, any Program Physician, or any Non-Program Physician, except: (a)

         Protected Health Information with respect to a particular Participant may be

         disclosed to that Participant or to his or her authorized medical providers upon


                                          16
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 69 of 140




         receipt of appropriate and valid authorization; (b) that the Medical Monitoring

         Administrator shall facilitate the collection of data that will be disclosed annually

         to Participants in the Annual Participant Report, as set forth in section (f)(5) below,

         or that will be contained in the Annual Financial Disbursement Report, as set forth

         in section (c)(6) above; or (c) as otherwise required by law. For purposes of this

         Appendix A, health information and health data includes, but is not limited to,

         Participants’ names and addresses, PFOA blood levels, demographic information,

         Informational Survey responses, personal or family medical history, information

         provided or created during or further to Consultations, Program Services and the

         results thereof, recommended testing, test results, and past, current, or

         recommended treatment information.

      5. In addition to each Participant’s right to receive his or her specific health data and

         information, the Medical Monitoring Administrator shall prepare an Annual

         Participant Report once each calendar year, which may be provided only to

         Participants and, at one or more Settling Defendants’ request, to state or federal

         governmental authorities with regulatory oversight responsibility for PFAS

         remediation on the geographic area of the Property Settlement Class.

      6. After the Medical Monitoring Program has terminated and any remainder of the

         Medical Monitoring Allocation has been disbursed in accordance with Section 4(c)

         of the Agreement, the Medical Monitoring Administrator shall arrange for all

         databases and/or data repositories created or used as part of the Medical Monitoring

         Program for the collection or organization of information relating to Participants to

         be destroyed, and shall certify to the Parties in writing that such databases and/or


                                           17
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 70 of 140




         data repositories have been destroyed upon a request to so certify. This provision

         will not require the Medical Monitoring Administrator to destroy any records that

         are otherwise required to be retained under state or federal law.

      7. The limitations described in Section (f) are not intended to prevent the Medical

         Monitoring Administrator or Class Counsel from providing Medical Monitoring

         Settlement Class Members with information regarding enrollment and participation

         in the Medical Monitoring Program or the consultations and Program Services

         available thereunder.

g) Miscellaneous

      1. Nothing in the Agreement or in this Appendix A shall be construed as Settling

         Defendants’ agreement with or endorsement of any oral or written statements,

         including but not limited to as to any purported health or environmental risks

         associated with PFOA or the appropriateness of any medical screening,

         surveillance, or treatment therefor, (i) made by the Medical Monitoring

         Administrator, the Overseeing Program Physician, a Program Physician, a Non-

         Program Physician, or the Medical Monitoring Program itself , or (ii) otherwise

         provided to Participants.




                                          18
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 71 of 140




                                       APPENDIX B

                EXHIBITS TO CLASS SETTLEMENT AGREEMENT


Exhibit A:   Claim Form with associated Declarations

Exhibit B:   Notice Form

Exhibit C:   Proposed Preliminary Approval Order

Exhibit D:   Qualifications of KCC

Exhibit E:   Qualifications of Edgar C. Gentle, III, Esq.

Exhibit F:   Declaration of Carla A. Peak in Support of Settlement Notice Program
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 72 of 140




               EXHIBIT A
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 73 of 140




         SETTLEMENT CLAIM FORM AND RELEASE
Baker v. Saint-Gobain Performance Plastics Corp. et al., United States District
Court for the Northern District of New York, Case No. 16-cv-917 (LEK/DJS)

  INSTRUCTIONS FOR SUBMITTING A SETTLEMENT CLAIM FORM

There has been a settlement of the above-referenced Action between and among Plaintiffs and the
Settling Defendants (Saint-Gobain Performance Plastics Corporation, Honeywell International
Inc., and the 3M Company). If you are a member (or representative) of one or more of the
Settlement Classes (defined below), you may be eligible for a payment from the Net Settlement
Fund and/or to participate in the Medical Monitoring Program if you comply with the instructions
in this Settlement Claim Form and Release (“Claim Form”) and submit it in a timely manner.
Details regarding the Medical Monitoring Program, including the services offered as part of the
program, can be found in Appendix A to the Class Settlement Agreement, a copy of which is
available at www.hoosickfallspfoasettlement.com, or upon request to the General Administrator
at the contact information below. Payments from the Net Settlement Fund will be made only to
eligible Claimants and in accordance with and pursuant to a plan of distribution approved by the
Court.

Your participation in this Settlement may offer the best, and possibly only, chance for you to
receive a monetary recovery and/or medical monitoring as against the Settling Defendants in this
Action. Submission of this Claim Form, however, does not assure that you will share in the Net
Settlement Fund and/or be deemed eligible to participate in the Medical Monitoring Program.

Please review the following instructions before proceeding:

YOUR COMPLETED SETTLEMENT CLAIM FORM AND SUPPORTING
DOCUMENTATION MUST BE SUBMITTED ELECTRONICALLY AND/OR
POSTMARKED BEFORE _________________________, 2022 [180 DAYS AFTER ENTRY
OF PRELIMINARY APPROVAL ORDER].

ELIGIBILITY:
You are a Settlement Class Member (or you are a parent or legal guardian of a minor less than 18
years of age who is a Class Member, or you are the legal representative appointed to represent (i)
the Estate of a deceased Class Member, or (ii) an incompetent Class Member) in one or more
Settlement Classes and you are eligible to submit this Settlement Claim Form only if you (or the
minor, deceased or incompetent person you represent) fall within one or more of the following
three groups:

PROPERTY SETTLEMENT CLASS:
   1) Municipal Water Property Settlement Class: You owned a property used for residential
      purposes in the Village of Hoosick Falls that obtained its drinking water from the Village


                                                1
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 74 of 140




       Municipal Water System, and purchased that property on or before December 16, 2015 and
       owned that property on December 16, 2015; OR

   2) Private Well Water Property Settlement Class: You owned a property used for residential
      purposes in the Village of Hoosick Falls or Town of Hoosick that obtained its drinking
      water from a privately owned well in which PFOA was detected, and you owned that
      property at the time PFOA in the property’s well was discovered through a water test on
      or after December 16, 2015.
NUISANCE SETTLEMENT CLASS:
   3) You owned a property used for residential purposes in the Village of Hoosick Falls or the
      Town of Hoosick that obtained its drinking water from a privately owned well in which
      PFOA was detected, and you owned and resided in that residence at the time PFOA in
      the property’s well was discovered through a water test on or after December 16, 2015, and
      a point-of-entry treatment (POET) system was installed to filter water from the well; OR

   4) You rented a property used for residential purposes in the Village of Hoosick Falls or the
      Town of Hoosick that obtained its drinking water from a privately owned well in which
      PFOA was detected, and you rented and resided in that residence at the time PFOA in
      the property’s well was discovered through a water test on or after December 16, 2015, and
      a point-of-entry treatment (POET) system was installed to filter water from the well.
MEDICAL MONITORING SETTLEMENT CLASS:
   5) For at least six months between 1996 and 2016, you lived at a residence(s) in the Village
      of Hoosick Falls or the Town of Hoosick, where you ingested water that was supplied by
      either the Village Municipal Water System or from a privately owned well in which PFOA
      has been detected, and your blood serum was tested, which showed PFOA in your blood
      above 1.86 µg/L (parts per billion); OR

   6) You are the parent or guardian of a child born to a female who meets the criteria in (5) and
      the child’s blood serum was tested after birth, which showed PFOA in the child’s blood
      above 1.86 µg/L (parts per billion).
If you are eligible to do so, you may submit a Claim to receive benefits as a member of more than
one Settlement Class. Each Settlement Class Member must submit this Claim Form. You can only
submit Claim Forms for yourself and another person if you are a parent or legal guardian of a
minor or legal representative of a deceased or incompetent person who is also a Settlement Class
Member. In such case, you must submit a Claim Form for yourself and a separate Claim Form
for the minor, deceased person, or incompetent person. If you owned more than one property that
would qualify you for the Property Settlement Class, you must submit a separate Claim Form for
each property.

Capitalized terms not defined in this Claim Form have the same meaning as set forth in the Class
Settlement Agreement, a copy of which is available at www.hoosickfallspfoasettlement.com.




                                                2
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 75 of 140




ADDITIONAL INFORMATION:

   1) You may obtain additional information about your submission of a Claim or about this
      Settlement    at      www.hoosickfallspfoasettlement.com      or     by      calling
      ____________________.

   2) You must review, sign and date Section V below.

   3) Your completed Settlement Claim Form and supporting documentation must be submitted
      electronically and/or postmarked before _________________________, 2022 [180 days
      after entry of Preliminary Approval Order]. You may submit your Settlement Claim
      Form and supporting documentation, as indicated below:

            a. Electronically at: www.hoosickfallspfoasettlement.com. You are encouraged to
               submit your claim online for easy verification and processing.

            b. By mail to:

               General Administrator
               [Address]
               [City, State, Zip Code]

            c. By email to: [General Administrator’s email address].



                     SECTION I: Claimant’s Information

Last Name                                  First Name                        Middle Initial

_______________________________            ____________________________      ____________

Your Current Address (Number/Street/P.O. Box No.):

______________________________________________________________________________

City:                                                   State:               Zip Code

_____________________________________________           _______________      ____________

Telephone Number:                          Email Address:

_______________________________            __________________________________________




                                              3
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 76 of 140




Are you filing this Claim on your own behalf? (Yes/No) _________________________________


If No, provide the following information about the person on whose behalf you are completing
this Form:

Last Name                                    First Name                             Middle Initial

_______________________________              ____________________________           ____________


Current Address (if person is living):


______________________________________________________________________________

City:                                                        State:                 Zip Code


_____________________________________________                _______________        ____________

Telephone Number:                            Email Address:


_______________________________              __________________________________________


Is this person: A Minor / Deceased / Incompetent? _____________________________________


Are you the parent or legal guardian of this person? (Yes/No) ____________________________


If you are a legally appointed representative of this person, provide the following information:

Nature of Legal Representation (Estate Representative/Guardian/Conservator):

_________________________________________________________

Court that appointed you legal representative and date of appointment:

_______________________________________________

Submit with this Claim Form a copy of documentation from the Court reflecting your
appointment.




                                                 4
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 77 of 140




If you are filing this Claim on behalf of yourself, or as a legal representative of a minor, deceased
person, or incompetent person who is/was a Settlement Class Member in the Property Settlement
Class, Nuisance Settlement Class, or Medical Monitoring Settlement Class, please complete
Section II.




                                                 5
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 78 of 140




    SECTION II: Information on Class Member and Claims

To the best of your knowledge and belief, to which of the following Settlement Classes do you or
the person you are representing belong? (Please refer to the Instructions on pages 1-2 of this Claim
Form for a description of the Settlement Classes.)

Check any that apply:

1. _________ Property Settlement Class (if selecting this class, also check (a) or (b) below)

               a. ___________ Municipal Water Property Settlement Class

               b. ___________ Private Well Water Property Settlement Class

2. _________ Nuisance Settlement Class

3. _________ Medical Monitoring Settlement Class

Based on what you checked above, please complete the appropriate section(s) below:

PROPERTY SETTLEMENT CLASS

Address of the property for which you are seeking benefits as a member of the Municipal Water
Property Settlement Class or the Private Well Water Property Settlement Class, as described on
pages 1-2 of this Claim Form (Number/Street/City/Zip Code):


______________________________________________________________________________

As of December 16, 2015, did this property obtain drinking water from the Village Municipal
Water System?

______________________________________________________________________________

       If the property obtained drinking water from the Village Municipal Water System as of
       December 16, 2015, submit with this Claim Form (1) proof of your ownership of the
       property as of December 16, 2015 and (2) proof of its water source. Proof of ownership
       can include a combination of the following: (a) a copy of the deed to the property; (b) a
       copy of a tax bill demonstrating ownership of the property as of December 16, 2015; and/or
       (c) any other form of proof deemed appropriate by the General Administrator. Proof of
       water source can include a water bill. Identify below what, if anything, you are submitting
       as proof of ownership and proof of your water source. (Note: If you do not have a document
       showing your ownership and/or water source, the General Administrator may still be able


                                                 6
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 79 of 140




       to verify your ownership and/or water source and/or may contact you for additional
       information.)

       ________________________________________________________________________

Did this property obtain drinking water from a privately owned well that was tested for PFOA on
or after December 16, 2015?


______________________________________________________________________________

       If the property obtained drinking water from a privately owned well, submit with this
       Claim Form (1) proof of your ownership of the property as of the date that a water
       test detected PFOA in the property’s private well on or after December 16, 2015, and
       (2) a copy of PFOA well testing results obtained on or after December 16, 2015. Proof
       of ownership can include combination of the following: (a) a copy of the deed to the
       property; (b) a copy of a tax bill demonstrating ownership of the property as of the date
       when PFOA was discovered in the private well through a water test, and/or (c) any other
       form of proof deemed appropriate by the General Administrator. Identify below what, if
       anything, you are submitting as proof of ownership and proof of your well testing results.
       (Note: If you do not have a document showing your ownership and/or well testing results,
       the General Administrator may still be able to verify your ownership and/or well testing
       results and/or may contact you for additional information.).


       ________________________________________________________________________

If you co-owned this property with another individual, please state their name and relation to you
or the person you represent:


______________________________________________________________________________




                                                7
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 80 of 140




NUISANCE SETTLEMENT CLASS

Address of the property for which you are seeking benefits as a member of the Nuisance Settlement
Class, as described on page 2 of this Claim Form (Number/Street/City/Zip Code):


______________________________________________________________________________

Submit with this Claim Form (1) proof of ownership of or leasehold interest in the property
as of the date of that detectable levels of PFOA were discovered through a water test on or
after December 16, 2015 and (2) a copy of well testing results if you have them. Proof of
ownership or leasehold interest may include a combination of the following: (a) a copy of the deed
to the property; (b) a copy of a tax bill demonstrating ownership at the time that detectable levels
of PFOA were discovered through a water test on or after December 16, 2015; (c) a copy of the
lease for such property; (d) a sworn declaration confirming a leasehold interest at the time that
detectable levels of PFOA were discovered through a water test on or after December 16, 2015;
and/or 5) any other form of proof deemed appropriate by the General Administrator. (Note: If you
do not have a document showing your ownership or leasehold interest and/or your well testing
results, the General Administrator may still be able to verify your ownership or leasehold interest
and/or well testing results and/or may contact you for additional information.).

Submit with this Claim Form proof of the installment of a POET system on the property’s
private well (such as documentation from the State of New York showing installation or
testing of such POET) if you have it.

You must also complete either a (i) Declaration of Residency for Nuisance Settlement Class
Eligibility or (ii) Declaration of Residency for Nuisance Settlement Class Eligibility On
Behalf Of Representative Of Estate Or Incompetent Person, stating that you or the person
you represent resided at the property at the time when PFOA was detected in the property’s
private well. The Declarations of Residency for Nuisance Settlement Class Eligibility are
attached to this Claim Form.




                                                 8
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 81 of 140




MEDICAL MONITORING SETTLEMENT CLASS

To qualify as a member of this class, you must meet the criteria for the Medical Monitoring
Settlement Class described on page 2 of this Claim Form.

Identify all residence(s) where you or the person you represent lived for at least six months (can
be a combination of residences to reach six months cumulatively) between 1996 and 2016, the
timeframe that you or the person you represent lived there (months and years), and the water source
at that residence (municipal or private well). If the person you represent is a minor who was
exposed to PFOA in utero, identify all residences where that minor’s mother lived for at least six
months between 1996 and 2016, the timeframe that she lived there (months and years), and the
water source at that residence (municipal or private well).

________________________              ________________ ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)

_______________________               ________________ ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)

_______________________               ________________ ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)

_______________________               ________________ ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)

_______________________               ________________ ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)

Has your blood or the blood of the person you represent been tested for the presence of PFOA?

___________________________ (Yes/No)

What was the PFOA blood serum level? _____________________

If you are representing a minor who was exposed to PFOA in utero, has the blood of that minor’s
mother been tested for the presence of PFOA?

___________________________ (Yes/No)

       What was the minor’s mother’s PFOA blood serum level?

       _____________________


You must submit a copy of your blood test or the blood test of the person you represent along
with this Claim Form. If you do not submit a copy of your blood test, your Claim will be



                                                9
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 82 of 140




deficient and you may not be eligible to participate in the Medical Monitoring Program. If
you do not have a copy of a blood test, but your blood was tested by the NYS Department of
Health (or another physician), please contact the General Administrator at
___________________________ for information on how to obtain a copy of your blood test
results.

If your residence(s) obtained drinking water from a privately owned well, submit with this
Claim Form a copy of PFOA well testing results. (Note: If you do not have a document showing
your well testing results, the General Administrator may still be able to verify your well testing
results and/or may contact you for additional information.)

If your residence(s) obtained drinking water from the Village Municipal Water System,
submit with this Claim Form proof of its water source. Proof of water source can include a
water bill. (Note: If you do not have a document showing your water source, the General
Administrator may still be able to verify your water source and/or may contact you for additional
information.)

You must also complete one of the following stating that you or the person you represent
ingested municipal or private well water at the residence(s) listed above for a period of at
least six months between 1996 and 2016: (i) Declaration of Residency for Medical Monitoring
Class Eligibility, (ii) Declaration of Residency for Medical Monitoring Class Eligibility On
Behalf of Person Less than 18 Years of Age, or (iii) Declaration of Residency for Medical
Monitoring Class Eligibility On Behalf of Legal Guardian Or Representative Of Person Less
Than 18 Years Of Age Or Person Declared Incompetent. The Declarations of Residency for
Medical Monitoring Class Eligibility are attached at the end of this Claim Form.




                 SECTION IV: Release and Warranties

The Claimant (or Claimant’s Representative) hereby acknowledges that he, she or it has read and
agrees to by bound by the terms of the Release (set forth below), the definition of Released Claims,
the Exclusive Remedy, Covenant Not to Sue, Waiver of Statutory Rights, and all other provisions
of the Settlement Agreement, including in Section 6 (Dismissal, Release of Claims, and Related
Provisions).

The Claimant (or Claimant’s Representative) hereby warrants and represents that he, she or it is,
to the best of their belief, a Settlement Class Member (or a parent or legal guardian of an minor
less than 18 years of age who is a Class Member, or the legal representative appointed to represent
(i) the Estate of a deceased Class Member, or (ii) an incompetent Class Member) in one or more
Settlement Classes as defined in the Settlement Agreement and Notices, and that the Claimant
believes that he, she or it is eligible to receive a distribution from the Net Settlement Fund under
the terms and conditions of the Settlement Agreement and/or to participate in the Medical
Monitoring Program.


                                                10
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 83 of 140




The Claimant (or Claimant’s Representative) agrees to the release and covenant not to sue in
conformity with the Settlement Agreement in order to, in an individual or representative capacity,
receive the Claimant’s share of the Net Settlement Fund and/or to participate in the Medical
Monitoring Program.

The Claimant (or Claimant’s Representative) agrees that the submission of this Claim Form
constitutes a full release of and covenant not to sue on the Released Claims against the Released
Parties as set forth in the Settlement Agreement (and below).

The release shall be of no force or effect unless and until the Court grants Final Approval of
the Settlement and the Settlement becomes effective on the Effective Date.

The Claimant (or Claimant’s Representative) hereby warrants and represents that he, she or it has
not yet assigned or transferred or purported to assign or transfer, voluntarily or involuntarily, any
right of action or claim released pursuant to this release or any other part or portion thereof.

             Release. Upon the Effective Date, the Releasing Parties shall have expressly,
             intentionally, voluntarily, fully, finally, irrevocably, and forever released,
             relinquished, waived, compromised, settled, and discharged the Released Parties
             from each and every past, present, and future claim and cause of action, including
             without limitation causes of action and/or relief created or enacted in the future—
             whether known or unknown, whether direct or indirect, individual or class, in
             constitutional, federal, state, local, statutory, civil, or common law or in equity, or
             based on any other law, rule, regulation, ordinance, directive, contract, or the law of
             any foreign jurisdiction, whether fixed or contingent, known or unknown, liquidated
             or unliquidated, suspected or unsuspected, asserted or unasserted, matured or
             unmatured, or for compensatory damages, consequential damages, incidental
             damages, statutory damages, punitive, special, multiple, treble, or exemplary
             damages, nominal damages, disgorgement, restitution, indemnity, contribution,
             penalties, injunctive relief, declaratory relief, attorneys’ fees, court costs, or
             expenses—that were or could have been asserted in the Action or any other forum,
             arising out of or related to, either directly or indirectly or in whole or in part: (i) the
             subject matter of any allegations contained in the Second Amended Complaint, any
             allegations otherwise asserted in the Action, or the subject matter of any discovery
             obtained in the Action, (ii) the alleged presence of PFAS (including PFOA) in
             drinking water or the environment (including but not limited to in air, groundwater,
             surface water, municipal water, private well water, or soil) within the Village of
             Hoosick Falls or the Town of Hoosick, (iii) the sale, purchase, use, handling,
             transportation, release, discharge, migration, emission, spillage, or disposal of PFAS
             (including PFOA) to, at, or from a Facility in or near the Village of Hoosick Falls or
             the Town of Hoosick, including any such PFAS (including PFOA) present as a result
             of disposal at or discharge to, directly or indirectly, any landfill, sewage system, water
             treatment facility, or any other location in and around the Village of Hoosick Falls or
             Town of Hoosick, and/or resulting in any alleged exposure of any Settlement Class
             Member to PFAS (including PFOA) through drinking water, inhalation, dermal



                                                  11
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 84 of 140




             contact, or otherwise; (iv) for any type of relief with respect to the acquisition,
             installation, maintenance, operation, or presence of, including the cost or purported
             inconvenience or loss of enjoyment of, property associated with whole-house filters,
             point-of-entry (POET) filters, point-of-use filters, municipal water, private well
             water, bottled water, alternative water supplies, or remediation; (v) for property
             damage or property-value diminution, including without limitation stigma,
             purportedly attributable to the alleged presence of PFAS (including PFOA) in the
             Village Municipal Water System or any private well, or in the air, groundwater,
             surface water, municipal water, private well water, or soil in or around the Village of
             Hoosick Falls or the Town of Hoosick; and/or (vi) based on PFAS (including PFOA)
             in the blood or tissue of any Settlement Class Member (the “Released Claims”);
             provided, however, that the “Released Claims” do not include any individual claims
             of the Releasing Parties (a) for any damages (including for screenings, tests,
             examinations, and/or diagnostic procedures) related to past, present, or future
             manifested bodily injuries that have resulted in a medically diagnosed condition, or
             (b) to enforce the terms of this Agreement or the Final Approval Order. For purposes
             of this Agreement, “manifested bodily injuries that have resulted in a medically
             diagnosed condition” do not include the detection or accumulation of PFAS
             (including PFOA) in blood or other bodily tissue.

             Covenant Not To Sue: Each of the Releasing Parties shall forever refrain from
             instituting, maintaining, prosecuting, or continuing any suit, action, arbitration, or
             proceeding against any of the Released Parties with respect to the Released Claims.




     SECTION V: Claimant or Claimant’s Representative
                      Signature

I declare that the information provided in this Claim Form is true and accurate to the best of my
knowledge. I understand that the General Administrator may need to verify some of the
information that I submitted.



____________________________________                         ______________________________
Signature                                                    Date




                                                12
 Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 85 of 140




IF YOU ARE A MEMBER OF THE NUISANCE SETTLEMENT CLASS OR MEDICAL
MONITORING SETTLEMENT CLASS, OR IF YOU ARE SUBMITTING THIS CLAIM
 ON BEHALF OF A MINOR OR INCOMPETENT PERSON, YOU MUST COMPLETE
             ONE OR MORE DECLARATIONS THAT FOLLOW.

For additional information or assistance in completing this Claim Form, please contact the
     General Administrator at _____________________________________________




                                           13
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 86 of 140




                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF NEW YORK

 MICHELE BAKER; CHARLES CARR;
 ANGELA CORBETT; PAMELA FORREST;
 MICHAEL HICKEY, individually and as parent         Case No. 1:16-CV-00917-LEK-DJS
 and natural guardian of O.H., infant;
 KATHLEEN MAIN-LINGENER; KRISTIN
 MILLER, as parent and natural guardian of
 K.M., infant; JENNIFER PLOUFFE; SILVIA
 POTTER, individually and as parent and natural
 guardian of C.P, infant; and DANIEL
 SCHUTTIG, individually and on behalf of all
 others similarly situated,
                         Plaintiffs,

 v.

 SAINT-GOBAIN PERFORMANCE PLASTICS
 CORP., and HONEYWELL INTERNATIONAL
 INC. f/k/a ALLIED-SIGNAL INC. and/or
 ALLIEDSIGNAL LAMINATE SYSTEMS,
 INC., E.I. DUPONT DE NEMOURS AND
 COMPANY, INC., and 3M CO.,


                          Defendants.


        DECLARATION OF RESIDENCY FOR NUISANCE SETTLEMENT CLASS
                              ELIGIBILITY
         Pursuant to 28 U.S.C. § 1746, I, _____________________________________, declare

as follows:

      1. I am over eighteen years of age.

      2. In late 2015 and/or 2016 I had an owned or rented [circle which applies] property

         located at ______________________________, in the Village of Hoosick Falls and/or

         Town of Hoosick, New York.


                                                1
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 87 of 140




   3. This property obtained drinking water from a private well that was found to contain

       PFOA.

   4. I resided at this property at the time PFOA was discovered in the property’s private well.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on this: _______ day of ___________, 2021.

                                              ________________________
                                                      [Sign]

                                              _________________________

                                                      [Print name]




                                                  2
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 88 of 140




                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF NEW YORK

 MICHELE BAKER; CHARLES CARR;
 ANGELA CORBETT; PAMELA FORREST;
 MICHAEL HICKEY, individually and as parent        Case No. 1:16-CV-00917-LEK-DJS
 and natural guardian of O.H., infant;
 KATHLEEN MAIN-LINGENER; KRISTIN
 MILLER, as parent and natural guardian of
 K.M., infant; JENNIFER PLOUFFE; SILVIA
 POTTER, individually and as parent and natural
 guardian of C.P, infant; and DANIEL
 SCHUTTIG, individually and on behalf of all
 others similarly situated,
                         Plaintiffs,

 v.

 SAINT-GOBAIN PERFORMANCE PLASTICS
 CORP., and HONEYWELL INTERNATIONAL
 INC. f/k/a ALLIED-SIGNAL INC. and/or
 ALLIEDSIGNAL LAMINATE SYSTEMS,
 INC., E.I. DUPONT DE NEMOURS AND
 COMPANY, INC., and 3M CO.,


                          Defendants.


        DECLARATION OF RESIDENCY FOR NUISANCE SETTLEMENT CLASS
               ELIGIBILITY ON BEHALF OF REPRESENTATIVE
                   OF ESTATE OR INCOMPETENT PERSON

        Pursuant to 28 U.S.C. § 1746, I, _____________________________________, declare
                                             [Name of person signing declaration]
as follows:

      1. I am over eighteen years of age.

      2. I am the legally appointed representative of _______________________, having been
                                               [Name of person/decedent you represent]
      appointed by the _______________________ Court in _____________________.
                         [Name of Court]                     [Date of appointment]

                                               1
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 89 of 140




   3. In late 2015 and/or 2016 _______________________________________________
                                   [name of person/decedent you represent]

   owned or rented [circle which applies] property located at

   ______________________________, in the Village of Hoosick Falls and/or Town of
   Hoosick, New York.
   [Property address with PFOA contaminated well]

   4. This property obtained drinking water from a private well that was found to contain

       PFOA.

   5. _____________________________ resided at this property at the time PFOA
      [Name of person/decedent you represent]

   was discovered in the property’s private well.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on this: _______ day of ___________, 2021.

                                              ________________________
                                                      [Sign]

                                              _________________________

                                                      [Print name]




                                                  2
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 90 of 140




                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF NEW YORK

 MICHELE BAKER; CHARLES CARR;
 ANGELA CORBETT; PAMELA FORREST;
 MICHAEL HICKEY, individually and as parent            Case No. 1:16-CV-00917-LEK-DJS
 and natural guardian of O.H., infant;
 KATHLEEN MAIN-LINGENER; KRISTIN
 MILLER, as parent and natural guardian of
 K.M., infant; JENNIFER PLOUFFE; SILVIA
 POTTER, individually and as parent and natural
 guardian of C.P, infant; and DANIEL
 SCHUTTIG, individually and on behalf of all
 others similarly situated,
                         Plaintiffs,

 v.

 SAINT-GOBAIN PERFORMANCE PLASTICS
 CORP., and HONEYWELL INTERNATIONAL
 INC. f/k/a ALLIED-SIGNAL INC. and/or
 ALLIEDSIGNAL LAMINATE SYSTEMS,
 INC., E.I. DUPONT DE NEMOURS AND
 COMPANY, INC., and 3M CO.,


                          Defendants.


         DECLARATION OF RESIDENCY FOR MEDICAL MONITORING CLASS
                               ELIGIBILITY
         Pursuant to 28 U.S.C. § 1746, I, _____________________________________, declare

as follows:

      1. I am over eighteen years of age.

      2. I resided and consumed municipal water or water from a private well in which PFOA was

         detected at the following residence(s) located in the Village of Hoosick Falls and/or the




                                                  1
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 91 of 140




       Town of Hoosick, New York on the date(s) listed below [dates on or after January 1,

       1996 and before 2017]:

   ________________________           ________________ ______________________________
   Property Address                   Dates (M/Y to M/Y) Water source (Municipal or well)

   _______________________            ________________ ______________________________
   Property Address                   Dates (M/Y to M/Y) Water source (Municipal or well)

   _______________________            ________________ ______________________________
   Property Address                   Dates (M/Y to M/Y) Water source (Municipal or well)

   _______________________            ________________ ______________________________
   Property Address                   Dates (M/Y to M/Y) Water source (Municipal or well)

   _______________________            ________________ ______________________________
   Property Address                   Dates (M/Y to M/Y) Water source (Municipal or well)




I declare under penalty of perjury that the foregoing is true and correct.

Executed on this: _______ day of ___________, 2021.

                                              ________________________
                                                      [Sign]

                                              _________________________

                                                      [Print name]




                                                  2
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 92 of 140




                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF NEW YORK

 MICHELE BAKER; CHARLES CARR;
 ANGELA CORBETT; PAMELA FORREST;
 MICHAEL HICKEY, individually and as parent        Case No. 1:16-CV-00917-LEK-DJS
 and natural guardian of O.H., infant;
 KATHLEEN MAIN-LINGENER; KRISTIN
 MILLER, as parent and natural guardian of
 K.M., infant; JENNIFER PLOUFFE; SILVIA
 POTTER, individually and as parent and natural
 guardian of C.P, infant; and DANIEL
 SCHUTTIG, individually and on behalf of all
 others similarly situated,
                         Plaintiffs,

 v.

 SAINT-GOBAIN PERFORMANCE PLASTICS
 CORP., and HONEYWELL INTERNATIONAL
 INC. f/k/a ALLIED-SIGNAL INC. and/or
 ALLIEDSIGNAL LAMINATE SYSTEMS,
 INC., E.I. DUPONT DE NEMOURS AND
 COMPANY, INC., and 3M CO.,


                          Defendants.


         DECLARATION OF RESIDENCY FOR MEDICAL MONITORING CLASS
                    ELIGIBILITY ON BEHALF OF PARENT
                   OF PERSON LESS THAN 18 YEARS OF AGE


         Pursuant to 28 U.S.C. § 1746, I, _____________________________________, declare

as follows:

      1. I am over eighteen years of age.

      2. I am the parent of __________________________, who is less than eighteen years of

         age.


                                               1
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 93 of 140




   3. My child or, if I am representing a child exposed to PFOA in utero, my child’s mother,

       resided and consumed municipal water or water from a private well in which PFOA was

       detected at the following residence(s) located at

       __________________________________ in the Village of Hoosick Falls and/or the

       Town of Hoosick, New York on the date(s) listed below [dates on or after January 1,

       1996 and before 2017]:

________________________              ________________         ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)
_______________________               ________________         ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)
_______________________               ________________         ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)
_______________________               ________________         ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)
_______________________               ________________         ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)



I declare under penalty of perjury that the foregoing is true and correct.

Executed on this: _______ day of ___________, 2021.

                                              ________________________
                                                      [Sign]

                                              _________________________

                                                      [Print name]




                                                  2
      Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 94 of 140




                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF NEW YORK

 MICHELE BAKER; CHARLES CARR;
 ANGELA CORBETT; PAMELA FORREST;
 MICHAEL HICKEY, individually and as parent       Case No. 1:16-CV-00917-LEK-DJS
 and natural guardian of O.H., infant;
 KATHLEEN MAIN-LINGENER; KRISTIN
 MILLER, as parent and natural guardian of
 K.M., infant; JENNIFER PLOUFFE; SILVIA
 POTTER, individually and as parent and natural
 guardian of C.P, infant; and DANIEL
 SCHUTTIG, individually and on behalf of all
 others similarly situated,
                         Plaintiffs,

 v.

 SAINT-GOBAIN PERFORMANCE PLASTICS
 CORP., and HONEYWELL INTERNATIONAL
 INC. f/k/a ALLIED-SIGNAL INC. and/or
 ALLIEDSIGNAL LAMINATE SYSTEMS,
 INC., E.I. DUPONT DE NEMOURS AND
 COMPANY, INC., and 3M CO.,


                          Defendants.


     DECLARATION OF RESIDENCY FOR MEDICAL MONITORING CLASS
  ELIGIBILITY ON BEHALF OF LEGAL GUARDIAN OR REPRESENTATIVE OF
PERSON LESS THAN 18 YEARS OF AGE OR PERSON DECLARED INCOMPETENT


         Pursuant to 28 U.S.C. § 1746, I, _____________________________________, declare

as follows:

      1. I am over eighteen years of age.




                                             1
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 95 of 140




   2. I am the legally appointed representative of __________________________, having been
                                            [Name of child or incompetent person]
   appointed by the _______________________ Court in _____________________.
                      [Name of Court]                     [Date of appointment]


   3. This person who I represent or, if I am representing a child exposed to PFOA in utero,

that child’s mother, resided and consumed municipal water or water from a private well in which

PFOA was detected at the following residence(s) in the Village of Hoosick Falls and/or the

Town of Hoosick, New York on the date(s) listed below [dates on or after January 1, 1996

and before 2017]:

________________________              ________________ ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)


_______________________               ________________ ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)


_______________________               ________________ ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)


_______________________               ________________ ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)


_______________________               ________________ ______________________________
Property Address                      Dates (M/Y to M/Y) Water source (Municipal or well)


I declare under penalty of perjury that the foregoing is true and correct.

Executed on this: _______ day of ___________, 2021.

                                              ________________________
                                                      [Sign]

                                              _________________________
                                                      [Print name]


                                                  2
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 96 of 140




               EXHIBIT B
                    Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 97 of 140
                                    UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF NEW YORK

         If you drank water supplied by the Village of Hoosick Falls Municipal Water
          System or from a private well in the Village of Hoosick Falls or the Town of
          Hoosick, or owned or rented property in the Village of Hoosick Falls or the
            Town of Hoosick, you could get benefits from a class action settlement.
                                     A federal court authorized this Notice. It is not a solicitation from a lawyer.
•   A Settlement has been reached with Saint-Gobain Performance Plastics Corporation (“Saint-Gobain”), Honeywell International Inc.
    (“Honeywell”), and the 3M Company (“3M”) (the “Settling Defendants”) in a class action lawsuit about the effects of
    perfluorooctanoic acid (PFOA) contamination in and around Hoosick Falls.
•   The Settlement includes:
         o     Individuals who for a period of at least six months between 1996 and 2016, lived at a residence(s) in the Village of Hoosick
               Falls or Town of Hoosick where they ingested water that was supplied by the Village Municipal Water System or from a
               private well in which PFOA has been detected, and underwent blood serum tests that detected a PFOA level in their blood
               above 1.86 µg/L (parts per billion); or any natural child who was born to a female who meets and/or met the above criteria at
               the time of the child’s birth and whose blood serum was tested after birth and detected a PFOA level above 1.86 µg/L
               (“Medical Monitoring Settlement Class Members”);
         o     Persons who are or were owners of Residential Property that was supplied with drinking water from the Village Municipal
               Water System, and who purchased that property on or before December 16, 2015 and owned that property as of December 16,
               2015 (“Municipal Water Property Settlement Class Members”);
         o     Persons who are or were owners or renters of Residential Property located in the Village of Hoosick Falls or the Town of
               Hoosick that was supplied with drinking water from a privately owned well in which PFOA was detected, had a point-of-entry
               treatment (POET) system installed to filter water from that well, and who either owned and occupied that property at the time
               PFOA in the property’s private well was discovered through a water test on or after December 16, 2015; or rented and occupied
               the property at the time PFOA in the property’s private well was discovered through a water test on or after December 16, 2015
               (“Nuisance Settlement Class Members”); and
         o     Persons who are or were owners of Residential Property located in the Village of Hoosick Falls or the Town of Hoosick that
               was supplied with drinking water from a private well in which PFOA was detected, and who owned that property at the time
               PFOA in the property’s private well was discovered through a water test on or after December 16, 2015 (“Private Well Water
               Property Settlement Class Members”).
•   Your legal rights are affected regardless of whether you act or don’t act. Read this notice carefully.

                                             YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

         SUBMIT A CLAIM FORM             This is the only way you can get a payment or other benefits from this Settlement.

                                         Do not get a payment or other settlement benefits. This is the only option that allows you to be part
     EXCLUDE YOURSELF FROM
                                         of any other lawsuit against the Released Parties, including the Settling Defendants, for the legal
        THE SETTLEMENT
                                         claims made in this lawsuit and released by the Settlement.

    OBJECT TO THE SETTLEMENT             Write to the Court with reasons why you do not agree with the Settlement.

            GO TO THE                    You may ask the Court for permission for you or your attorney to speak about your objection at the
     FINAL APPROVAL HEARING              Final Approval Hearing.

                DO NOTHING               You will not get a payment or other benefits from this Settlement and you will give up certain legal rights.

•   These rights and options—and the deadlines to exercise them—are explained in this Notice.
•   The Court overseeing this case still has to decide whether to approve the Settlement.
                                                                 BASIC INFORMATION

    1.       Why is this Notice being provided?



               QUESTIONS? CALL 1-___-___-____ TOLL-FREE OR VISIT WWW.HOOSICKFALLSPFOASETTLEMENT.COM
                                                                             1
             Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 98 of 140
The Court directed that this Notice be provided because you have a right to know about a proposed settlement that has been reached in
this class action lawsuit and about all of your options before the Court decides whether to grant final approval to the Settlement. This
Notice explains the lawsuit, the Settlement, your legal rights, what benefits are available, who is eligible for them, and how to get
them.

The Court in charge of this case is the United States District Court for the Northern District of New York. The case is known as Baker
v. Saint-Gobain Performance Plastics Corporation, No. 1:16-cv-917, including Nos. 1:16-cv-220, 1:16-cv-292, 1:16-cv-394, and
1:16-cv-476 (the “Action”). U.S. District Court Judge Lawrence Kahn is presiding over the Action. The people who filed the lawsuit
are called Plaintiffs. The companies they sued, Saint-Gobain, Honeywell, 3M, and E.I. DuPont de Nemours and Company, are called
Defendants. This Settlement is between Plaintiffs and the Settling Defendants.

2.   What is this lawsuit about?

Plaintiffs claim that Saint-Gobain and Honeywell contaminated the aquifer beneath Hoosick Falls with perfluorooctanoic acid,
commonly referred to as PFOA, by releasing PFOA into the environment. As a result, people living in and around the Village of
Hoosick Falls and the Town of Hoosick allege that they unknowingly consumed drinking water containing PFOA and have
concentrations of PFOA in their blood that are higher than average. In addition, Plaintiffs allege that the presence of PFOA has
negatively impacted individuals’ ability to use and enjoy their properties, caused residents to fear the safety of their water supply, and
negatively impacted property values. Plaintiffs further allege that 3M sold PFOA and/or PFOA-containing products to Saint-Gobain
and Honeywell but failed to warn those companies of the dangers associated with PFOA and PFOA-containing products.
The Settling Defendants deny all of the claims made in the Action, and dispute all allegations of wrongdoing or liability against them.
PFOA is a man-made chemical historically used to manufacture products that were resistant to sticking, heat, water, stains, and grease.

3.   What is a class action?

In a class action, one or more people called representative Plaintiffs (in this case, Michele Baker, Charles Carr, Angela Corbett,
Pamela Forrest, Michael Hickey (individually and as parent and natural guardian of O.H., infant), Kathleen Main-Lingener, Kristin
Miller (also known as Kristin Harrington) (as parent and natural guardian of K.M., infant), Jennifer Plouffe, Silvia Potter (individually
and as parent and natural guardian of C.P., infant), and Daniel Schuttig) sue on behalf of people who have similar claims. Together, all
these people and the Persons that they represent are called Settlement Class Members. One Court resolves the issues for all Settlement
Class Members, except for those who exclude themselves from the Settlement Classes.

4.   Why is there a Settlement?

The Court did not decide in favor of the Plaintiffs or the Settling Defendants. Instead, the Plaintiffs and Settling Defendants agreed to
a settlement. This way, they avoid the cost and burden of a trial and eligible Settlement Class Members can get benefits and more
quickly. The class representative Plaintiffs and their attorneys (“Class Counsel”) think the Settlement is best for all Settlement Class
Members.
                                               WHO IS INCLUDED IN THE SETTLEMENT?

5.   How do I know if I am part of the Settlement?

You are part of the Settlement as a Settlement Class Member if you fit within one or more of the four Settlement Class definitions
below (unless you fall into one of the exclusions described in Section 6):
     1. Medical Monitoring Settlement Class: all individuals who, for a period of at least six months between 1996 and 2016, have
        (a) ingested water at their residence(s), which was supplied by the Village Municipal Water System or from a private well in
        the Village of Hoosick Falls or Town of Hoosick in which PFOA has been detected, and (b) underwent blood serum tests
        that detected a PFOA level in their blood above 1.86 µg/L; or any natural child (i) who was born to a female who meets
        and/or met the above criteria at the time of the child’s birth and (ii) whose blood serum was tested after birth and detected a
        PFOA level above 1.86 µg/L.
     2. Municipal Water Property Settlement Class: all Persons who are or were owners of Residential Property that was supplied
        with drinking water from the Village Municipal Water System, and who purchased that property on or before December 16,
        2015 and owned that property as of December 16, 2015. This group, together with the Private Well Water Property
        Settlement Class, is also referred to as the “Property Settlement Class.”
     3. Nuisance Settlement Class: all Persons who are or were owners or renters of Residential Property located in the Village of
        Hoosick Falls or the Town of Hoosick that was supplied with drinking water from a privately owned well in which PFOA
        was detected, had a point-of-entry treatment (POET) system installed to filter water from that well, and who either (i) owned
        and occupied that property at the time PFOA in the property’s private well was discovered through a water test on or after
        December 16, 2015; or (ii) rented and occupied the property at the time PFOA in the property’s private well was discovered
        through a water test on or after December 16, 2015.
       QUESTIONS? CALL 1-___-___-____ TOLL-FREE OR VISIT WWW.HOOSICKFALLSPFOASETTLEMENT.COM
                                                                    2
             Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 99 of 140
     4. Private Well Water Property Settlement Class: all Persons who are or were owners of Residential Property located in the
         Village of Hoosick Falls or the Town of Hoosick that was supplied with drinking water from a private well in which PFOA
         was detected, and who owned that property at the time PFOA in the property’s private well was discovered through a water
         test on or after December 16, 2015. This group, together with the Municipal Water Property Settlement Class, is also
         referred to as the “Property Settlement Class.”

6.   Are there exceptions to being included in the Settlement?

Yes. The Settlement does not include (i) anyone who timely and validly requests to be excluded from the Settlement (see Question 18)
(ii) anyone who previously filed a claim against any Settling Defendant alleging a PFOA-related injury or illness, including a spousal
derivative claim, or seeking medical monitoring or property damages, related to the presence of PFOA in the Village Municipal Water
System, in private wells in the Village of Hoosick Falls or Town of Hoosick, on or at their property, or in their blood, in a lawsuit
(other than this lawsuit) that has not been dismissed or does not have a request to dismiss pursuant to Fed. R. Civ. P. 41(a)(2) pending
as of 30 days prior to the Final Approval Hearing, (iii) the Settling Defendants, any entity or division in which the Settling Defendants
have a controlling interest, their legal representatives in this lawsuit, and their officers, directors, assigns and successors, (iv) the judge
to whom this lawsuit is assigned, any member of the judge’s immediate family and the judge’s staff, or any other judicial officer or
judicial staff member assigned to this case, (v) Class Counsel, including their partners, members, and shareholders, and any immediate
family members, (vi) any State, the United States, or any of its agencies, and (vii) the Village of Hoosick Falls and the Town of
Hoosick.

7.   I am still not sure if I am included.

If you are still not sure whether you are included, you can call 1-___-___-____ or visit www.hoosickfallspfoasettlement.com for more
information.
                                   THE SETTLEMENT BENEFITS—WHAT YOU GET IF YOU QUALIFY

8.   What does the Settlement provide?

The Settling Defendants have agreed to pay $65,250,000 into a Settlement Fund. After deducting attorneys’ fees and costs, the class
representatives’ service awards, and the costs of notice and administration, the balance of the fund will allocated among the Property
Settlement Class ($20,700,000) and Nuisance Settlement Class ($7,761,683), and the Medical Monitoring Program ($22,800,000).

9.   How much will the Property Settlement Class payments be?

The full market values of all Eligible Properties as determined by the 2015 County Assessment Roll will be totaled and used as the
denominator of a fraction. The full market value of the Settlement Class Member’s Eligible Property will be the numerator of this
fraction. The fraction will be multiplied by $20,700,000 to determine the amount due to the Property Settlement Class Member or
Members who owned the Eligible Property as of December 15, 2016.
Payment = (Market value of Settlement Class Member’s Eligible Property x $20,700,000) / Total market value of all Eligible Properties
An Eligible Property is a Residential Property that either (1) one or more Municipal Water Property Settlement Class Members
demonstrates that he/she owned as of December 16, 2015, and obtained its drinking water from the Village Municipal Water System;
or (2) one or more Private Well Property Settlement Class Members demonstrates that he/she owned as of December 16, 2015, that is
located in the Village of Hoosick Falls or Town of Hoosick, and obtained its drinking water from a private well with detectable levels
of PFOA discovered through a water test on or after December 16, 2015.

10. How much will the Nuisance Settlement Class payments be?

Nuisance payment amounts will be calculated by dividing the total number of valid Nuisance claims from Settlement Class Members by
the Settlement amount allocated for the Nuisance Settlement Class ($7,761,683). Payments will be distributed evenly among all eligible
Nuisance Settlement Class Members who submit a valid Claim Form.

11. Tell me more about the Medical Monitoring Program.

The Medical Monitoring Allocation will be used to pay all expenses related to medical monitoring, including payments to
Participating and Non-Participating Physicians, the Overseeing Program Physician, laboratories, and all Medical Monitoring
Administration Costs. The Medical Monitoring Program will begin after the Settlement becomes final and will end on the earlier of (a)
when the $22,800,000 Medical Monitoring Allocation has been fully used; or (b) when all bills incurred on or before the ten-year
anniversary of the date the Settlement becomes final are paid. Complete details about the testing and services protocols covered by the
Medical Monitoring Program are attached to the Class Settlement Agreement as Appendix A.

Medical Monitoring Settlement Class Members who complete both the Initial Informational Survey and the Initial Screening
Consultation within 12 months of the date the Settlement becomes final will receive a $100 (maximum) incentive payment. If money
        QUESTIONS? CALL 1-___-___-____ TOLL-FREE OR VISIT WWW.HOOSICKFALLSPFOASETTLEMENT.COM
                                                                      3
            Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 100 of 140
remains in the allocation at the end of the Medical Monitoring Program, additional payment may be made to Medical Monitoring
Settlement Class Members who have participated in all services available to them and under certain circumstances may also be paid as
a contribution to a not-for-profit organization that focuses on health and well-being of residents in or around the Town of Hoosick.

                                HOW TO GET SETTLEMENT BENEFITS—SUBMITTING A CLAIM FORM

12. How do I get a payment and participate in the Medical Monitoring Program?

To qualify for a Settlement payment and/or participate in the Medical Monitoring Program, you must complete and submit a Claim
Form by Month __, 2021. You may use the Claim Form enclosed with this notice and return it in the pre-paid postage envelope,
complete and submit a Claim Form online at www.hoosickfallspfoasettlement.com, or email a completed Claim Form to
___________________. Claim Forms are also available by calling 1-___-___-____ or by writing to Baker v. Saint-Gobain
Performance Plastics Corporation Settlement Administrator, P.O. Box _____, City, ST _____-____.

13. When will I get my payment and when will the Medical Monitoring Program begin?

The Court will hold a Final Approval Hearing at __:_0 _.m. on Month __, 2021 to decide whether to approve the Settlement. If the
Court approves the Settlement, there may be appeals. It is always uncertain whether any appeals will be filed and, if so, how long it
will take to resolve them. Settlement payments will be distributed, and the Medical Monitoring Program will begin, as soon as
possible, if and when the Court grants final approval to the Settlement and after any appeals are resolved.

14. What am I giving up to get a payment or stay in the Settlement?

Unless you exclude yourself, you are staying in the Settlement. If the Settlement is approved and becomes final, all of the Court’s
orders will apply to you and legally bind you. You won’t be able to sue or be part of any other lawsuit against the Settling Defendants
and the Released Parties (see next question) about the legal issues resolved by this Settlement. The rights you are giving up are called
Released Claims.

15. What are the Released Claims?

If the Settlement is approved and becomes final, Settlement Class Members will have expressly, intentionally, voluntarily, fully,
finally, irrevocably, and forever released, relinquished, waived, compromised, settled, and discharged the Released Parties (Settling
Defendants and their current, former, and future direct and indirect parents, subsidiaries, divisions, affiliates, affiliated business
entities, joint ventures, successors, predecessors, including Dyneon, LLC, Allied-Signal Inc., AlliedSignal Laminate Systems, Inc.,
Furon Company, and any entity identified as a predecessor to any Settling Defendant in the Second Amended Complaint or for which
the Second Amended Complaint alleges that any Settling Defendant has succeeded to liability on the basis of any legal theory; and all
of their current, former, and future agents, employees, officers, directors, partners, shareholders, owners, members, promoters,
representatives, distributors, trustees, attorneys, insurers, subrogees, and assigns, individually or in their corporate or personal
capacity, and anyone acting on their behalf, including in a representative or derivative capacity) from each and every past, present, and
future claim and cause of action, including causes of action and relief created or enacted in the future—whether known or unknown,
whether direct or indirect, individual or class, in constitutional, federal, state, local, statutory, civil, or common law or in equity, or
based on any other law, rule, regulation, ordinance, directive, contract, or the law of any foreign jurisdiction, whether fixed or
contingent, known or unknown, liquidated or unliquidated, suspected or unsuspected, asserted or unasserted, matured or unmatured, or
for compensatory damages, consequential damages, incidental damages, statutory damages, punitive, special, multiple, treble, or
exemplary damages, nominal damages, disgorgement, restitution, indemnity, contribution, penalties, injunctive relief, declaratory
relief, attorneys’ fees, court costs, or expenses—that were or could have been asserted in the Action or any other forum, arising out of
or related to, either directly or indirectly or in whole or in part: (i) the subject matter of any allegations contained in the Second
Amended Complaint, any allegations otherwise asserted in the Action, or the subject matter of any discovery obtained in the Action;
(ii) the alleged presence of PFAS (including PFOA) in drinking water or the environment (including, for example, air, groundwater,
surface water, municipal water, private well water, or soil) within the Village of Hoosick Falls or the Town of Hoosick; (iii) the sale,
purchase, use, handling, transportation, release, discharge, migration, emission, spillage, or disposal of PFAS (including PFOA) to, at,
or from a Facility in or near the Village of Hoosick Falls or the Town of Hoosick, including any such PFAS (including PFOA) present
as a result of disposal at or discharge to, directly or indirectly, any landfill, sewage system, water treatment facility, or any other
location in and around the Village of Hoosick Falls or Town of Hoosick, and/or resulting in any alleged exposure of any Settlement
Class Member to PFAS (including PFOA) through drinking water, inhalation, dermal contact, or otherwise; (iv) for any type of relief
with respect to the acquisition, installation, maintenance, operation, or presence of, including the cost or purported inconvenience or
loss of enjoyment of, property associated with whole-house filters, point-of-entry (POET) filters, point-of-use filters, municipal water,
private well water, bottled water, alternative water supplies, or remediation; (v) for property damage or property-value diminution,
including without limitation stigma, purportedly attributable to the alleged presence of PFAS (including PFOA) in the Village
Municipal Water System or any private well, or in the air, groundwater, surface water, municipal water, private well water, or soil in
or around the Village of Hoosick Falls or the Town of Hoosick; and/or (vi) based on PFAS (including PFOA) in the blood or tissue of
any Settlement Class Member.

       QUESTIONS? CALL 1-___-___-____ TOLL-FREE OR VISIT WWW.HOOSICKFALLSPFOASETTLEMENT.COM
                                                                    4
            Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 101 of 140
The Released Claims do not include any individual claims for any damages (including for screenings, tests, examinations, and/or
diagnostic procedures) related to past, present, or future manifested bodily injuries that have resulted in a medically diagnosed
condition, or to enforce the terms of this Agreement or the Final Approval Order. “Manifested bodily injuries that have resulted in a
medically diagnosed condition” do not include the detection or accumulation of PFAS (including PFOA) in blood or other bodily
tissue.
                                                 THE LAWYERS REPRESENTING YOU

16. Do I have a lawyer in this case?

Yes. The Court appointed Stephen G. Schwarz and Hadley L. Matarazzo of Faraci Lange, LLP, James J. Bilsborrow of Seeger Weiss
LLP, and Robin L. Greenwald of Weitz & Luxenberg, P.C. as “Class Counsel” to represent you and other Settlement Class Members.
These lawyers and their firms are experienced in handling similar cases. You will not be charged for these lawyers. If you want to be
represented by your own lawyer, you may hire one at your own expense.

17. How will Class Counsel be paid?

Class Counsel will ask the Court for an award of attorneys’ fees of up to 19% of the Settlement Fund (up to $12,397,500), plus
reimbursement of reasonable litigation costs. They will also ask the Court to approve $25,000 service awards to be paid to each of the
class representative Plaintiffs (a total payment of $250,000). The Court may award less than these amounts. If approved, these fees,
costs, and awards will be paid from the Settlement Fund before making payments and the Medical Monitoring Program available to
Settlement Class Members.
                                          EXCLUDING YOURSELF FROM THE SETTLEMENT

18. How do I get out of the Settlement?

To exclude yourself from the Settlement, you must send a letter by mail stating (1) you want to be excluded from Baker v. Saint-
Gobain Performance Plastics Corporation, No. 1:16-cv-917 (N.D.N.Y.), (2) your full name, current address, and telephone number,
(3) facts that prove you are a Settlement Class member, and (4) your signature. You must mail your exclusion request postmarked no
later than Month __, 2021 to:
                                       Baker v. Saint-Gobain Performance Plastics Corporation
                                                       Settlement Administrator
                                                            P.O. Box _____
                                                         City, ST _____-____
The Settling Defendants have the right to terminate the settlement if an undisclosed number of class members choose to exclude
themselves from the Settlement. If this occurs, the Settlement will be terminated, and no class member will receive any benefits.

19. If I exclude myself, can I still get a payment or other benefits from the Settlement?

No. If you exclude yourself, you are telling the Court that you don’t want to be part of the Settlement. You can only get a payment
and/or participate in the Medical Monitoring Program if you stay in the Settlement and submit a valid Claim Form.

20. If I do not exclude myself, can I sue the Settling Defendants for the same thing later?

No. If you stay in the Settlement (i.e., do nothing or do not exclude yourself), you give up any right to separately sue any of the
Released Parties, including the Settling Defendants, for the claims made in this lawsuit and released by the Class Settlement
Agreement. If you are a Property Settlement Class Member and you submit a timely and valid exclusion request for a Residential
Property that you own jointly with one or more other Settlement Class Members, all Settlement Class Members owning the property
will be considered to have submitted a timely and valid exclusion request.
                                                  OBJECTING TO THE SETTLEMENT
You can tell the Court that you do not agree with the Settlement or some part of it.

21. How do I tell the Court that I do not agree with the Settlement?

If you are a Settlement Class Member, you can object to the Settlement if you do not agree with it or a portion of it. You can give
reasons why you think the Court should not approve it. The Court will consider your views. Your objection must include: (1) your full
name, current address, and telephone number; (2) a statement of facts that indicate you are a Settlement Class Member; (3) a statement
of your objections and the reasons for them; (4) copies of any papers and evidence you intend to submit to support your objection; (5)
a statement indicating whether you plan appear at the Final Approval Hearing; (6) a statement indicating that you are willing to be
deposed, upon request, on a mutually acceptable date at least 10 days before the Final Approval Hearing; (7) a list containing the case
name, court, and docket number of any other class action settlements in which you or your counsel have filed an objection in the past

       QUESTIONS? CALL 1-___-___-____ TOLL-FREE OR VISIT WWW.HOOSICKFALLSPFOASETTLEMENT.COM
                                                                    5
            Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 102 of 140
five years, and a copy of all orders related to or ruling upon those objections; (8) all written and verbal agreements between you, your
counsel or any other person related to your objection; and (9) your signature.
Your objection must be mailed to Class Counsel and Defense Counsel so it is postmarked no later than Month __, 2021.
                                            Class Counsel                      Defense Counsel
                                                                               Douglas Fleming
                                         James J. Bilsborrow
                                                                                 Dechert LLP
                                          Seeger Weiss, LLP
                                                                                1095 6th Ave.
                                         55 Challenger Road
                                                                           New York, New York 10036
                                      Ridgefield Park, NJ 07660
                                                                                 Elissa Preheim
                                                                                Arnold & Porter
                                                                           601 Massachusetts Ave., NW
                                                                             Washington, DC 20001

                                                                                Andrew J. Calica
                                                                                Mayer Brown LLP
                                                                           1221 Avenue of the Americas
                                                                           New York, New York 10020


22. May I come to Court to speak about my objection?

Yes. You or your attorney may request to speak at the Final Approval Hearing about your objection. To do so, you must include a
statement in your objection indicating that you or your attorney intend to appear at the Final Approval Hearing.

23. What is the difference between objecting to the Settlement and asking to be excluded from it?

Objecting is simply telling the Court that you don’t like something about the Settlement. You can object only if you remain in the
Settlement Class (that is, do not exclude yourself). Excluding yourself is telling the Court that you don’t want to be part of the
Settlement. If you exclude yourself, you cannot object because the Settlement no longer affects you.

                                              THE COURT’S FINAL APPROVAL HEARING

The Court will hold a hearing to decide whether to approve the Settlement. You may attend and you may ask to speak, but you don’t have to.

24. When and where will the Court decide whether to approve the Settlement?

The Court will hold a Final Approval Hearing at __:_0 a.m. on Month __, 202_, at the United States District Court for the Northern
District of New York, James T. Foley Courthouse, Suite 509, 445 Broadway, Albany 12207. At this hearing, the Court will consider
whether the Settlement is fair, reasonable, and adequate. It will also consider whether to approve Class Counsel’s request for an award
of attorneys’ fees and costs, as well as the class representative Plaintiffs’ service awards. If there are objections, the Court will
consider them. The Court may listen to people who have asked to speak at the hearing (see Question 22 above). After the hearing, the
Court will decide whether to approve the settlement.

25. Do I have to come to the hearing?

No. Class Counsel will answer any questions the Court may have. However, you are welcome to come to the hearing at your own
expense. If you send an objection, you do not have to come to court to talk about it. As long as you mailed your written objection on
time, the Court will consider it. You may also pay your own lawyer to attend, but it is not required that you do so.

26. May I speak at the hearing?

Yes. You may ask the Court for permission to speak at the Final Approval Hearing (see Question 22 above).
                                                          IF YOU DO NOTHING

27. What happens if I do nothing at all?

If you are Settlement Class Member and you do nothing, you will give up the rights explained in Question 14, including your right to
start a lawsuit or be part of any other lawsuit against the Released Parties, including the Settling Defendants, about the legal issues
resolved by this Settlement. In addition, you will not receive a payment from the Settlement or be eligible to participate in the Medical
Monitoring Program.

       QUESTIONS? CALL 1-___-___-____ TOLL-FREE OR VISIT WWW.HOOSICKFALLSPFOASETTLEMENT.COM
                                                                    6
           Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 103 of 140
                                                 GETTING MORE INFORMATION

28. How do I get more information?

This Notice summarizes the proposed Settlement. Complete details are provided in the Class Settlement Agreement. The Settlement
Agreement and other documents are available at www.hoosickfallspfoasettlement.com. Additional information is also available by
calling 1-___-___-____ or by writing to Baker v. Saint-Gobain Performance Plastics Corporation Settlement Administrator, P.O. Box
_____, City, ST _____-____. Publicly-filed documents can also be obtained by visiting the office of the Clerk of the United States
District Court for the Northern District of New York or reviewing the Court’s online docket.




       QUESTIONS? CALL 1-___-___-____ TOLL-FREE OR VISIT WWW.HOOSICKFALLSPFOASETTLEMENT.COM
                                                                7
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 104 of 140




               EXHIBIT C
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 105 of 140




                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK

 MICHELE BAKER; CHARLES CARR;
 ANGELA CORBETT; PAMELA FORREST;
 MICHAEL HICKEY, individually and as parent           Case No. 1:16-CV-00917-LEK-DJS
 and natural guardian of O.H., infant;
 KATHLEEN MAIN-LINGENER; KRISTIN
 MILLER, as parent and natural guardian of
 K.M., infant; JENNIFER PLOUFFE; SILVIA
 POTTER, individually and as parent and natural
 guardian of C.P, infant; and DANIEL
 SCHUTTIG, individually and on behalf of all
 others similarly situated,
                        Plaintiffs,

 v.

 SAINT-GOBAIN PERFORMANCE PLASTICS
 CORP., and HONEYWELL INTERNATIONAL
 INC. f/k/a ALLIED-SIGNAL INC. and/or
 ALLIEDSIGNAL LAMINATE SYSTEMS,
 INC., E.I. DUPONT DE NEMOURS AND
 COMPANY, INC., and 3M CO.,


                         Defendants.

                            PRELIMINARY APPROVAL ORDER

       Plaintiffs Michele Baker, Charles Carr, Angela Corbett, Pamela Forrest, Michael Hickey,

individually and as parent and natural guardian of O.H., infant, Kathleen Main-Lingener, Kristin

Miller, as parent and natural guardian of K.M., infant, Jennifer Plouffe, Silvia Potter, individually

and as parent and natural guardian of C.P., infant, and Daniel Schuttig (“Plaintiffs”), on behalf of

themselves and the Settlement Class Members, and Defendants Saint-Gobain Performance Plastics

Corp., Honeywell International Inc., and 3M Company (“Settling Defendants”), by their respective

counsel, have submitted a Settlement Agreement to this Court, and Plaintiffs have moved under
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 106 of 140




Federal Rule of Civil Procedure 23(e) for an order: (1) preliminarily certifying the Municipal

Water Property Settlement Class, the Private Well Water Property Settlement Class, the Nuisance

Settlement Class, and the Medical Monitoring Settlement Class for purposes of settlement, and

appointing Plaintiffs as the Class Representatives and their counsel as Interim Settlement Class

Counsel; (2) preliminarily approving the Settlement; (3) approving the Notice Program; (4)

appointing KCC as the General Administrator and directing it to commence the Notice Program;

(5) providing authority pursuant to Local Rule of Civil Practice, Rule 17.1 and N.Y. C.P.L.R.

§ 1201 for parents and guardians of all named Minor Plaintiffs and absent Minor Settlement Class

Members, and for legal representatives of absent incompetent Settlement Class Members, to sign

Claim Forms and releases on behalf of the Settlement Class Members they represent; and (6)

scheduling a Final Approval Hearing to consider final approval of the settlement and any

application for attorneys’ fees, expenses, and Class Representative Service Awards. The Court has

considered the terms of the Settlement, the exhibits to the Settlement Agreement, the record of

proceedings, and all papers and arguments submitted in support, and now finds that the motion

should be, and hereby is, GRANTED.

       ACCORDINGLY, THE COURT FINDS AND ORDERS:

       1.       This Court has jurisdiction over the subject matter of this lawsuit and jurisdiction

over the Plaintiffs and Settling Defendants (the “Parties”) for purposes of the Settlement.

       2.      Capitalized terms not otherwise defined in this Order have the definitions set forth

in the Settlement Agreement.

                 SUMMARY OF THE LITIGATION AND SETTLEMENT

       3.      On August 26, 2016, Plaintiffs filed their Master Consolidated Class Action

Complaint alleging tort theories of negligence, trespass, nuisance, and strict liability based on the



                                                 2
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 107 of 140




presence of PFOA in the Village Municipal Water System, in private wells, on or at their

properties, and/or in their blood. This pleading named Saint-Gobain Performance Plastics Corp.

(“Saint-Gobain”) and Honeywell International Inc. (“Honeywell”) as Defendants.

       4.      On September 26, 2016, Defendants Saint-Gobain and Honeywell filed a Motion

to Dismiss Plaintiffs’ Master Consolidated Class Action Complaint pursuant to Federal Rule of

Civil Procedure 12(b)(6), which the Parties fully briefed. On February 6, 2017, the Court entered

a Memorandum-Decision and Order granting in part and denying in part the Motion to Dismiss.

In particular, the Court denied Defendants’ motion to dismiss Plaintiffs’ claims for negligence and

trespass, as well as nuisance claims brought by Plaintiffs who obtain drinking water from a private

well, but granted the motion to dismiss nuisance claims alleged by Plaintiffs who obtain drinking

water from the Village Municipal Water System. The Court also certified its order for interlocutory

appeal pursuant to 28 U.S.C. § 1292(b). On February 16, 2017, Saint-Gobain and Honeywell

petitioned the Second Circuit Court of Appeals for permission to appeal pursuant to 28 U.S.C.

§ 1292(b) and to temporarily stay proceedings in the District Court pending determination of the

petition for leave to appeal. Separately, Saint-Gobain and Honeywell each filed an Answer and

Affirmative Defenses to the Master Consolidated Class Action Complaint on February 28, 2017.

       5.      On March 1, 2017, the Second Circuit granted a temporary stay of proceedings in

the District Court pending disposition of the motion to stay by the Court. On December 8, 2017,

the Second Circuit denied the motion to stay proceedings in the District Court but granted the

petition to appeal this Court’s motion to dismiss order pursuant to 28 U.S.C. § 1292(b).

       6.      Following denial of Defendants’ motion to stay proceedings, discovery commenced

before this Court. The parties thereafter engaged in significant discovery efforts, involving several

sets of written discovery served by and on each party, voluminous document productions, quarterly



                                                 3
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 108 of 140




conferences with Magistrate Judge Stewart, depositions of each Plaintiff as well as 11 depositions

of current or former employees of Saint-Gobain and/or Honeywell, Rule 30(b)(6) deponents for

each company, and one third-party witness.

       7.      On February 23, 2018, Saint-Gobain and Honeywell filed an opening brief in the

Second Circuit. This was followed by full briefing as well as multiple amicus briefs and oral

argument. The Second Circuit ultimately affirmed this Court’s motion to dismiss order on May

18, 2020.

       8.      On December 10, 2018, Plaintiffs filed their First Amended Master Consolidated

Class Action Complaint, naming Defendants 3M Company (“3M”) and E.I. DuPont de Nemours

and Company (“DuPont”) as additional Defendants. Each Defendant filed an Answer and

Affirmative Defenses on February 26, 2019.

       9.      Plaintiffs thereafter propounded document requests and interrogatories on 3M and

DuPont and engaged in motion practice with DuPont on the scope of discovery before Magistrate

Judge Stewart. In response to Plaintiffs’ document requests, both 3M and DuPont made extensive

document productions.

       10.     On April 6, 2020, Plaintiffs filed a Notice of Motion for Class Certification and

served eight supporting expert reports. In their motion, Plaintiffs sought to certify four classes, as

follows: (i) a class of property owners who obtain drinking water from the Village Municipal

Water System; (ii) a class of property owners who obtain drinking water from privately owned

wells; (iii) a class of property owners and renters who obtain drinking water from a privately owned

well upon which a point-of-entry treatment (POET) system was installed; and (iv) a class of

individuals exposed to PFOA in their drinking water who subsequently received blood tests

demonstrating the presence of PFOA in their blood serum. On April 9, 2020, Plaintiffs filed their



                                                  4
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 109 of 140




Second Amended Master Consolidated Class Action Complaint. All Defendants filed an Answer

and Affirmative Defenses to this pleading on July 23, 2020.

         11.   Between June 23, 2020 and September 2, 2020, Plaintiffs deposed seven former

DuPont employees. Each of these depositions occurred via Zoom because of the limitations

imposed by the COVID-19 pandemic.

         12.   On July 30, 2020, Defendants served eight responsive expert reports. The parties

thereafter commenced expert deposition discovery, during which sixteen expert depositions were

conducted between October 2020 and December 2020, all via Zoom.

         13.   Following expert depositions, Defendants filed a joint opposition to Plaintiffs’

Motion for Class Certification on January 14, 2021. Defendants also filed a joint Motion to

Exclude Plaintiffs’ Expert Testimony on the same date. Finally, Defendants 3M and DuPont filed

a separate opposition to class certification raising additional, distinct arguments. Plaintiffs filed

replies in support of their Motion for Class Certification and an opposition to Defendants’ motion

to exclude expert testimony on February 18, 2021. Defendants filed a reply in support of their

Motion to Exclude Plaintiffs’ Expert Testimony on March 11, 2021.

         14.   On April 12, 2021, the Parties engaged in a full-day mediation at arms-length before

Professor Eric Green of Resolutions, LLC. The Parties participated in two additional full-day

mediation sessions on April 30, 2021 and May 5, 2021. At the end of the third day of mediation

on May 5, 2021, Plaintiffs and the Settling Defendants reached an agreement in principle. They

then negotiated the detailed written Settlement Agreement and exhibits that are now before the

Court.

         15.   The Settlement resolves claims alleged by Plaintiffs against the Settling

Defendants. This Settlement does not affect the claims alleged by Plaintiffs against the non-settling



                                                 5
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 110 of 140




Defendant, DuPont, and Plaintiffs are not resolving or releasing any claims against DuPont by

entering into the Settlement Agreement.

       16.     The Settlement provides, among other things, that as consideration for the release

from Settlement Class Members, the Settling Defendants will pay $65,250,000 in cash into a

Settlement Fund (the Total Settlement Payment). Of this amount, $20,700,000 will be allocated to

members of the Property Settlement Classes; $7,761,683 will be allocated to members of the

Nuisance Settlement Class; and $22,800,000 will be allocated to fund a ten-year medical

monitoring program to benefit members of the Medical Monitoring Class.

       17.     The Settlement also provides for Notice to be mailed directly to property owners in

the Village of Hoosick Falls and Town of Hoosick, as well as an extensive Notice Program

consisting of outreach via local media, national press release, and millions of social media

impressions.

                                  PRELIMINARY APPROVAL

       18.     Federal Rule of Civil Procedure 23(e) requires court approval of class action

settlements. In general, the approval process involves three stages: (1) notice of the settlement to

the class after “preliminary approval” by the Court; (2) an opportunity for class members to opt

out of, or object to, the proposed settlement; and (3) a subsequent hearing at which the Court grants

“final approval” upon finding that the settlement is “fair, reasonable, and adequate,” after which

judgment is entered, class members receive the benefits of the settlement, and the settling

defendants obtain a release from liability. Fed. R. Civ. P. 23(e)(1)-(2), (4)-(5).

       19.     In deciding whether to grant “preliminary approval” of a proposed settlement, the

Court evaluates two issues: (1) whether “the court will likely be able to” grant final approval to

the settlement as a “fair, reasonable, and adequate” compromise, such that it makes sense to give



                                                  6
     Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 111 of 140




notice to the proposed class members; and (2) whether “the court will likely be able to” certify the

classes for purposes of entering judgment on the settlement. Fed. R. Civ. P. 23(e)(1)(B).

I.      The Court will “likely be able to” grant final approval to the Settlement as “fair,
        reasonable, and adequate.”

        20.    This Circuit has recognized a “strong judicial policy in favor of settlements,

particularly in the class action context.” McReynolds v. Richards-Cantave, 588 F.3d 790, 803 (2d

Cir. 2009). “The compromise of complex litigation is encouraged by the courts and favored by

public policy.” Story v. SEFCU, No. 1:18-CV-764 (MAD/DJS), 2021 WL 736962, at *7

(N.D.N.Y. Feb. 25, 2021) (quoting Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 117

(2d Cir. 2005) (internal quotation omitted)). A “presumption of fairness, adequacy, and

reasonableness may attach to a class settlement reached in arm’s-length negotiations between

experienced, capable counsel after meaningful discovery.” Wal-Mart Stores, 396 F.3d at 116

(quoting Manual for Complex Litigation (Third) § 30.42 (1995)).

        21.    Under Federal Rule of Civil Procedure 23(e)(2), as amended in December 2018, in

considering whether a proposed settlement is “fair, reasonable, and adequate,” the Court considers

whether:

               (A) the class representatives and class counsel have adequately represented the

                   class;

               (B) the proposal was negotiated at arm’s length;

               (C) the relief provided for the class is adequate, taking into account:

                       (i)   the costs, risks, and delay of trial and appeal;

                       (ii) the effectiveness of any proposed method of distributing relief to the

                             class, including the method of processing class-member claims;




                                                  7
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 112 of 140




                       (iii) the terms of any proposed award of attorneys’ fees, including timing

                            of payment; and

                       (iv) any agreement required to be identified under Rule 23(e)(3); and

               (D) the proposal treats class members equitably relative to each other.

Fed. R. Civ. P. 23(e)(2).

       22.     Under this standard, the Court finds that it will “likely be able to” grant final

approval to the Settlement as “fair, reasonable, and adequate,” such that the Settlement, its terms

and conditions, including releases of the Released Parties, warrants preliminary approval and

dissemination of notice to the Settlement Classes so that Settlement Class Members may express

any objections to the Settlement or decide whether to opt out of the Settlement or participate in it.

The Settlement appears at this preliminary approval stage to be procedurally fair, reasonable, and

adequate in that the Plaintiffs and Class Counsel have adequately represented the Settlement

Classes in litigating the merits of the dispute and in obtaining a Settlement of significant value

through arm’s-length negotiations between and among sophisticated counsel and under the

auspices of a sophisticated mediator. Fed. R. Civ. P. 23(e)(2)(A)-(B).

       23.     Likewise, the Settlement appears at this preliminary approval stage to be

substantively fair, reasonable, and adequate in that the relief provided is substantial particularly

when taking into account the costs, risks, and delays of trial. Fed. R. Civ. P. 23(e)(2)(C). The

proposed method of distributing monetary relief to the Property Settlement Class Members and

Nuisance Settlement Class Members is relatively streamlined, requiring only submission of a

simple Claim Form, a declaration attesting to residency, and few, if any, supporting documents, as

specified in the Settlement. Id. Similarly, after submission of the Claim Form, blood test results

demonstrating the presence of PFOA in a Claimant’s blood serum above the designated level, and



                                                 8
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 113 of 140




a declaration attesting to exposure, the Medical Monitoring Settlement Class Members will have

access to ten years of consultations and testing from multiple physicians in close proximity to

Hoosick Falls; former residents who have moved from the area, and who are Medical Monitoring

Settlement Class Members, will also have access to the program. Id. Attorneys’ fees will be paid

only after Final Approval and only by approval of the Court, which will consider any request for

fees in conjunction with final approval. Id. The Parties have represented that there are two

agreements to be identified under Fed. R. Civ. P. 23(e)(3). Id.

       24.     Finally, the proposal treats members of each Settlement Class equitably relative to

one another. Property Settlement Class Members will receive a proportion of the Property Payment

Allocation based on the full market value of their property (as determined by the Town of Hoosick

Tax Assessor in 2015 in the Final Assessment Roll) relative to all other properties owned by the

Property Settlement Class Members. The Nuisance Payment Allocation will be divided evenly

among all Nuisance Settlement Class Members who demonstrate eligibility. Finally, all Medical

Monitoring Settlement Class Members will have equal access to the consultations and, as

appropriate, testing benefits provided by the Medical Monitoring Program. Fed. R. Civ. P.

23(e)(2)(D).

II.    The Court will “likely be able to” certify the Settlement Classes for purposes of
       entering judgment on the Settlement.

       25.     In considering whether the Court will “likely be able to” certify the Settlement

Classes for purposes of entering judgment on the Settlement, the Court must determine whether

the Settlement Classes likely meet the requirements for class certification under Federal Rule of

Civil Procedure 23(a) (numerosity, commonality, typicality, and adequacy) and any one of the

subsections of Federal Rule of Civil Procedure 23(b), here subsection 23(b)(3).




                                                 9
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 114 of 140




        26.     The Court finds, for settlement purposes only, that the Settlement Classes satisfy

the requirements of Fed. R. Civ. P. 23(a)(1)-(4) and 23(b)(3) and that it will likely be able to certify

each of the proposed Settlement Classes, which are defined as:

        Municipal Water Property Settlement Class
        All Persons who are or were owners of Residential Property that was supplied with
        drinking water from the Village Municipal Water System, and who purchased that
        property on or before December 16, 2015 and owned that property as of December
        16, 2015; provided, however, that the Municipal Water Property Settlement Class
        shall not include Excluded Persons.

        Private Well Water Property Settlement Class
        All Persons who are or were owners of Residential Property located in the Village
        of Hoosick Falls or the Town of Hoosick that was supplied with drinking water
        from a private well in which PFOA was detected, and who owned that property at
        the time PFOA in the property’s private well was discovered through a water test
        on or after December 16, 2015; provided, however, that the Private Well Water
        Property Settlement Class shall not include Excluded Persons.

        Nuisance Settlement Class
        All Persons who are or were owners or renters of Residential Property located in
        the Village of Hoosick Falls or the Town of Hoosick that was supplied with
        drinking water from a privately owned well in which PFOA was detected, had a
        point-of-entry treatment (POET) system installed to filter water from that well, and
        who either (i) owned and occupied that property at the time PFOA in the property’s
        private well was discovered through a water test on or after December 16, 2015; or
        (ii) rented and occupied the property at the time PFOA in the property’s private
        well was discovered through a water test on or after December 16, 2015; provided,
        however, that the Nuisance Settlement Class shall not include Excluded Persons.

        Medical Monitoring Settlement Class
        All individuals who, for a period of at least six months between 1996 and 2016,
        have (a) ingested water at their residence(s) supplied by the Village Municipal
        Water System or from a private well in the Village of Hoosick Falls or the Town
        of Hoosick in which PFOA has been detected, and (b) underwent blood serum tests
        that detected a PFOA level in their blood above 1.86 µg/L; or any natural child (i)
        who was born to a female who meets and/or met the above criteria at the time of
        the child’s birth and (ii) whose blood serum was tested after birth and detected a
        PFOA level above 1.86 µg/L; provided, however, that the Medical Monitoring
        Settlement Class shall not include Excluded Persons.

        27.     Additionally, the Court finds, for purposes of settlement only, that the Settlement

Classes are ascertainable because each is defined by objective criteria, In re Petrobas Secs. Litig.,

                                                  10
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 115 of 140




862 F.3d 250, 257 (2d Cir. 2017), and that it will likely be able to appoint Plaintiffs’ Counsel as

Class Counsel under Federal Rule of Civil Procedure 23(g).

       28.     The Settlement Classes, if certified in connection with Final Approval, shall be for

settlement purposes only and without prejudice to the Parties in the event the Settlement is not

finally approved by this Court or otherwise does not take effect.

       29.     Accordingly, the Court preliminarily certifies, for purposes of settlement only, each

of the respective Settlement Classes identified above.

       30.     The Court, for settlement purposes only, appoints the following Plaintiffs as interim

Class Representatives for the Settlement Classes:

       Municipal Water Property Settlement Class: Pamela Forrest, Kathleen Main-Lingener,

       Jennifer Plouffe, Silvia Potter, and Daniel Schuttig;

       Private Well Property Settlement Class: Michele Baker, Charles Carr, and Angela

       Corbett;

       Nuisance Settlement Class: Michele Baker, Charles Carr, and Angela Corbett; and

       Medical Monitoring Settlement Class: Charles Carr, Angela Corbett, Michael Hickey,

       individually and as parent and natural guardian of O.H., infant, Kathleen Main-Lingener,

       Kristin Miller, as parent and natural guardian of K.M., infant, and Silvia Potter,

       individually and as parent and natural guardian of C.P., infant.

       31.     The Court appoints, for settlement purposes only, Stephen G. Schwarz and Hadley

L. Matarazzo of Faraci Lange LLP, James J. Bilsborrow of Seeger Weiss LLP, and Robin L.

Greenwald of Weitz & Luxenberg, P.C., as Interim Settlement Class Counsel under Federal Rule

of Civil Procedure 23(g)(3). Interim Settlement Class Counsel are authorized to act on behalf of

the Settlement Classes with respect to all acts required by, or which may be given pursuant to, the



                                                11
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 116 of 140




Settlement or such other acts that are reasonably necessary to consummate the proposed Settlement

set forth in the Settlement Agreement.

       32.     Having found that (1) “the court will likely be able to” grant final approval to the

settlement as a “fair, reasonable, and adequate” compromise, so that it makes sense to give notice

to the proposed class members; and (2) “the court will likely be able to” certify the Settlement

Classes for purposes of entering judgment on the Settlement, the Court hereby GRANTS

preliminary approval to the Settlement.

                          NOTICE TO THE SETTLEMENT CLASSES

       33.     Upon granting preliminary approval under Federal Rule of Civil Procedure

23(e)(1), the Court “must direct to class members the best notice that is practicable under the

circumstances, including individual notice to all members who can be identified through

reasonable effort. The notice may be by one or more of the following: United States mail,

electronic means, or other appropriate means.” Fed. R. Civ. P. 23(c)(2)(B).

       34.     The notice must clearly and concisely state in plain, easily understood language:

       (i)     the nature of the action;

       (ii)    the definition of the class certified;

       (iii)   the class claims, issues, or defenses;

       (iv)    that a class member may enter an appearance through an attorney if the member so

               desires;

       (v)     that the court will exclude from the class any member who requests exclusion;

       (vi)    the time and manner for requesting exclusion; and

       (vii)   the binding effect of a class judgment on members under Rule 23(c)(3).

Fed. R. Civ. P. 23(c)(2)(B).



                                                  12
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 117 of 140




       35.     “There are no rigid rules to determine whether a settlement notice to the class

satisfies constitutional or Rule 23(e) requirements; the settlement notice must fairly apprise the

prospective members of the class of the terms of the proposed settlement and of the options that

are open to them in connection with the proceedings.” Wal-Mart Stores, 396 F.3d at 114 (quotation

omitted).

       36.     The Court finds that the Notice Program, including the Class Notice, the Notice

Form attached to the Settlement, and the particulars of the Notice Program described in the

Declaration of Carla A. Peak in Support of Settlement Notice Program, satisfy these requirements

and Due Process and constitute “the best notice that is practicable under the circumstances.” The

Court appoints KCC as General Administrator and directs that the Notice Program be implemented

as set forth in the Settlement.

       37.     All fees, costs, and expenses incurred in implementing the Notice Program shall be

paid solely from the Preliminary Settlement Fund as set forth in the Settlement.

 SETTLEMENT OF CLAIMS OF INFANT, INCOMPETENT AND DECEASED CLASS
                            MEMBERS

       38.     Each of the Plaintiffs who filed this Action as parent and natural guardian of a

Minor will apply to the Court individually or jointly for approval of the Settlement on behalf of

the Minor class representatives and all absent Minor Settlement Class Members. This Preliminary

Approval Order provides authority pursuant to Local Rule 17.1 and N.Y. C.P.L.R. § 1201 for

parents and guardians of all named Minor Plaintiffs and absent Settlement Class Members, and for

legal representatives of absent incompetent Settlement Class Members, to sign Claim Forms and

releases on behalf of the Settlement Class Members they represent. An Order from this Court

finally approving the Settlement shall effectuate a settlement under Local Rule 17.1 and N.Y.




                                               13
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 118 of 140




C.P.L.R. § 1207 for all named Minor Plaintiffs, absent Minor Settlement Class Members, and

absent incompetent Settlement Class Members.

       39.     The legal representatives of deceased absent Settlement Class Members shall have

authority to sign Claims Forms and releases on behalf of the absent Settlement Class Members

they represent. Where a legal representative of a deceased absent Settlement Class Member

submits a Claim Form on that Settlement Class Member’s behalf, that legal representative shall

attest to their authority to act for the deceased absent Settlement Class Member.

 PROCEDURES FOR REQUESTING EXCLUSION FROM OR OBJECTING TO THE
                         SETTLEMENT

       40.     A Settlement Class Member may request exclusion from the Settlement at any time

prior to the Opt Out Deadline, provided an opt-out notice is sent to the General Administrator in

accordance with the procedures set forth in the Settlement Agreement. Any Settlement Class

Member who elects to opt out of the Settlement shall not be entitled to receive any benefits

conferred by the Settlement. Any Settlement Class Member who does not timely and validly

request to opt out shall be bound by the terms of the Settlement, including the Release. If a

Residential Property that is encompassed by one of the Property Settlement Classes has more than

one legal owner and one of those owners excludes himself or herself from the relevant Settlement

Class, then all owners of that Residential Property shall be deemed to have opted out of the

Settlement, and no owner of the Residential Property shall be entitled to a payment under the

Settlement.

       41.     Objections to the Settlement, to the application of attorneys’ fees and costs, and/or

to the Service Award must be served on the Parties in accordance with the Settlement. Interim

Settlement Class Counsel and/or the Settling Defendants may conduct limited discovery on any

objector or objector’s counsel consistent with the Federal Rules of Civil Procedure.

                                                14
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 119 of 140




       42.     Except for Settlement Class Members who have timely asserted an objection to the

Settlement, all Settlement Class Members shall be deemed to have waived all objections and

opposition to the fairness, reasonableness, and adequacy of the Settlement.

  MOTIONS FOR FINAL APPROVAL, FEES, EXPENSES, AND SERVICE AWARDS

       43.     Plaintiffs shall file their Motion for Final Approval of the Settlement, appointment

as Settlement Class Counsel as well as Class Counsel’s application for attorneys’ fees and costs,

for a Service Award to the Plaintiffs, and for all Settlement Administration Costs, no later than

150 days after this Order is entered. At the Final Approval Hearing, the Court will hear argument

on Plaintiffs’ Motion for Final Approval of the Settlement, and on Class Counsel’s application for

attorneys’ fees and expenses, for the Service Award for the Plaintiffs, and for all Settlement

Administration Costs.

                               FINAL APPROVAL HEARING

       44.     The Court will hold a Final Approval Hearing on _____________________, 2021,

at _____ a.m./p.m., at the James T. Foley U.S. Courthouse, 445 Broadway, Albany, New York

12207-2926, or by videoconference or teleconference if determined by separate order, to assist the

Court in determining whether to grant Final Approval to the Settlement, enter the Final Approval

Order and Judgment, and grant any motions for fees, expenses and the Service Award.

                                    OTHER PROVISIONS

       45.     Plaintiffs’ Interim Settlement Class Counsel and counsel for the Settling

Defendants are authorized to take, without further approval of the Court, all necessary and

appropriate steps to implement the Settlement according to its terms, including implementing the

Notice Program.




                                                15
   Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 120 of 140




         46.      Pending determination whether the Settlement Agreement should be granted Final

Approval, further proceedings against the Settling Defendants are stayed in this Action, other than

proceedings necessary to carry out or enforce the terms of the Settlement. Nothing in this Order

shall stay further proceedings in this Action against any non-settling Defendant. 1 For purposes of

the continued prosecution of this case against any non-settling Defendant, the Order of the Hon.

Daniel J. Stewart dated July 27, 2016, appointing Weitz & Luxenberg, P.C. and Faraci Lange, LLP

as Co-Lead Interim Class Counsel (Dkt. 1) shall remain in effect until this Court rules on Plaintiffs’

pending motion for class certification regarding any non-settling Defendant, with the exception

that James J. Bilsborrow of Seeger Weiss, LLP shall now be appointed as a third Co-Lead Interim

Class Counsel pursuant to Fed. R. Civ. P. 23(g)(3).

         47.      The Settling Defendants shall serve the appropriate government officials with the

notice required by 28 U.S.C. § 1715, within the time provided by statute.

         48.      Without further orders of the Court, the Parties may agree to make non-material

modifications to the Settlement Agreement (including the exhibits thereto) in implementing the

Settlement that are not inconsistent with this Preliminary Approval Order, including making minor

changes to the Settlement Agreement, to the form or content of the Notice Form, or to any other

exhibits that the Parties jointly agree in writing are reasonable or necessary.

         49.      The Court shall retain jurisdiction over the Settlement Agreement and shall

consider all further matters arising out of or connected with the Settlement.




         1
            The Settlement with the Settling Defendants is not and does not constitute a settlement with any non-settling
Defendant (e.g., named Defendants who are not the Settling Defendants) and the Settlement is not dispositive of any
Plaintiff’s claim against any non-settling Defendant.

                                                          16
 Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 121 of 140




                                 SCHEDULE OF DEADLINES

        50.     The Court sets the following deadlines:

Event                                             Date

Deadline for the Settling Defendants to pay No later than 20 days from the date of this
$10,000,000 in cash into the Escrow Account Order

Deadline for General Administrator            to No later than 30 days from the date of this
commence Notice Program                          Order

Commencement of the Enrollment Period             30 days from the date of this Order

Opt Out Deadline                                  105 days from the date of the Notice Date

Objection Deadline                                105 days from the date of the Notice Date

Deadline for filing a Motion for Final No later than 150 days from the date of this
Approval and any petition for an award of Order
attorneys’ fees, costs, and Service Awards

Final Approval Hearing
                                                  ________________ (approximately 180 days
                                                  from the date of this Order)



        SO ORDERED.

        Date:
                                                            __________________________
                                                            HON. LAWRENCE E. KAHN
                                                            United States District Judge




                                                17
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 122 of 140




               EXHIBIT D
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 123 of 140




KCC Class Action Services Resume


KCC is an industry leader in class action settlement administration. We administer claims
processes and distribute funds in a vast array of varying matters, ranging from small and simple
settlements to multi-year complex settlements involving millions of claimants.

KCC’s parent company, Computershare, is a publicly traded company which, among its many
business lines, provides global financial services centering on communications with customers
on behalf of our corporate clients. Computershare employs over 12,000 people and does
business with more than 25,000 clients in more than 21 countries. KCC’s operations are regulated
by federal agencies, including both the SEC and OCC. KCC has the largest infrastructure in the
class action industry, and is backed by superior data security, call center support and technology.
In addition to the immense resources and capabilities brought to bear through Computershare,
KCC can execute all operations in-house with zero outsourcing; a capacity which allows for full
quality control over each aspect of service.

KCC has administered over 7,200 class action matters and handled thousands of distribution
engagements in other contexts as well. Our call centers handle 13.9 million calls each year. Our
domestic infrastructure can open and scan 200,000 claims in a single day, and we have document
production capabilities that print and mail millions of documents annually. Last year, our
disbursement services team distributed more than $1.6 billion (USD) across four million class
payments.

Locations
KCC has an administrative office in El Segundo, CA, operation offices in San Rafael, CA, and
Louisville, KY, and presence in the East Coast, South and Midwest. In addition to these offices,
KCC has the global support of Computershare. In the United States Computershare has more
than 20 offices.

KCC Personnel
KCC’s experienced team of experts knows first-hand the intricacies contained in every aspect of
settlement administration, and approach each matter with careful analysis and procedural
integrity. Each client is assigned a team of experienced consultants, specialists and technology
experts who serve as knowledgeable, reliable and accessible partners that have earned a
reputation for exceeding clients’ expectations. KCC’s executive team – Eric Barberio, President;
Patrick Ivie, Senior Executive Vice President; and Daniel Burke, Executive Vice President – are
experienced industry leaders.

Our personnel have considerable experience which includes years of practice with KCC and
related endeavors. KCC’s professionals have extensive training, both on-the-job and formal, such
as undergraduate and advanced business, information technology and law degrees, and they
possess and/or have had licenses and certificates in disciplines that are relevant to class action
administration.

Recognition
Our settlement administration services have been recognized by The National Law Journal, The
New York Law Journal, The New Jersey Law Journal, The Recorder, Legal Intelligencer, Legal
Times and other leading publications. KCC has earned the trust and confidence of our clients with
our track record as a highly-responsive partner.
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 124 of 140




Settlement Value
Case                                                                   Value
Fortis Settlement                                                       $1,572,690,000
Ramah Navajo Chapter v. Jewell                                            $940,000,000
U.S.A. v. The Western Union Company                                       $586,000,000
Vaccarino v. Midland National Life Ins. Co                                $555,000,000
In re Facebook Biometric Info. Privacy Litig.                             $550,000,000
Safeco v. AIG                                                             $450,000,000
Johnson v. Caremark Rx, LLC                                               $310,000,000
In re Activision Blizzard, Inc. Stockholder Litigation                    $275,000,000
Harborview MBS                                                            $275,000,000
Dial Corp. v. News Corporation, et al.                                    $244,000,000
In re Medical Capital Securities Litigation Settlement                    $219,000,000
In Re: NCAA Athletic Grant-In-Aid Antitrust Litigation                    $208,664,445
Gutierrez v. Wells Fargo Bank, N.A                                        $203,000,000
Postmates Mass Arbitration Settlement                                     $179,000,000
BlueCrest Capital Management Limited                                      $170,000,000
Bell v. Farmers - Bell III                                                $170,000,000
In Re Diamond Foods, Inc. Securities Litigation                           $167,000,000
In re JPMorgan Chase & Co. Securities Litigation                          $150,000,000
Haddock v. Nationwide Life Insurance Co. Settlement                       $140,000,000
In re Freeport-McMoran Copper & Gold Inc. Derivative Litigation Notice    $137,500,000
Bank of America, et al. v. El Paso Natural Gas Company, et al.            $115,000,000
In re Anthem, Inc. Data Breach Litigation                                 $115,000,000
In re Medical Capital Securities Litigation Settlement                    $114,000,000
Drywall Acoustic Lathing v. SNC Lavalin                                   $110,000,000
In re Automotive Parts Antitrust Litigation III                           $103,000,000
Rural/Metro Corporation Stockholders Litigation                            $97,793,880
J.C. Penney Securities Litigation                                          $97,500,000
Smokeless Tobacco Cases                                                    $96,000,000
Oubre v. Louisiana Citizens                                                $92,865,000
Ardon v. City of Los Angeles                                               $92,500,000
Nishimura v. Gentry Homes, Ltd. II                                         $90,341,564
In Re: Potash Antitrust Litigation (II) (Escrow)                           $90,000,000
Ormond, et al, v. Anthem, Inc.                                             $90,000,000
In re DRAM Antitrust Litigation                                            $87,750,000
In re: Morning Song Bird Food Litigation                                   $85,000,000
Ideal v. Burlington Resources Oil & Gas Company LP                         $85,000,000
Willoughby v. DT Credit Corporation, et al. (Drivetime)                    $78,000,000
In Re Tesla Motors, Inc. Stockholder Litigation                            $60,000,000
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 125 of 140




Class Members
Case                                                                  Volume
Edwards v. National Milk Producers Federation et al.                      90,000,000
In re Anthem, Inc. Data Breach Litigation                                 80,000,000
Carrier IQ Inc. Consumer Privacy Litigation                               47,300,000
The Home Depot, Inc. Customer Data Security Breach Litigation             40,000,000
In re Facebook Biometric Info. Privacy Litig.                             30,000,000
In Re Midland Credit Management, Inc. TCPA Litigation                     30,000,000
Golden v. ContextLogic Inc. d/b/a Wish.com                                29,222,936
Cassese v. WashingtonMutual                                               23,200,344
In re Wawa, Inc. Data Security Litigation                                 22,000,000
Rael v. The Children's Place, Inc.                                        22,000,000
In Re Optical Disk Drive Antitrust Litigation                             20,000,000
In re UltraMist Sunscreen Litigation                                      20,000,000
Torres v. Wendy’s International, LLC                                      18,000,000
In Re Lithium Ion Batteries Antitrust Litigation                          16,000,000
Gordon v. Verizon Communications, Inc.                                    15,236,046
Experian Data Breach Litigation                                           15,000,000
Opperman v. Kong Technologies, Inc. et al.                                13,279,377
Lerma v Schiff Nutrition International, Inc.                              12,000,000
Kolinek v. Walgreen Co.                                                   10,213,348
Dunstan v. comScore, Inc.                                                 10,000,000
Sprint Government Restitution Program                                      9,500,000
Steinfeld v. Discover Financial Services                                   9,088,000
Cohen, et al. v. FedEx Office and Print Services, Inc., et al.             9,000,000
Elvey v. TD Ameritrade, Inc.                                               8,639,226
In Re: Monitronics International, Inc. Telephone Consumer Protection
Act Litigation                                                             7,789,972
In re Portfolio Recovery Associates Telephone Consumer Protection Act
Litigation                                                                 7,395,511
Morrow v. Ascena Retail Group, Inc. and Ann Inc.                           7,277,056
Shames v. The Hertz Corporation                                            7,271,238
In Re Facebook Biometric Information Privacy Litigation                    7,000,000
Roberts, et al. v. Electrolux Home Products, Inc.                          6,305,000
Chambers v. Whirlpool Corporation, et al.                                  5,788,410
Martin v. Safeway Inc.                                                     5,610,739
Morales v. Conopco Inc. dba Unilever (TRESemmé Naturals)                   5,000,000
Murray v. Grocery Delivery E-Services USA Inc. bda Hello Fresh             5,000,000
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 126 of 140




               EXHIBIT E
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 127 of 140
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 128 of 140
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 129 of 140
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 130 of 140
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 131 of 140
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 132 of 140
Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 133 of 140




               EXHIBIT F
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 134 of 140




                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK

 MICHELE BAKER; CHARLES CARR;
 ANGELA CORBETT; PAMELA FORREST;
 MICHAEL HICKEY, individually and as parent           Case No. 1:16-CV-00917-LEK-DJS
 and natural guardian of O.H., infant;
 KATHLEEN MAIN-LINGENER; KRISTIN
 MILLER, as parent and natural guardian of
 K.M., infant; JENNIFER PLOUFFE; SILVIA
 POTTER, individually and as parent and natural
 guardian of C.P, infant; and DANIEL
 SCHUTTIG, individually and on behalf of all
 others similarly situated,
                        Plaintiffs,
                                                      DECLARATION OF CARLA A. PEAK
 v.                                                   IN SUPPORT OF SETTLEMENT
                                                      NOTICE PROGRAM
 SAINT-GOBAIN PERFORMANCE PLASTICS
 CORP., and HONEYWELL INTERNATIONAL
 INC. f/k/a ALLIED-SIGNAL INC. and/or
 ALLIEDSIGNAL LAMINATE SYSTEMS,
 INC., E.I. DUPONT DE NEMOURS AND
 COMPANY, INC., and 3M CO.,

                         Defendants.


I, Carla A. Peak, declare as follows:

       1.      My name is Carla A. Peak. I have personal knowledge of the matters set forth

herein, and if called as a witness I could and would testify competently to them.

       2.      I am a nationally recognized expert in the field of legal notice, and I have served as

an expert in dozens of federal and state cases involving class action notice plans.

       3.      I am the Vice President of Legal Notification Services for KCC Class Action

Services, LLC (“KCC”), a firm that provides comprehensive class action services, including

claims administration, legal notification, email and postal mailing campaign implementation,
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 135 of 140




website design, call center support, class member data management, check and voucher

disbursements, tax reporting, settlement fund escrow and reporting, and other related services

critical to the effective administration of class action settlements. Our experience includes many

of the largest and most complex settlement administrations of both private litigation and of actions

brought by state and federal government regulators. KCC has been retained to administer more

than 7,000 class actions and distributed settlement payments totaling well over a trillion dollars in

assets.

          4.   This Declaration describes KCC’s experience, as well as the proposed notice plan

(the “Notice Program”) designed to provide notice to class members for this class action

settlement.

                                  RELEVANT EXPERIENCE

          5.   KCC has administered class action administrations for such defendants as HP-

Compaq, LensCrafters, United Parcel Service, Ford, Mitsubishi, Nissan, Whirlpool, ATI Video

Cards, and Twentieth Century Fox. Some relevant case examples which KCC has been involved

with include: Alvarez v. Haseko Homes, Inc., No. 09-1-2691-11 (Cir. Ct. Hawai’i); Campos v.

Calumet Transload Railroad, LLC, No. 1:13-cv-08376 (S.D.N.Y.); Charles v. Haseko Homes,

Inc., No. 09-1-1932-08 (Cir. Ct. Hawai’i); Eck v. City of Los Angeles, No. BC577028 (Sup. Ct.

Cal.); Eubank v. Pella Corporation, No. 1:06-cv-04481 (N.D. Ill.); Houze v. Brasscraft

Manufacturing Co. (EZ-FLO), No. BC493276 (Sup. Ct. Cal.); In Re: Rust-Oleum Restore

Marketing, Sales Practices and Products Liability Litig., No. 1:15-cv-01364 (N.D. Ill.); In Re:

Uponor, Inc., F1807 Plumbing Fittings Products Liab. Litig., No. 11-MD-2247 (D. Minn.); Kai v.

Haseko Homes, Inc., No. 09-1-2834-12 (Cir. Ct. Hawai’i); Lavinsky v. City of Los Angeles, No.

BC542245 (Sup. Ct. Cal.); Loftus v. SunRun, Inc., No. 3:19-cv-01608 (N.D. Cal.); Nishimura v.



                                                 2
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 136 of 140




Gentry Homes, Ltd., No. 11-1-1522 (Cir. Ct., Hawai’i); Slovin v. Sunrun, Inc., No. 4:15-cv-05340

(N.D. Cal.); and Thomas v. Lennox Industries Inc., No. 1:13-cv-07747 (N.D. Ill.).

                               NOTICE PROGRAM DETAILS

                                         Class Definition

       6.      The Settlement Classes consist of (1) individuals who, for a period of at least six

months between 1996 and 2016, have (a) ingested water at their residence(s), which were supplied

by the Village Municipal Water System or from a private well in the Village of Hoosick Falls or

Town of Hoosick in which perfluorooctanoic acid (PFOA) has been detected, and (b) underwent

blood serum tests that detected a PFOA level in their blood above 1.86 µg/L; or any natural child

(i) who was born to a female who meets and/or met the above criteria at the time of the child’s

birth and (ii) whose blood serum was tested after birth and detected a PFOA level above 1.86 µg/L

(“Medical Monitoring Settlement Class”); (2) Persons who are or were owners of Residential

Property that was supplied with drinking water from the Village Municipal Water System, and

who purchased that property on or before December 16, 2015 and owned that property as of

December 16, 2015 (“Municipal Water Property Settlement Class”); (3) Persons who are or were

owners or renters of Residential Property located in the Village of Hoosick Falls or the Town of

Hoosick that was supplied with drinking water from a privately owned well in which PFOA was

detected, had a point-of-entry treatment (POET) system installed to filter water from that well, and

who either (i) owned and occupied that property at the time PFOA in the property’s private well

was discovered through a water test on or after December 16, 2015; or (ii) rented and occupied the

property at the time PFOA in the property’s private well was discovered through a water test on

or after December 16, 2015 (“Nuisance Settlement Class”); and (4) Persons who are or were

owners of Residential Property located in the Village of Hoosick Falls or the Town of Hoosick



                                                 3
    Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 137 of 140




that was supplied with drinking water from a private well in which PFOA was detected, and who

owned that property at the time PFOA in the property’s private well was discovered through a

water test on or after December 16, 2015 (“Private Well Water Property Settlement Class”).

         7.      Given the length of the class period, geographic mobility data was studied among

people residing in the Village of Hoosick Falls and Town of Hoosick area. This data indicates that,

of the individuals who have left the Village of Hoosick Falls and Town of Hoosick area, the

majority tend to move to a new location within the same county. 1 To ensure appropriate coverage,

the Notice Program has been designed to provide notice to individuals in the Village of Hoosick

Falls, the Town of Hoosick, the Albany-Troy-Schenectady designated market area, as well as the

state of New York.

                                             Individual Notice

         8.      KCC will send a detailed Notice and Claim Form along with a postage pre-paid

envelope via United States Postal Service (USPS) to all Settlement Class Members for whom a

postal address is provided by the parties. The Settling Defendants have agreed to provide records

for all properties within the Town of Hoosick and Village of Hoosick Falls on which point-of-

entry treatment (POET) systems have been installed since December 2015. Interim Class Counsel

have agreed to provide property addresses, based on the 2015 public Tax Rolls for all Residential

Properties in the Village of Hoosick Falls. These records and postal addresses will encompass all

Residential Properties included in the Property Settlement Classes and the Nuisance Settlement

Class.




1
 American Community Survey, 2019: ACS 5-Year Estimates Detailed Tables, TableID B07001.
https://www.census.gov/topics/population/migration/guidance/metro-to-metro-migration-flows.html.

                                                      4
    Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 138 of 140




         9.       Prior to mailing, the postal addresses will be checked against the National Change

of Address (NCOA) 2 database maintained by USPS; certified via the Coding Accuracy Support

System (CASS); 3 and verified through Delivery Point Validation (DPV). 4

         10.      Notices returned by USPS as undeliverable will be re-mailed to any address

available through postal service forwarding order information. For any returned mailing that does

not contain an expired forwarding order with a new address indicated, KCC will conduct further

address searches using credit and other public source databases to attempt to locate new addresses

and will re-mail these notices where possible.

                                               Media Campaign

         11.      In addition to the individual notice effort described above, KCC will implement a

media campaign consisting of newspapers, digital media, a press release, and a consumer outreach

effort. Specifically, KCC will place a quarter page Summary Notice in the Bennington Banner and

Eastwick Press. KCC will also cause approximately 54.2 million digital impressions to be

distributed via various websites and social media platforms, including Facebook and Instagram.

The impressions will be (1) geographically targeted to adults in the state of New York, the Albany-

Troy-Schenectady designated market area, the Town of Hoosick, and Village of Hoosick Falls, (2)

targeted to adults nationwide, (3) targeted to internet users who have Bennington College listed as

part of their Education as part of their social media profile, and (4) targeted using IP addresses to

reach devices mapped to approximately 1,700 postal addresses in Hoosick Falls.



2
  The NCOA database contains records of all permanent change of address submissions received by the USPS for
the last four years. The USPS makes this data available to mailing firms, and lists submitted to it are automatically
updated with any reported move based on a comparison with the person’s name and last known address.
3
  Coding Accuracy Support System is a certification system used by the USPS to ensure the quality of ZIP+4 coding
systems.
4
  Records that are ZIP+4 coded are then sent through Delivery Point Validation to verify the address and identify
Commercial Mail Receiving Agencies. DPV verifies the accuracy of addresses and reports exactly what is wrong
with incorrect addresses.

                                                         5
  Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 139 of 140




           12.   KCC will also cause a press release to be distributed nationwide to a variety of press

outlets.

           13.   KCC will contact a variety of local organizations and request their assistance in

sharing information with their members and audiences. Organizations include radio stations, local

newspapers, news stations, and social media groups. For example, Village of Hoosick Falls

(villageofhoosickfalls.com/Water), Town of Hoosick, New York (townofhoosick.org), Rensselaer

County (rensco.com/departments), WAMC Northeast Public Radio, Troy Record, WRBG News

6, The Legislative Gazette, The New York Times, WNYT 13, City & State New York, ABC

33/40, and Facebook groups such as Hoosick Falls NY Past & Present, Hoosick Area Here & Now,

Hoosick Falls Environmental Conservation, Hoosick Falls Water Pollution, Village of Hoosick

Falls, NY, and Hoosick Falls Parents.

           14.   The media campaign is expected to reach approximately 80% of likely Settlement

Class Members.

                                       Response Mechanisms

           15.   KCC will establish and maintain a case specific website to allow Settlement Class

Members to obtain additional information and documents about the Settlement, including the

Second Amended Complaint, the Settlement Agreement, the Notice Form, Plaintiffs’ motion

seeking Preliminary Approval, the Preliminary Approval Order, Plaintiffs’ motion seeking Final

Approval, the Final Approval Order, the Claim Form, and such other documents as the Parties

agree to post or that the Court orders posted. Settlement Class Members will also be able to review

a list of “Frequently Asked Questions and Answers” and file a Claim Form online.

           16.   KCC will establish a case-specific toll-free number to allow Settlement Class

Members to call to learn more about the case in the form of Frequently Asked Questions and



                                                   6
    Case 1:16-cv-00917-LEK-DJS Document 286-3 Filed 07/21/21 Page 140 of 140




Answers. It will also allow Settlement Class Members to request to have additional information

mailed to them.

                                               CONCLUSION

        17.      In my opinion, the Notice Program proposed for this case is consistent with other

effective settlement notice programs. It is the best notice practicable and meets the “desire to actually

inform” due process communications standard of Mullane v. Cent. Hanover Bank & Trust Co., 339

U.S. 306, 314 (1950). It provides the same reach and frequency evidence that Courts have approved

and that has withstood appellate scrutiny, other expert critiques, as well as collateral review.5 The

Notice Program and notice documents are consistent with the guidelines set forth in Rule 23, the

Manual for Complex Litigation, Fourth, and the Federal Judicial Center’s 2010 Judges’ Class Action

Notice and Claims Process Checklist and Plain Language Guide.



        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



        Executed this 21 day of July 2021, at Ocean City, New Jersey.




                                                                               Carla A. Peak


5
  See for example, Friend v. FGF Brands (USA), Inc., No. 1:18-cv-07644 (N.D. Ill.), In re Trader Joe’s Tuna
Litigation, No. 2:16-cv-01371 (C.D. Cal.), In re Thalomid and Revlimid Antitrust Litigation, No. 2:14-cv-06997 (D.
N.J.), Cicciarella v. Califia Farms, LLC, No. 7:19-cv-08785 (S.D.N.Y), Suchanek v. Sturm Foods, Inc., No. 3:11-cv-
00565 (S.D. Ill.), In re Morning Song Bird Food Litigation, No. 3:12-cv-01592 (S.D. Cal.), Alvarez v. Haseko Homes,
Inc., No. 09-1-2691-11 (Cir. Ct. Hawai’i), Eubank v. Pella Corporation, No. 1:06-cv-04481 (N.D. Ill.), Houze v.
Brasscraft Manufacturing Co. (EZ-FLO), No. BC493276 (Sup. Ct. Cal.), In Re: Rust-Oleum Restore Marketing, Sales
Practices and Products Liability Litig., No. 1:15-cv-01364 (N.D. Ill.) and Lavinsky v. City of Los Angeles, No.
BC542245 (Sup. Ct. Cal.).


                                                        7
